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                                      EXHIBIT A


                          Monthly Statement for the Fee Period

                                       (attached)




30596161.1
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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX                        July 19, 2023
Trading
C/O FTX Trading Ltd.                                                    Please Refer to
                                                                        Invoice Number: 2365163

Attn: John J. Ray III/ Owl Hill Advisor, LLC                            PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Case Administration - FTX Trading chapter 11 cases
PH LLP Client/Matter # 51281-00002
Kris Hansen

Legal fees for professional services
for the period ending May 31, 2023                                                                         $3,313,952.00
                            Costs incurred and advanced                                                         46,492.78
                            Current Fees and Costs Due                                                     $3,360,444.78
                            Total Balance Due - Due Upon Receipt                                           $3,360,444.78




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com
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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX                        July 19, 2023
Trading
C/O FTX Trading Ltd.                                                    Please Refer to
                                                                        Invoice Number: 2365163

Attn: John J. Ray III/ Owl Hill Advisor, LLC                            PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Case Administration - FTX Trading chapter 11 cases
PH LLP Client/Matter # 51281-00002
Kris Hansen

Legal fees for professional services
for the period ending May 31, 2023                                                                         $3,313,952.00
                            Costs incurred and advanced                                                         46,492.78
                            Current Fees and Costs Due                                                     $3,360,444.78
                            Total Balance Due - Due Upon Receipt                                           $3,360,444.78




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                                                  PAUL HASTINGS LLP
                                                  200 Park Avenue, New York, NY 10166-3205
                                                  t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Official Committee of Unsecured Creditors of FTX                July 19, 2023
Trading
C/O FTX Trading Ltd.                                            Please Refer to
                                                                Invoice Number: 2365163

Attn: John J. Ray III/ Owl Hill Advisor, LLC                    PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending May 31, 2023


Case Administration - FTX Trading chapter 11 cases                                               $3,313,952.00




Date          Initials   Description                                         Hours           Rate        Amount

B110   Case Administration
05/01/2023    EG18       Telephone conference with K. Hansen, K.                0.80    1,875.00         1,500.00
                         Pasquale, G. Sasson, and I. Sasson
                         regarding UCC strategy and direction
05/01/2023    GS13       Telephone conference with K. Hansen, E.                0.80    1,625.00         1,300.00
                         Gilad, K. Pasquale, I. Sasson regarding
                         ongoing matters and litigations
05/01/2023    IS6        Call with K. Hansen, E. Gilad, G. Sasson,              0.80    1,290.00         1,032.00
                         and K. Pasquale regarding UCC strategy
                         and issues/task list
05/01/2023    KP17       Call with K. Hansen, E. Gilad, G. Sasson,              0.80    1,875.00         1,500.00
                         and I. Sasson re UCC strategy, next steps,
                         and prep for Committee meeting
05/01/2023    KH18       Call with E. Gilad, G. Sasson, K. Pasquale,            0.80    2,075.00         1,660.00
                         and I. Sasson regarding UCC strategy and
                         open issues
05/01/2023    LK19       Analyze documents recently uploaded to                 0.70      855.00           598.50
                         the virtual data room (0.5); emails to E.
                         Gilad and B. Kelly regarding same (0.2)
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Date          Initials   Description                                     Hours         Rate    Amount
05/01/2023    ML30       Monitor pending dockets in DE, SDNY,                1.50    540.00     810.00
                         NY, DNJ (.7); review recent filings and
                         prepare end of day summary for working
                         group re same (.6); update case calendars
                         (.2)
05/02/2023    AME        Review and comment on production of                 0.50    420.00     210.00
                         documents from the Debtors (.4);
                         correspond with L. Koch regarding same
                         (.1)
05/02/2023    CD19       Draft summaries of chapter 11 case                  2.50   1,125.00   2,812.50
                         timelines and cases to inform FTX case
                         direction (1.9); correspond with M.
                         Laskowski re same (.2); correspond with G.
                         Sasson re same (.3); correspond with
                         Jefferies re same (.1)
05/02/2023    CX3        Prepare parts of complex chapter 11 cases           1.20    915.00    1,098.00
                         timelines to inform FTX case direction
05/02/2023    EG18       Consider and prepare notes regarding case           0.60   1,875.00   1,125.00
                         strategy and next steps for UCC
05/02/2023    LM20       Call with L. Koch re outstanding                    0.30    855.00     256.50
                         issues/tasks list
05/02/2023    LK19       Conference with L. Miliotes regarding case          0.70    855.00     598.50
                         issues/tasks (0.3); emails with A. Ecklund
                         and E. Broderick regarding secure file
                         transfer protocol (0.4)
05/02/2023    ML30       Monitor pending dockets in DE, SDNY,                2.70    540.00    1,458.00
                         NY, DNJ (.7); review recent filings and
                         prepare end of day summary for working
                         group re same (.6); update case calendars
                         (.3); review and handle payment of case
                         expenses (.1); prepare for 5.4.23 hearing and
                         arrange for conference lines for same (.4);
                         correspond with E. Gilad re documents
                         needed (.2); research regarding requested
                         pleadings, SOFAs and Schedules (.3); follow
                         up correspondence with E. Gilad re same
                         (.1)
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Date          Initials   Description                                    Hours        Rate    Amount
05/02/2023    ML30       Correspond with C. Diaz re Chapter 11             0.50    540.00     270.00
                         timeline information needed (.2); research
                         re same (.2); follow up with C. Diaz re same
                         (.1)
05/03/2023    EG18       UCC strategy telephone conference with K.         0.80   1,875.00   1,500.00
                         Hansen, K. Pasquale, G. Sasson, I. Sasson
05/03/2023    GS13       Telephone conference with K. Hansen, E.           0.80   1,625.00   1,300.00
                         Gilad, K. Pasquale, and I. Sasson regarding
                         ongoing matters and litigations
05/03/2023    IS6        Call with K. Hansen, K. Pasquale, E. Gilad,       0.80   1,290.00   1,032.00
                         G. Sasson re open case issues
05/03/2023    KP17       Debrief Committee meeting and next steps          0.80   1,875.00   1,500.00
                         with K. Hansen, E. Gilad, G. Sasson, I.
                         Sasson
05/03/2023    KH18       Call with E. Gilad, G. Sasson, K. Pasquale,       0.80   2,075.00   1,660.00
                         and I. Sasson regarding Committee strategy
                         and issues/task list
05/03/2023    ML30       Monitor pending dockets in DE, SDNY,              1.80    540.00     972.00
                         NY, DNJ (.7); review recent filings and
                         prepare end of day summary for working
                         group re same (.9); update case calendars
                         (.2)
05/04/2023    AME        Review and comment on document/data               0.40    420.00     168.00
                         production (.3); correspond with L. Koch
                         regarding same (.1)
05/04/2023    CD19       Revise timeline summaries regarding               1.30   1,125.00   1,462.50
                         precedent bankruptcy cases and FTX
                         related issues
05/04/2023    EG18       Telephone conference with K. Hansen, K.           1.10   1,875.00   2,062.50
                         Pasquale regarding UCC strategy and next
                         steps
05/04/2023    KP17       Conference with K. Hansen, E. Gilad re            1.10   1,875.00   2,062.50
                         Committee issues and updates
05/04/2023    KH18       Telephone conference with E. Gilad, K.            1.10   2,075.00   2,282.50
                         Pasquale regarding UCC strategy and next
                         steps
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Date          Initials   Description                                     Hours        Rate    Amount
05/04/2023    ML30       Monitor pending dockets in DE, SDNY,               2.10    540.00    1,134.00
                         NY, DNJ (.7); review recent filings and
                         prepare end of day summary for working
                         group re same (1.2); update case calendars
                         (.2)
05/05/2023    LK19       Analyze documents provided by the                  0.50    855.00     427.50
                         Debtors in the virtual data room (0.4); email
                         I. Sasson, G. Sasson, and C. Diaz regarding
                         same (0.1)
05/05/2023    ML30       Monitor pending dockets in DE, SDNY,               1.60    540.00     864.00
                         NY, DNJ (.7); review recent filings and
                         prepare end of day summary for working
                         group re same (.7); update case calendars
                         (.2)
05/06/2023    EG18       Review and comment on complex                      0.20   1,875.00    375.00
                         bankruptcy case timeline to inform case
                         direction and general case matters
05/07/2023    CD19       Revise complex bankruptcy case timeline            0.70   1,125.00    787.50
                         analysis to inform FTX case direction (.6);
                         correspond with G. Sasson re same (.1)
05/07/2023    EG18       Call (portion) with K. Hansen, K. Pasquale         0.60   1,875.00   1,125.00
                         and G. Sasson regarding case updates and
                         Committee strategy
05/07/2023    GS13       Telephone conference with K. Hansen, K.            1.00   1,625.00   1,625.00
                         Pasquale and E. Gilad (portion) regarding
                         ongoing case matters, asset sales, plan,
                         claims bar date, and litigations
05/07/2023    KP17       Call with K. Hansen, E. Gilad (portion), G.        1.00   1,875.00   1,875.00
                         Sasson re: Committee issues, including plan
                         structure, claims bar date, venture book
                         issues, UCC member requests, pending
                         litigation, and Bahamas
05/07/2023    KH18       Telephone conference with E. Gilad, G.             2.20   2,075.00   4,565.00
                         Sasson, K. Pasquale to discuss open items
                         on plan, claims bar date, venture book
                         issues, UCC member requests, litigation
                         issues and Bahamas (1.0); prepare outline
                         for same (1.2)
05/08/2023    CD19       Draft email to Jefferies re summaries of           0.60   1,125.00    675.00
                         timeline issues and precedent
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Date          Initials   Description                                     Hours        Rate    Amount
05/08/2023    CD19       Correspond with E. Gilad and I. Sasson re          1.80   1,125.00   2,025.00
                         case timeline analysis and related questions
                         (.3); revise summary of same (1.5)
05/08/2023    CX3        Review certain case dockets regarding key          1.80    915.00    1,647.00
                         milestones for major complex chapter 11
                         case timeline to inform UCC case plan
05/08/2023    CX3        Review additional sources, public filings,         1.80    915.00    1,647.00
                         and news articles regarding key milestones
                         for complex chapter 11 case timeline to
                         inform UCC case plan
05/08/2023    EG18       Call with K. Hansen, K. Pasquale regarding         1.10   1,875.00   2,062.50
                         case updates and Committee strategy
05/08/2023    EG18       Review and comment on comparable cases             0.30   1,875.00    562.50
                         timeline
05/08/2023    KP17       Call with K. Hansen, E. Gilad re                   1.10   1,875.00   2,062.50
                         Committee issues and related strategy
05/08/2023    KH18       Call with K. Pasquale, E. Gilad regarding          1.10   2,075.00   2,282.50
                         UCC strategy and case direction
05/08/2023    LK19       Review and prepare summary of documents            0.20    855.00     171.00
                         recently uploaded to virtual data room for
                         G. Sasson, E. Gilad, K. Hansen, and K.
                         Pasquale
05/08/2023    ML30       Monitor pending dockets in DE, SDNY,               2.80    540.00    1,512.00
                         NY, DNJ (.8); review recent filings and
                         prepare end of day summary for working
                         group (.9); correspond with C. Xu re
                         precedent needed for case timeline analysis
                         (.2); research regarding same (.8); follow up
                         with C. Xu regarding same (.1).
05/08/2023    MM57       Review recent ECF filings and share with           0.10    540.00      54.00
                         working group
05/09/2023    CD19       Prepare summary re complex case timeline           1.50   1,125.00   1,687.50
                         issues
05/09/2023    CX3        Review and comment on Jefferies' chapter           0.60    915.00     549.00
                         11 complex cases timelines
05/09/2023    GS13       Update telephone conference regarding case         0.70   1,625.00   1,137.50
                         matters and next steps with K. Hansen, K.
                         Pasquale, and I. Sasson
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Date          Initials   Description                                     Hours        Rate    Amount
05/09/2023    IS6        Meeting with K. Hansen, K. Pasquale, G.            0.70   1,290.00    903.00
                         Sasson regarding Committee strategy
05/09/2023    KP17       Call with K. Hansen, G. Sasson, and I.             0.70   1,875.00   1,312.50
                         Sasson regarding Committee strategy and
                         action items
05/09/2023    KH18       Call with K. Pasquale, G. Sasson, I. Sasson        0.70   2,075.00   1,452.50
                         regarding UCC action items and open issues
                         list
05/09/2023    ML30       Monitor pending dockets in DE, SDNY,               2.30    540.00    1,242.00
                         NY, DNJ (.8); review recent filings and
                         prepare end of day summary for working
                         group (1.1); update case calendars (.4)
05/09/2023    MM57       Review and comment on electronic device            1.20    540.00     648.00
                         standing order (.4); research regarding
                         complex case timelines (.6); correspond
                         with C. Xu, C. Diaz and M. Laskowski re:
                         same (.2)
05/10/2023    CD19       Revise summaries re timing of chapter 11           0.80   1,125.00    900.00
                         case and potential issues and concerns (.6);
                         correspond with G. Sasson and E. Gilad re
                         same (.2)
05/10/2023    CD5        Correspond with G. Sasson regarding                0.40   1,700.00    680.00
                         05/10 UCC meeting and next steps to
                         consider
05/10/2023    FM7        Analyze complex case timelines to inform           0.30   1,875.00    562.50
                         FTX case direction
05/10/2023    IS6        Meeting with K. Hansen, K. Pasquale                0.80   1,290.00   1,032.00
                         regarding case strategy and next steps
05/10/2023    KP17       Call with K. Hansen, I. Sasson regarding           0.80   1,875.00   1,500.00
                         Committee action items and related strategy
05/10/2023    KH18       Conference with K. Pasquale, I. Sasson             0.80   2,075.00   1,660.00
                         regarding strategy for plan and bar date
                         items
05/10/2023    ML30       Monitor pending dockets in DE, SDNY,               1.70    540.00     918.00
                         NY, DNJ (.8); review recent filings and
                         prepare end of day summary for working
                         group (.7); correspond with L. Koch re
                         distribution group needed (.1); research info
                         for same (.1).
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Date         Initials   Description                                     Hours         Rate    Amount
05/10/2023   MM57       Correspond with K. Pasquale re: hearing             0.20    540.00     108.00
                        preparation
05/11/2023   EG18       Call with K. Hansen, K. Pasquale regarding          0.60   1,875.00   1,125.00
                        case updates and Committee strategy
05/11/2023   KP17       Call with K. Hansen, E. Gilad re                    0.60   1,875.00   1,125.00
                        Committee issues
05/11/2023   KH18       Update call with E. Gilad, K. Pasquale              1.00   2,075.00   2,075.00
                        regarding Committee strategy and open
                        issues/task list (.6); prepare follow up
                        comments on same (.4)
05/11/2023   LK19       Evaluate certain documents produced by              0.90    855.00     769.50
                        the Debtors in virtual data room (0.5);
                        prepare summary of same for E. Gilad and
                        G. Sasson (0.4)
05/11/2023   ML30       Monitor pending dockets in DE, SDNY,                1.20    540.00     648.00
                        NY, DNJ (.8); review recent filings and
                        prepare end of day summary for working
                        group (.4)
05/12/2023   EG18       Call with K. Hansen, K. Pasquale regarding          0.50   1,875.00    937.50
                        case updates and Committee strategy
05/12/2023   KP17       Conference with K. Hansen, E. Gilad re              0.50   1,875.00    937.50
                        Committee issues and strategy
05/12/2023   KH18       Conference with E. Gilad and K. Pasquale            0.50   2,075.00   1,037.50
                        regarding UCC questions, strategy, and
                        action items
05/12/2023   LK19       Analyze documents produced by the                   0.60    855.00     513.00
                        Debtors in the virtual data room (0.4);
                        prepare summary of same for E. Gilad and
                        G. Sasson (0.2)
05/12/2023   ML30       Monitor pending dockets in DE, SDNY,                1.60    540.00     864.00
                        NY, DNJ (.8); review recent filings and
                        prepare end of day summary for working
                        group (.8)
05/13/2023   MM57       Review VDR alerts re: Project Fox (.1);             0.50    540.00     270.00
                        review recent postings and update working
                        group re: same (.4)
05/14/2023   KH18       Review and comment on UCC case plan                 1.00   2,075.00   2,075.00
                        and next steps
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Date         Initials   Description                                   Hours         Rate    Amount
05/15/2023   IS6        Call with K. Pasquale re next steps and           1.00   1,290.00   1,290.00
                        issues/task list
05/15/2023   KP17       Call with I. Sasson re Committee issues and       1.00   1,875.00   1,875.00
                        task list
05/15/2023   ML30       Monitor pending dockets in DE, SDNY,              1.90    540.00    1,026.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group (.6); update case calendars (.2);
                        correspond with L. Koch re certain
                        pleadings needed (.1); research and prepare
                        same for L. Koch (.1).
05/16/2023   EG18       Call with K. Hansen, K. Pasquale regarding        0.90   1,875.00   1,687.50
                        case updates and Committee strategy
05/16/2023   KP17       Call with K. Hansen, E. Gilad regarding           0.90   1,875.00   1,687.50
                        Committee issues and priorities
05/16/2023   KH18       Conference with E. Gilad and K. Pasquale          0.90   2,075.00   1,867.50
                        regarding UCC strategy and case issues/task
                        list
05/16/2023   ML30       Monitor pending dockets in DE, SDNY,              1.30    540.00     702.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group (.4)
05/17/2023   CX3        Correspond with G. Sasson re pending              0.20    915.00     183.00
                        corporate matters and related issues/task
                        list
05/17/2023   EG18       Review and analyze pleadings recently filed       0.40   1,875.00    750.00
                        in case
05/17/2023   EG18       Correspond with K. Hansen, K. Pasquale            0.40   1,875.00    750.00
                        and G. Sasson regarding case updates and
                        Committee strategy
05/17/2023   IS6        Review and revise case issues/task list           0.80   1,290.00   1,032.00
05/17/2023   LK19       Correspond with K. Pasquale regarding case        0.50    855.00     427.50
                        updates (0.2); correspond with G. Sasson
                        regarding case management and issues/task
                        list (0.3)
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Date         Initials   Description                                         Hours      Rate    Amount
05/17/2023   LK19       Correspond with L. Hultgren (Jefferies) and          0.90    855.00     769.50
                        R. Hamilton (Jefferies) regarding conflicts
                        and UCC virtual data room (0.6);
                        correspond with G. Sasson regarding same
                        (0.3)
05/17/2023   ML30       Monitor pending dockets in DE, SDNY,                 2.30    540.00    1,242.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group (.8); update case calendars (.3);
                        correspond with L. Miliotes re distribution
                        list updates (.1); update distribution list (.2).
05/18/2023   EG18       Call with K. Hansen regarding case updates           0.60   1,875.00   1,125.00
                        and Committee strategy
05/18/2023   EG18       Outline strategic plan for upcoming case             0.80   1,875.00   1,500.00
                        matters
05/18/2023   KH18       Call with E. Gilad regarding PH case plan            0.80   2,075.00   1,660.00
                        and going forward strategy (.6); comment
                        on issues/task list for L. Koch (.2)
05/18/2023   LK19       Emails with G. Sasson and D. Homrich                 0.30    855.00     256.50
                        regarding UCC VDR and conflicts
05/18/2023   LK19       Correspond with K. Hansen regarding case             0.20    855.00     171.00
                        issues and task list
05/18/2023   ML30       Monitor pending dockets in DE, SDNY,                 1.80    540.00     972.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group (.7); update case calendars (.2).
05/19/2023   EG18       Call with K. Hansen, K. Pasquale regarding           0.50   1,875.00    937.50
                        case updates and Committee strategy
05/19/2023   KP17       Post-Committee call debrief meeting with             0.50   1,875.00    937.50
                        K. Hansen, E. Gilad re Committee issues
05/19/2023   KH18       Call with E. Gilad and K. Pasquale                   0.50   2,075.00   1,037.50
                        regarding meeting debrief and Committee
                        plan
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Date         Initials   Description                                     Hours       Rate    Amount
05/19/2023   LK19       Emails to G. Sasson, D. Homrich (Jefferies)       0.50    855.00     427.50
                        and L. Hultgren (Jefferies) regarding virtual
                        data room conflicts (0.2); analyze
                        documents produced by the Debtors in the
                        virtual data room (0.2); prepare summary of
                        same for K. Hansen, K. Pasquale, E. Gilad,
                        G. Sasson (0.1)
05/19/2023   ML30       Monitor pending dockets in DE, SDNY,              2.40    540.00    1,296.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group (.9); update case calendars (.4);
                        correspond with L. Koch re upcoming case
                        matters and calendaring (.2).
05/22/2023   EG18       Review and comment on case issues/task            0.30   1,875.00    562.50
                        list with respect to upcoming matters
05/22/2023   EG18       Call with K. Hansen, K. Pasquale regarding        1.00   1,875.00   1,875.00
                        case updates and Committee strategy
05/22/2023   KP17       Call with K. Hansen, E. Gilad re                  1.00   1,875.00   1,875.00
                        Committee issues, strategy, and meeting
                        agenda
05/22/2023   KH18       Call with E. Gilad, K. Pasquale regarding         1.00   2,075.00   2,075.00
                        case matters and related issues/task list
05/22/2023   LK19       Analyze documents produced by the                 1.20    855.00    1,026.00
                        Debtors to the VDR (0.5); prepare
                        summary of same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (0.2); analyze
                        Debtors' VDR for conflicts (0.3); emails to
                        G. Sasson regarding same (0.2)
05/22/2023   ML30       Monitor pending dockets in DE, SDNY,              1.60    540.00     864.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group re same (.7)
05/23/2023   EG18       Call with K. Hansen, G. Sasson, I. Sasson         0.80   1,875.00   1,500.00
                        regarding plan presentations, pending
                        transactions, and automatic stay matters
05/23/2023   GS13       Call with K. Hansen, E. Gilad, and I.             0.80   1,625.00   1,300.00
                        Sasson regarding ongoing case matters and
                        litigations.
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Date         Initials   Description                                    Hours        Rate    Amount
05/23/2023   IS6        Call with K. Hansen, E. Gilad, G. Sasson re       0.80   1,290.00   1,032.00
                        UCC issues, plan presentations, and Pateno
                        lift stay issues.
05/23/2023   KH18       Discussions with E. Gilad, G. Sasson, and I.      0.80   2,075.00   1,660.00
                        Sasson regarding case plan and pending
                        matters
05/23/2023   LK19       Correspond with L. Hultgren (Jefferies) and       0.50    855.00     427.50
                        D. Homrich (Jefferies) regarding virtual
                        data room documents and UCC member
                        conflicts
05/23/2023   ML30       Monitor pending dockets in DE, SDNY,              1.80    540.00     972.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group re same (.7); update case calendars
                        (.2)
05/24/2023   EG18       Review and comment on pending case                0.40   1,875.00    750.00
                        matters and Committee priorities
05/24/2023   ML30       Monitor pending dockets in DE, SDNY,              1.90    540.00    1,026.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group re same (.8); update case calendars
                        (.2)
05/25/2023   EG18       Call with K. Hansen, G. Sasson, I. Sasson         0.80   1,875.00   1,500.00
                        regarding plan matters and Committee
                        strategy
05/25/2023   GS13       Call with K. Hansen, E. Gilad, and I.             0.80   1,625.00   1,300.00
                        Sasson to review case matters and open
                        plan issues
05/25/2023   IS6        Call with K. Hansen, E. Gilad and G.              0.80   1,290.00   1,032.00
                        Sasson regarding plan matters, case updates
                        and UCC strategy
05/25/2023   KH18       Call with E. Gilad, G. Sasson, I. Sasson          0.80   2,075.00   1,660.00
                        regarding UCC strategy and plan issues
05/25/2023   ML30       Monitor pending dockets in DE, SDNY,              1.60    540.00     864.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group re same (.6); update case calendars
                        (.1)
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Date         Initials   Description                                     Hours        Rate    Amount
05/25/2023   MM57       Correspond with L. Koch and M.                     0.10    540.00      54.00
                        Laskowski re: case issues/task list
05/26/2023   LK19       Update case issues/task list (1.5);                2.70    855.00    2,308.50
                        correspond with M. Laskowski regarding
                        same (0.2); review documents produced by
                        the Debtors for UCC conflicts (0.6); email
                        L. Hultgren (Jefferies) regarding same (0.1);
                        prepare summary and recommendation for
                        G. Sasson regarding documents produced
                        by the Debtors and UCC conflicts (0.3)
05/26/2023   ML30       Monitor pending dockets in DE, SDNY,               2.40    540.00    1,296.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group re same (.4); correspond with L.
                        Koch re issues/task list (.4); update same
                        per recent filings (.6); correspond with C.
                        Xu re same (.1)
05/29/2023   LK19       Update case issues/task list (0.2); emails         0.30    855.00     256.50
                        with G. Sasson and M. Laskowski regarding
                        same (0.1)
05/29/2023   MM57       Correspond with G. Sasson re: FTX critical         0.10    540.00      54.00
                        dates
05/30/2023   EG18       Call with K. Hansen, K. Pasquale, G.               0.50   1,875.00    937.50
                        Sasson, I. Sasson regarding case updates
                        and Committee strategy
05/30/2023   GS13       Call with K. Hansen, E. Gilad, I. Sasson, K.       0.50   1,625.00    812.50
                        Pasquale regarding ongoing litigation and
                        case updates
05/30/2023   IS6        Meeting with K. Hansen, K. Pasquale, E.            0.50   1,290.00    645.00
                        Gilad, G. Sasson regarding UCC strategy
05/30/2023   KP17       Conference with K. Hansen, E. Gilad, G.            0.50   1,875.00    937.50
                        Sasson, I. Sasson re Committee issues and
                        strategy
05/30/2023   KH18       Discussion with E. Gilad, K. Pasquale, G.          0.50   2,075.00   1,037.50
                        Sasson, I. Sasson regarding case matters,
                        plan issues, and UCC member questions
05/30/2023   LK19       Email K. Hansen, K. Pasquale, E. Gilad, G.         0.40    855.00     342.00
                        Sasson regarding case issues/task list (0.1);
                        update same (0.3)
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Date         Initials   Description                                    Hours         Rate      Amount
05/30/2023   ML30       Monitor pending dockets in DE, SDNY,               2.10    540.00      1,134.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group (1.0); update case calendars (.2).
05/31/2023   ML30       Monitor pending dockets in DE, SDNY,               1.60    540.00       864.00
                        NY, DNJ (.9); review recent filings and
                        prepare end of day summary for working
                        group (.5); update case calendars (.2).
             Subtotal: B110 Case Administration                        125.50                147,969.50




B112   General Creditor Inquiries
05/01/2023   CD19       Correspond with customer re custodial              0.80   1,125.00      900.00
                        customer account questions (.3);
                        correspond with G. Sasson on same (.2);
                        correspond with FTI re same (.3)
05/03/2023   CD19       Correspond with C. Xu re creditor inquiries        0.30   1,125.00      337.50
                        (.2); correspond with J. Iaffaldano re same
                        (.1)
05/03/2023   EG18       Telephone conference with creditor                 1.00   1,875.00     1,875.00
                        regarding case questions (0.7); prepare
                        response to creditor questions (0.3)
05/03/2023   KP17       Call with creditor re case inquiries               0.90   1,875.00     1,687.50
05/04/2023   KP17       Emails with creditor re transaction update         0.30   1,875.00      562.50
                        and related inquiries
05/04/2023   KH18       Meeting with creditor regarding case issues        1.30   2,075.00     2,697.50
                        and questions
05/05/2023   CX3        Review and summarize incoming creditor             0.30    915.00       274.50
                        inquiries
05/15/2023   CD19       Review creditor inquiries regarding Epiq           0.20   1,125.00      225.00
                        submission
05/15/2023   EG18       Call with FTX creditor regarding claim             1.00   1,875.00     1,875.00
                        questions
05/23/2023   CD19       Analyze responses to creditor inquiries            0.20   1,125.00      225.00
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Date         Initials   Description                                   Hours        Rate     Amount
05/23/2023   EG18       Call with creditor regarding claims and          0.90   1,875.00    1,687.50
                        claims process
             Subtotal: B112 General Creditor Inquiries                   7.20              12,347.00




B113   Case Analysis/Pleading Analysis
05/01/2023   IS6        Review recent filings regarding FTX              0.20   1,290.00     258.00
                        criminal case
05/05/2023   CX3        Review and summarize recent filings for K.       1.20    915.00     1,098.00
                        Hansen, K. Pasquale, E. Gilad, G. Sasson,
                        and I. Sasson
05/11/2023   IS6        Review recently filed pleadings regarding        0.80   1,290.00    1,032.00
                        pending motions
05/13/2023   IS6        Review recent filings regarding customer         0.30   1,290.00     387.00
                        sealing issues
05/17/2023   ML30       Correspond with L. Miliotes re                   0.60    540.00      324.00
                        memorandum documents needed (.2);
                        research and prepare same for L. Miliotes
                        (.4)
05/18/2023   EG18       Review recently filed pleadings regarding        0.40   1,875.00     750.00
                        pending motions and responses
05/24/2023   MM57       Correspond with D. Laskin (YCST) re:             0.10    540.00       54.00
                        Delaware District Court ECF for L.
                        Despins
             Subtotal: B113 Case Analysis/Pleading Analysis              3.60              3,903.00




B115   Meetings and Communications with Debtors
05/01/2023   BL10       Participate in M&A call with S&C, E. Gilad,      1.40   1,290.00    1,806.00
                        G. Sasson, B. Kelly (.6); summarize
                        discussion and open items (.8)
05/01/2023   BK12       Participate in M&A update call with A.           0.60   1,625.00     975.00
                        Cohen (S&C), J. MacDonald (S&C), E.
                        Gilad, G. Sasson, B. Levine
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Date         Initials   Description                                      Hours       Rate    Amount
05/01/2023   EG18       Pre-telephone conference with J. Ray, K.           0.70   1,875.00   1,312.50
                        Hansen, and Debtor advisors regarding
                        FTX 2.0
05/01/2023   EG18       Telephone conference with PWP regarding            0.30   1,875.00    562.50
                        FTX 2.0
05/01/2023   EG18       Sales update discussion with S&C M&A               0.60   1,875.00   1,125.00
                        team, G. Sasson, B. Kelly, B. Levine
05/01/2023   EG18       Review RFP documents received from                 2.00   1,875.00   3,750.00
                        Debtors and prepare related issues list (1.7);
                        telephone conference with PWP regarding
                        same (0.3)
05/01/2023   GS13       Telephone conference with S&C regarding            0.50   1,625.00    812.50
                        claims bar date and related motion
05/01/2023   GS13       Telephone conference with S&C, E. Gilad,           0.60   1,625.00    975.00
                        B. Kelly, B. Levine regarding sales
05/01/2023   GS15       Telephone conference with S&C, FTI and             0.60   1,600.00    960.00
                        A&M re tax updates
05/01/2023   KH18       Call with J. Ray, Debtor advisors, E. Gilad        0.70   2,075.00   1,452.50
                        regarding FTX 2.0
05/02/2023   CD19       Call with Debtors, J. Ray, certain members         0.50   1,125.00    562.50
                        of Committee, K. Hansen, C. Daniel, G.
                        Sasson, E. Gilad, M. Murphy, M. Griffin, L.
                        Greenbacker, E. Sibbitt re bankruptcy
                        auctions
05/02/2023   CD5        Participate in FTX 2.0 call with John Ray,         0.50   1,700.00    850.00
                        subcommittee members, K. Hansen, G.
                        Sasson, E. Gilad, M. Murphy, L.
                        Greenbacker
05/02/2023   EG18       Review exchange structure and terms (0.2);         0.70   1,875.00   1,312.50
                        participate in telephone conference with
                        FTX 2.0 subcommittee, K. Hansen, C.
                        Daniel, E. Sibbitt, G. Sasson, J. Ray, and
                        Debtor advisors regarding FTX 2.0 launch
                        (0.5)
05/02/2023   EG18       Participate in telephone conference with           0.50   1,875.00    937.50
                        S&C, G. Sasson, L. Koch, I. Sasson
                        regarding claims bar date
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05/02/2023   ECS3       Telephone conference regarding FTX                0.50   1,550.00    775.00
                        reboot with UCC members, Debtors, K.
                        Hansen, E. Gilad, G. Sasson, C. Daniel, M.
                        Murphy
05/02/2023   GS13       Telephone conference with Debtors'                0.50   1,625.00    812.50
                        advisors, UCC subcommittee, K. Hansen,
                        E. Gilad, C. Daniel, G. Sasson, M. Murphy,
                        E. Sibbitt, L. Greenbacker, M. Griffin
                        regarding FTX 2.0 RFP
05/02/2023   GS13       Telephone conference with S&C, E. Gilad,          0.50   1,625.00    812.50
                        L. Koch, I. Sasson regarding bar date
                        motion
05/02/2023   IS6        Call with Debtors, E. Gilad, G. Sasson, and       0.50   1,290.00    645.00
                        L. Koch re non-customer bar date motion
05/02/2023   KH18       Conference with UCC subcommittee,                 0.50   2,075.00   1,037.50
                        Debtors' counsel, J. Ray, C. Daniel, E.
                        Gilad, E. Sibbitt, G. Sasson, M. Murphy, M.
                        Griffin, L. Greenbacker regarding exchange
05/02/2023   LED        Attend FTX 2.0 call with J. Ray, committee        0.70   1,425.00    997.50
                        members, K. Hansen, C. Daniel, G. Sasson,
                        E. Gilad, E. Sibbitt, M. Murphy, M. Griffin
                        (.5); correspond with C. Daniel regarding
                        same (.2)
05/02/2023   LK19       Attend portion of reboot subcommittee             0.30    855.00     256.50
                        meeting with J. Ray, K. Hansen, C. Daniel,
                        E. Sibbitt, G. Sasson, E. Gilad
05/02/2023   LK19       Call with E. Gilad, G. Sasson, I. Sasson, A.      0.50    855.00     427.50
                        Kranzley (S&C), B. Zonenshayn (S&C) and
                        G. Barnes (S&C) regarding bar date motion
05/02/2023   MMM5 Attend call with S&C, J. Ray, K. Hansen, C.             0.50   1,750.00    875.00
                  Daniel, E. Gilad, G. Sasson regarding FTX
                  2.0
05/02/2023   MEG9       Attend FTX reboot call with UCC reboot            0.50   1,425.00    712.50
                        subcommittee, J. Ray, K. Hansen, C.
                        Daniel, G. Sasson, E. Gilad, E. Sibbitt, L.
                        Greenbacker, M. Murphy
05/03/2023   BK12       Correspond with E. Gilad, J. MacDonald            1.00   1,625.00   1,625.00
                        and M. Wu re: M&A issues/task list
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05/03/2023   EG18       Telephone conference with A&M regarding           0.60   1,875.00   1,125.00
                        intercompany claims
05/03/2023   EG18       Discussions with Debtors, K. Pasquale             0.60   1,875.00   1,125.00
                        regarding bar date motion (0.3); correspond
                        with Debtors regarding bar date motion
                        (0.3)
05/03/2023   EG18       Telephone conference with A. Dietderich           0.80   1,875.00   1,500.00
                        and I. Sasson regarding bar date (0.5);
                        correspond with K. Pasquale, I. Sasson
                        regarding same (0.3)
05/03/2023   EG18       Telephone conference with S&C, K.                 0.70   1,875.00   1,312.50
                        Pasquale, G. Sasson, I. Sasson regarding
                        restructuring and litigation matters
05/03/2023   GS13       Telephone conference with S&C, E. Gilad,          0.70   1,625.00   1,137.50
                        K. Pasquale, I. Sasson regarding
                        restructuring matters
05/03/2023   IS6        Call with A. Dietderich and E. Gilad re           0.50   1,290.00    645.00
                        customer accounts
05/03/2023   IS6        Call with S&C, E. Gilad, K. Pasquale, G.          0.70   1,290.00    903.00
                        Sasson regarding restructuring update
05/03/2023   KP17       Call with S&C, E. Gilad re bar date issues        0.60   1,875.00   1,125.00
                        (.3); correspond with E. Gilad, I. Sasson re
                        same (.3)
05/03/2023   KP17       Call with S&C, E. Gilad, G. Sasson, I.            0.70   1,875.00   1,312.50
                        Sasson re case and restructuring items
05/05/2023   EG18       Telephone conference with S&C regarding           0.40   1,875.00    750.00
                        cash and securities issues
05/05/2023   EG18       Participate in in-person meeting with S&C,        1.90   1,875.00   3,562.50
                        K. Hansen, K. Pasquale, G. Sasson, I.
                        Sasson regarding plan
05/05/2023   GS13       Meeting with S&C, A&M, FTI, K. Hansen,            1.90   1,625.00   3,087.50
                        K. Pasquale, E. Gilad, I. Sasson regarding
                        plan constructs and next steps
05/05/2023   IS6        Meeting with Debtors' advisors, K. Hansen,        1.90   1,290.00   2,451.00
                        E. Gilad, K. Pasquale, G. Sasson re plan
                        issues
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Date         Initials   Description                                   Hours        Rate    Amount
05/05/2023   KP17       Meeting with Debtors' professionals, K.          1.90   1,875.00   3,562.50
                        Hansen, E. Gilad, G. Sasson, I. Sasson re
                        plan issues
05/05/2023   KH18       Attend meeting with S&C, E. Gilad, K.            1.90   2,075.00   3,942.50
                        Pasquale, G. Sasson, I. Sasson regarding
                        plan
05/08/2023   BK12       Prepare questions for M&A update call with       0.90   1,625.00   1,462.50
                        Sullivan & Cromwell (.1); M&A update call
                        with Sullivan & Cromwell, G. Sasson, E.
                        Gilad, E. Levine, F. Merola, E. Burns (.5);
                        follow-up review of issues discussed (0.3)
05/08/2023   CD19       Correspond with Debtors re postpetition          0.20   1,125.00    225.00
                        deposits
05/08/2023   EHG        Call with S&C, B. Kelly, E. Gilad, G.            0.70   1,125.00    787.50
                        Sasson regarding M&A updates (.5); prepare
                        summary of M&A process and updates (.2)
05/08/2023   EG18       Call with S&C regarding non-customer bar         1.00   1,875.00   1,875.00
                        date and FTX 2.0 RFP process
05/08/2023   EG18       Asset sale update call with S&C, G. Sasson,      0.50   1,875.00    937.50
                        B. Kelly, F. Merola re pending transactions
05/08/2023   EML1       Telephone conference with S&C, E. Gilad,         0.50   1,475.00    737.50
                        G. Sasson, B. Kelly, F. Merola regarding
                        asset sale process
05/08/2023   FM7        Telephone conference with S&C, E. Gilad,         0.50   1,875.00    937.50
                        B. Kelly, G. Sasson, E. Levine regarding
                        M&A update
05/08/2023   GS13       Telephone conference with S&C, E. Gilad,         0.50   1,625.00    812.50
                        B. Kelly, F. Merola, E. Burns, E. Levine
                        regarding sale issues
05/09/2023   EG18       Calls with Debtors, G. Sasson, K. Pasquale       1.60   1,875.00   3,000.00
                        regarding customer and non-customer bar
                        date (.5); correspond with Debtors
                        regarding same (1.1)
05/09/2023   GS13       Telephone conference with S&C, A&M, E.           0.50   1,625.00    812.50
                        Gilad, K. Pasquale regarding claims
                        procedures
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05/09/2023   KP17       Call with Debtors, E. Gilad, G. Sasson re          1.00   1,875.00   1,875.00
                        claims issues (.5); call with B. Glueckstein re
                        venture transaction (.3); follow up email
                        with Jefferies re same (.2)
05/10/2023   EG18       Call with Debtors and K. Pasquale                  0.70   1,875.00   1,312.50
                        regarding hearing prep related to Bahamas
                        and sealing motion
05/10/2023   IS6        Call with Debtors, L. Tsao regarding               0.70   1,290.00    903.00
                        pending investigations
05/10/2023   KP17       Call with S&C and E. Gilad re prep for             0.70   1,875.00   1,312.50
                        hearing on sealing motion and Bahamas
05/10/2023   LT9        Videoconference with J. Croke (Sullivan            0.70   1,525.00   1,067.50
                        and Cromwell), I. Sasson on investigation
                        updates
05/10/2023   MEG9       Review email from J. Ray re: claims portal         0.20   1,425.00    285.00
                        and accompanying comments
05/11/2023   EHG        Conference with Sullivan and Cromwell, G.          0.70   1,125.00    787.50
                        Sasson regarding pending M&A and sale
                        process (.6); follow up review of issues
                        discussed (.1)
05/11/2023   GS13       Telephone conference with S&C, E. Burns            0.60   1,625.00    975.00
                        regarding ongoing sale issues
05/11/2023   GS15       Call with S&C tax and EY re IRS proofs of          0.60   1,600.00    960.00
                        claim
05/12/2023   CD5        Call with S&C, G. Sasson, M. Griffin, L.           0.60   1,700.00   1,020.00
                        Greenbacker, and FTI regarding FTX
                        Europe
05/12/2023   GS13       Telephone conference with S&C, C. Daniel,          0.60   1,625.00    975.00
                        L. Greenbacker, M. Griffin regarding FTX
                        EU
05/12/2023   LED        Review FTX Europe documents (.3); attend           0.90   1,425.00   1,282.50
                        call with G. Sasson, C. Daniel, M. Griffin
                        and S&C regarding same (.6)
05/12/2023   MEG9       Call with Debtor, G. Sasson, C. Daniel, L.         0.60   1,425.00    855.00
                        Greenbacker on FTX EU
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Date         Initials   Description                                     Hours       Rate    Amount
05/15/2023   BL10       Participate in S&C call with G. Sasson, E.        1.50   1,290.00   1,935.00
                        Gilad, B. Kelly, F. Merola, E. Burns
                        regarding M&A update and follow-up items
                        (.6); review and comment on same (.9)
05/15/2023   BK12       Participate in M&A update call with F.            0.60   1,625.00    975.00
                        Merola, E. Gilad, G. Sasson, B. Levine, E.
                        Levine, and Sullivan & Cromwell (M. Wu, J.
                        MacDonald)
05/15/2023   EHG        Participate in portion of conference with         0.40   1,125.00    450.00
                        S&C, E. Gilad, G. Sasson, B. Kelly, F.
                        Merola, B. Levine regarding sale process
05/15/2023   EG18       Call with S&C, G. Sasson, F. Merola, B.           0.80   1,875.00   1,500.00
                        Kelly, B. Levine regarding pending venture
                        investment sales and related process (.6);
                        follow up call with G. Sasson regarding
                        same (.2)
05/15/2023   EML1       Participate in sales update call with S&C, B.     0.60   1,475.00    885.00
                        Levine, F. Merola, B. Kelly, E. Gilad, and
                        G. Sasson
05/15/2023   FM7        Participate in M&A update telephone               0.60   1,875.00   1,125.00
                        conference with S&C, B. Kelly, E. Gilad, G.
                        Sasson, B. Levine, E. Levine
05/15/2023   GS13       Telephone conference with S&C, E. Gilad,          0.80   1,625.00   1,300.00
                        E. Levine, F. Merola, B. Kelly, B. Levine
                        regarding sale matters (.6); follow-up
                        telephone conference with E. Gilad
                        regarding same (.2)
05/15/2023   GS15       Tax update call with FTI and S&C tax              0.40   1,600.00    640.00
05/15/2023   KP17       Call with S. Rand (Quinn Emanuel) re              0.20   1,875.00    375.00
                        investigation update
05/16/2023   EG18       Call with PWP regarding FTX 2.0 process           0.70   1,875.00   1,312.50
05/17/2023   BK12       Call with A&M (T. Hudson) and FTI (B.             0.60   1,625.00    975.00
                        Bromberg) re: custody business
05/17/2023   EG18       Update call with Debtors' counsel, K.             1.00   1,875.00   1,875.00
                        Hansen, K. Pasquale, G. Sasson, I. Sasson
                        regarding pending case matters,
                        investigations, litigations, investments
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Date         Initials   Description                                    Hours         Rate    Amount
05/17/2023   EG18       Call with S&C, A&M, and F. Merola                  1.00   1,875.00   1,875.00
                        regarding FTX Vault Trust and related
                        presentation (.2); review same (.4);
                        correspond with G. Sasson regarding same
                        (.4)
05/17/2023   EG18       Call with PWP regarding precedent deal             0.40   1,875.00    750.00
                        involving crypto
05/17/2023   FM7        Telephone conference with Debtors and E.           0.20   1,875.00    375.00
                        Gilad regarding Vault Trust
05/17/2023   GS13       Telephone conference with S&C, K.                  1.00   1,625.00   1,625.00
                        Hansen, K. Pasquale, E. Gilad, I. Sasson
                        regarding ongoing case matters, venture
                        investments, and litigation
05/17/2023   IS6        Meeting with Debtors, K. Hansen, E. Gilad,         1.00   1,290.00   1,290.00
                        G. Sasson, and K. Pasquale regarding
                        restructuring updates and pending
                        litigations, investigations
05/17/2023   KP17       Call with S&C, K. Hansen, E. Gilad, G.             1.30   1,875.00   2,437.50
                        Sasson, and I. Sasson re pending case
                        matters (1.0); correspond with I. Sasson re
                        same (.3)
05/17/2023   KH18       Call with Debtors, K. Pasquale, E. Gilad, G.       1.80   2,075.00   3,735.00
                        Sasson, I. Sasson regarding litigation and
                        venture investments (1.0); follow up
                        analysis of venture investment issues from
                        Debtor call (.8)
05/18/2023   BK12       Call with UCC Committee, E. Sibbitt, E.            0.40   1,625.00    650.00
                        Gilad, C. Diaz, F. Merola, and Debtors
                        (including J. Ray) regarding reboot
05/18/2023   CD19       Call with Debtors, S&C, E. Gilad, E.               0.40   1,125.00    450.00
                        Sibbitt, F. Merola, B. Kelly re potential
                        reboot
05/18/2023   CD19       Correspondence with A&M, K. Pasquale,              0.50   1,125.00    562.50
                        K. Catalano re KYC claims portal
05/18/2023   CD19       Virtually attend presentation with A&M re          0.50   1,125.00    562.50
                        KYC issues
05/18/2023   EG18       Call with J. Ray, Debtors, S&C, E. Sibbitt,        0.40   1,875.00    750.00
                        F. Merola, B. Kelly, C. Diaz regarding FTX
                        2.0
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Date         Initials   Description                                      Hours       Rate    Amount
05/18/2023   EG18       Meeting with Debtors, K. Hansen, K.                1.20   1,875.00   2,250.00
                        Pasquale, G. Sasson, I. Sasson regarding
                        plan issues
05/18/2023   ECS3       Call with Debtors, E. Gilad, F. Merola, B.         0.40   1,550.00    620.00
                        Kelly, C. Diaz regarding potential reboot
05/18/2023   FM7        Participate in J. Ray reboot telephone             0.40   1,875.00    750.00
                        conference with E. Gilad, B. Kelly, E.
                        Sibbitt, C. Diaz
05/18/2023   GS13       Telephone conference with Debtors, K.              1.20   1,625.00   1,950.00
                        Hansen, K. Pasquale, E. Gilad, I. Sasson
                        regarding plan
05/18/2023   IS6        Meeting with Debtors, K. Hansen, K.                2.30   1,290.00   2,967.00
                        Pasquale, E. Gilad, G. Sasson re plan
                        structures (1.2); follow up analysis re same
                        (1.1)
05/18/2023   KP17       Meeting with S&C, K. Hansen, G. Sasson,            3.30   1,875.00   6,187.50
                        E. Gilad, I. Sasson re plan issues (1.2);
                        analyze certain issues raised in meeting
                        (1.6); meeting with Debtors, C. Diaz, K.
                        Catalano re KYC claims portal (.5)
05/18/2023   KH18       Review issues and prepare notes for Lincoln        1.70   2,075.00   3,527.50
                        call (.8); participate in Lincoln meeting with
                        Debtors’ counsel and banker (.9)
05/18/2023   KH18       Call with Debtors regarding Sanders sale           1.70   2,075.00   3,527.50
                        process (.5); call with Debtors, K. Pasquale,
                        E. Gilad, G. Sasson, I. Sasson regarding
                        plan structure and elements (1.2)
05/18/2023   KC27       Attend meeting with A&M, K. Pasquale, C.           0.50    915.00     457.50
                        Diaz regarding KYC claims portal
05/19/2023   CD19       Call with S&C, E. Gilad, K. Pasquale, G.           0.60   1,125.00    675.00
                        Sasson, E. Sibbitt, L. Koch, L. Greenbacker
                        re claims portal
05/19/2023   EG18       Call with A&M, Kroll, K. Pasquale, G.              0.60   1,875.00   1,125.00
                        Sasson, E. Sibbitt, L. Koch, L.
                        Greenbacker, C. Diaz regarding customer
                        portal demo
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Date         Initials   Description                                     Hours       Rate    Amount
05/19/2023   ECS3       Call with A&M, Kroll, E. Gilad, K.                0.60   1,550.00    930.00
                        Pasquale, G. Sasson, L. Koch, L.
                        Greenbacker, C. Diaz regarding customer
                        claims portal
05/19/2023   GS13       Telephone conference with A&M, E. Gilad,          1.00   1,625.00   1,625.00
                        K. Pasquale, E. Sibbitt, L. Koch, C. Diaz, L.
                        Greenbacker regarding customer claims
                        portal (.6); review documents regarding
                        same (.4)
05/19/2023   KP17       Meeting with Debtors, Committee, E.               0.60   1,875.00   1,125.00
                        Gilad, G. Sasson, E. Sibbitt, L.
                        Greenbacker, C. Diaz, L. Koch re claims
                        portal
05/19/2023   KH18       Call with Debtors regarding claims process        0.30   2,075.00    622.50
05/19/2023   LED        Attend customer claims portal discussion          0.90   1,425.00   1,282.50
                        with A&M , E. Gilad, K. Pasquale, G.
                        Sasson, E. Sibbitt, C. Diaz, L. Koch (.6);
                        review correspondence from S&C regarding
                        FTX Europe (.3)
05/19/2023   LK19       Attend meeting with Debtors, K. Pasquale,         0.60    855.00     513.00
                        E. Gilad, G. Sasson, E. Sibbitt, L.
                        Greenbacker, C. Diaz regarding customer
                        claim portal demonstration for the
                        Committee
05/21/2023   KH18       Call with Debtors’ advisors regarding Grant       1.40   2,075.00   2,905.00
                        investment (.6); analyze documents and
                        concerns regarding the same (.8)
05/22/2023   BL10       Participate in sales update call with S&C, K.     0.70   1,290.00    903.00
                        Hansen, B. Kelly, E. Gilad, K. Pasquale, G.
                        Sasson, E. Burns
05/22/2023   BK12       Participate in M&A update call with M. Wu,        0.80   1,625.00   1,300.00
                        K. Hansen, E. Gilad, K. Pasquale, G.
                        Sasson, B. Levine, E. Burns re pending
                        matters (.7); follow-up correspondence with
                        B. Levine regarding same (.1)
05/22/2023   EHG        Conference with S&C, K. Hansen, E. Gilad,         1.40   1,125.00   1,575.00
                        G. Sasson, K. Pasquale, B. Kelly, B. Levine
                        regarding sale process (.7); analyze and
                        comment on certain pending transactions
                        (.7)
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Date         Initials   Description                                     Hours        Rate    Amount
05/22/2023   EG18       Call with S&C, K. Hansen, K. Pasquale, G.          0.70   1,875.00   1,312.50
                        Sasson, B. Kelly, B. Levine, E. Burns
                        regarding sales update and open sales issues
05/22/2023   EML1       Attend sales update discussion with S&C,           1.10   1,475.00   1,622.50
                        K. Pasquale, G. Sasson, K. Hansen, B.
                        Kelly, B. Levine, E. Gilad, and E. Burns
                        (.7); review and comment on certain
                        transactions discussed in call (.4)
05/22/2023   GS13       Call with S&C, K. Hansen, E. Gilad, K.             0.70   1,625.00   1,137.50
                        Pasquale, B. Levine, E. Burns, B. Kelly
                        regarding sale processes
05/22/2023   KP17       Call with S&C, K. Hansen, E. Gilad, G.             0.70   1,875.00   1,312.50
                        Sasson, B. Kelly, B. Levine, E. Burns re
                        M&A issues 5089; 5036 and potential
                        litigation
05/22/2023   KH18       Call with Debtors' counsel, K. Pasquale, G.        0.70   2,075.00   1,452.50
                        Sasson, B. Kelly, E. Gilad, B. Levine, E.
                        Burns regarding FTX M&A and EU equity
                        issues
05/23/2023   IS6        Call with Quinn Emanuel, K. Pasquale, L.           0.80   1,290.00   1,032.00
                        Tsao, L. Miliotes re current investigation
                        status (.5); follow up call with L. Tsao, K.
                        Pasquale, and L. Miliotes re same (.3)
05/23/2023   KP17       Meeting with S. Rand (QE), L. Tsao, L.             0.80   1,875.00   1,500.00
                        Miliotes, I. Sasson re investigation update
                        and going forward plan (.5); follow up
                        conference with L. Tsao, L. Miliotes, I.
                        Sasson re same (.3)
05/23/2023   LM20       Call with K. Pasquale, L. Tsao, I. Sasson          0.80    855.00     684.00
                        and Quinn Emanuel re investigation
                        strategy (0.5); follow up call with K.
                        Pasquale, L. Tsao, and I. Sasson re same
                        (0.3)
05/23/2023   LT9        Videoconference with K. Pasquale, I.               0.60   1,525.00    915.00
                        Sasson, L. Miliotes, and Quinn Emanuel on
                        investigative plan, next steps, and division
                        of issues/tasks (.5); prepare notes regarding
                        same (.1)
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Date         Initials   Description                                     Hours       Rate    Amount
05/24/2023   AS61       Attend call with S&C, G. Sasson, B. Kelly,        0.40   1,900.00    760.00
                        C. Daniel, L. Greenbacker regarding
                        Cypriot implementation of MIFID and
                        local rules on suspension
05/24/2023   BK12       Call with E. Simpson (S&C) and G. Sasson,         1.10   1,625.00   1,787.50
                        A. Srivastava, C. Daniel, L. Greenbacker re:
                        CySec and agenda for CySec call (0.4);
                        review and provide comments to discussion
                        points for CySec meeting (0.7)
05/24/2023   CD5        Attend call with LK Greenbacker, A.               0.60   1,700.00   1,020.00
                        Srivastava, B. Kelly, G. Sasson and S&C
                        regarding FTX Europe analysis (.4); analyze
                        issues regarding FTX Europe term sheet
                        (.2)
05/24/2023   EG18       Call with Debtors and G. Sasson regarding         0.80   1,875.00   1,500.00
                        pending and upcoming case matters
05/24/2023   GS13       Call with S&C and E. Gilad regarding              0.80   1,625.00   1,300.00
                        ongoing case matters
05/24/2023   GS13       Call with S&C, A. Srivastava, C. Daniel, B.       0.70   1,625.00   1,137.50
                        Kelly, L. Greenbacker regarding FTX EU
                        and CySEC diligence (.4); prepare update
                        email to K. Hansen regarding same (.3)
05/24/2023   GS13       Call with Debtors and K. Hansen regarding         0.60   1,625.00    975.00
                        coin management
05/24/2023   IS6        Call with B. Glueckstein, S&C, K. Pasquale        0.80   1,290.00   1,032.00
                        re litigation and investigation matters
05/24/2023   KP17       Call with B. Glueckstein, S&C, I. Sasson re       1.10   1,875.00   2,062.50
                        litigation and investigation matters (.8);
                        correspond with I. Sasson re same (.3)
05/24/2023   KH18       Call with Debtors and G. Sasson regarding         0.60   2,075.00   1,245.00
                        asset monetization
05/24/2023   LED        Attend call with C. Daniel, A. Srivastava, B.     0.40   1,425.00    570.00
                        Kelly, G. Sasson and S&C regarding FTX
                        Europe and CySec queries
05/25/2023   AS61       Attend call with Debtors, G. Sasson, B.           0.50   1,900.00    950.00
                        Kelly, F. Merola, M. Griffin, C. Diaz
                        regarding new equity investment issues and
                        FTX Europe term sheet
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Date         Initials   Description                                     Hours       Rate    Amount
05/25/2023   BK12       Call with E. Simpson, G. Sasson, A.               0.50   1,625.00    812.50
                        Srivastava, F. Merola, M. Griffin, C. Diaz,
                        and CM Equity counsel re 5009 and FTX
                        Europe
05/25/2023   CD19       Call with E. Simpson (S&C), CM Equity, A.         0.50   1,125.00    562.50
                        Srivastava, G. Sasson, F. Merola, B. Kelly,
                        M. Griffin regarding 5009 issue and impact
                        on FTX Europe
05/25/2023   EHG        Conference with Sullivan and Cromwell, M.         0.90   1,125.00   1,012.50
                        Wu, A. Cohen, J. MacDonald regarding sale
                        processes
05/25/2023   EG18       Review plan structures and certain elements       1.40   1,875.00   2,625.00
                        in preparation for meeting with Debtors
                        (.4); participate in plan structuring meeting
                        with Debtors, K. Hansen, K. Pasquale
                        (portion), G. Sasson, I. Sasson (1.0)
05/25/2023   FM7        Telephone conference with Debtors, G.             0.50   1,875.00    937.50
                        Sasson, A. Srivastava, B. Kelly, M. Griffin,
                        C. Diaz regarding CM Equity catch up
05/25/2023   GS13       Call with S&C, K. Hansen, E. Gilad, K.            1.20   1,625.00   1,950.00
                        Pasquale (portion), I. Sasson, and Ad Hoc
                        Group to discuss plan issues (1.0); follow-
                        up emails to I. Sasson regarding same (.2)
05/25/2023   GS13       Call with CM Equity, A. Srivastava, F.            0.60   1,625.00    975.00
                        Merola, B. Kelly, M. Griffin, C. Diaz
                        regarding FTX EU term sheet (.5); follow-
                        up emails with C. Diaz regarding same (.1)
05/25/2023   IS6        Call with Debtors, Ad Hoc Committee, K.           1.00   1,290.00   1,290.00
                        Hansen, K. Pasquale (portion), E. Gilad, G.
                        Sasson re plan structure and next steps
05/25/2023   KP17       Participate in portion of call with Debtors,      0.70   1,875.00   1,312.50
                        K. Hansen, E. Gilad, G. Sasson, I. Sasson
                        re plan issues
05/25/2023   KH18       Attend meeting with Debtors, E. Gilad, K.         2.20   2,075.00   4,565.00
                        Pasquale (portion), G. Sasson, I. Sasson
                        regarding plan (1.0); review monetization
                        issues and supplement plan outline to
                        prepare for same (1.2)
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Date         Initials   Description                                     Hours       Rate    Amount
05/25/2023   MEG9       Call with Sullivan & Cromwell, CM Equity,         0.50   1,425.00    712.50
                        A. Srivastava, G. Sasson, B. Kelly, F.
                        Merola, C. Diaz regarding CM Equity and
                        5009 issue impacting FTX Europe
05/30/2023   BL10       Participate in S&C, E. Gilad, G. Sasson, F.       0.60   1,290.00    774.00
                        Merola, B. Kelly, E. Burns call regarding
                        venture investment sale process and related
                        M&A updates
05/30/2023   BK12       Participate in M&A update call with A.            0.70   1,625.00   1,137.50
                        Cohen, E. Gilad, G. Sasson, B. Levine, F.
                        Merola, E. Burns (0.6); follow-up review of
                        certain issues discussed in call (0.1)
05/30/2023   CD19       Call with S&C, E. Gilad, G. Sasson re Kroll       0.90   1,125.00   1,012.50
                        claims process
05/30/2023   EHG        Conference with Sullivan and Cromwell, E.         1.50   1,125.00   1,687.50
                        Gilad, G. Sasson, B. Kelly, F. Merola, B.
                        Levine regarding sale process (.6); follow up
                        review of items discussed (.9)
05/30/2023   EG18       Call with S&C, A&M, G. Sasson, C. Diaz re         1.50   1,875.00   2,812.50
                        customer portal and claims (.9); call with
                        S&C, G. Sasson, F. Merola, B. Kelly, B.
                        Levine, E. Burns re venture investment sale
                        process and related updates (.6)
05/30/2023   EML1       Attend call with S&C, E. Gilad, B. Kelly, F.      0.60   1,475.00    885.00
                        Merola, G. Sasson, B. Levine and E. Burns
                        regarding M&A update and pending
                        transactions
05/30/2023   FM7        Telephone conference with S&C, E. Gilad,          0.60   1,875.00   1,125.00
                        B. Kelly, G. Sasson, B. Levine, E. Burns
                        regarding M&A update (0.6)
05/30/2023   GS13       Call with S&C, A&M, E. Gilad, C. Diaz             0.90   1,625.00   1,462.50
                        regarding claims agent process for customer
                        claims
05/30/2023   GS13       Call with S&C, E. Gilad, F. Merola, B.            0.60   1,625.00    975.00
                        Kelly, B. Levine, E. Burns regarding sale
                        matters
05/30/2023   IS6        Call with Quinn Emanuel and K. Pasquale           0.40   1,290.00    516.00
                        re Grayscale litigation and next steps
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Date         Initials   Description                                        Hours       Rate      Amount
05/30/2023   IS6        Call with DPW, S&C, K. Pasquale re 5036              0.40   1,290.00      516.00
                        litigation and potential settlement
05/30/2023   KP17       Call with S&C, DPW (5036), I. Sasson re              1.10   1,875.00     2,062.50
                        5036 litigation issues (.4); call with B.
                        Glueckstein re 5036 litigation issues and
                        contracts re 5036 claims (.3); call with
                        Quinn Emanuel and I. Sasson re Grayscale
                        litigation (.4)
05/31/2023   EG18       Call with PWP re FTX 2.0 RFP process (.6);           0.90   1,875.00     1,687.50
                        participate in portion of call with S&C, K.
                        Pasquale, G. Sasson, I. Sasson re pending
                        and upcoming case matters (.3)
05/31/2023   GS13       Call with S&C, E. Gilad (portion), K.                0.80   1,625.00     1,300.00
                        Pasquale, and I. Sasson regarding pending
                        matters and litigation
05/31/2023   IS6        Participate in call with Debtors, E. Gilad           1.00   1,290.00     1,290.00
                        (portion), K. Pasquale, and G. Sasson re
                        outstanding case items and pending
                        litigation (.8); follow up analysis re same (.2)
05/31/2023   KP17       Call with B. Glueckstein, S&C, E. Gilad              1.10   1,875.00     2,062.50
                        (portion), G. Sasson, I. Sasson re litigation
                        and pending matters (.8); emails with S&C
                        re follow up items and 5036 (.3)
05/31/2023   KH18       Call with Debtors' advisors regarding                1.90   2,075.00     3,942.50
                        Sanders (.8); follow up review of Sanders-
                        related issues discussed on call (1.1)
             Subtotal: B115 Meetings and Communications                    127.60              211,649.00
                       with Debtors




B120   Asset Analysis and Recovery
05/01/2023   IS6        Review issues regarding coin monetization            0.30   1,290.00      387.00
05/02/2023   GS13       Review model regarding claims and                    1.10   1,625.00     1,787.50
                        liabilities (.8); correspond with I. Sasson
                        regarding same (.3)
05/05/2023   CD19       Correspond with G. Sasson and L. Koch re             0.20   1,125.00      225.00
                        postpetition deposits
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05/05/2023   MEG9       Review monetization taxonomy from J. de           0.30   1,425.00    427.50
                        Brignac (FTI)
05/05/2023   SAQ        Correspond with C. Daniel, M. Murphy,             0.20   1,125.00    225.00
                        and L. Koch regarding FTX token
                        monetization framework prepared by FTI
05/07/2023   CD19       Correspond with G. Sasson re postpetition         0.10   1,125.00    112.50
                        deposits
05/08/2023   FM7        Review coin report (0.6); review A&M              0.80   1,875.00   1,500.00
                        correspondence regarding coin protocol
                        (0.2)
05/11/2023   FM7        Analyze coin report and FTI commentary            0.80   1,875.00   1,500.00
                        (0.6); review top holder analysis (0.2)
05/11/2023   GK6        Conduct legal diligence on FTX’s digital          5.70    915.00    5,215.50
                        asset portfolio to determine the status of
                        development, 5065 status, and specific
                        regulatory considerations (2.2); prepare
                        summary report regarding same (3.5)
05/11/2023   LED        Correspond with L. Koch regarding                 0.30   1,425.00    427.50
                        monetization issues and next steps (.1);
                        prepare correspondence to C. Daniel, L.
                        Kaplan regarding custody arrangements (.2)
05/11/2023   SAQ        Prepare correspondence to L. Greenbacker          0.10   1,125.00    112.50
                        and L. Koch regarding updated Coin
                        Report comments from FTI
05/12/2023   BK12       Review debtor response to coin                    0.20   1,625.00    325.00
                        management proposal
05/12/2023   EG18       Analyze Debtors' response to coin                 0.60   1,875.00   1,125.00
                        management presentation and latest claims
                        summary
05/12/2023   FM7        Analyze Debtor feedback deck regarding            0.60   1,875.00   1,125.00
                        UCC coin management framework
05/12/2023   GK6        Conduct legal diligence on FTX’s digital          7.50    915.00    6,862.50
                        asset portfolio to determine the status of
                        development (1.4); conduct legal diligence
                        regarding 5065 (5.5); conduct legal diligence
                        regarding specific regulatory considerations
                        relating to development and launch of
                        digital asset portfolio (0.6)
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Date         Initials   Description                                     Hours         Rate    Amount
05/13/2023   EG18       Review and comment on Debtors' written              0.30   1,875.00    562.50
                        response to coin management memo
05/14/2023   GK6        Conduct legal diligence on FTX’s digital            5.00    915.00    4,575.00
                        asset portfolio to determine the status of
                        development (1.0); conduct legal diligence
                        regarding 5065 (3.5); conduct legal diligence
                        regarding specific regulatory considerations
                        relating to development and launch of
                        digital asset portfolio (0.5)
05/15/2023   EG18       Review authority and precedent regarding            1.90   1,875.00   3,562.50
                        claim valuation and token pricing (1.5);
                        analyze application of same to FTX claims
                        and tokens (0.4)
05/15/2023   ECS3       Conduct initial diligence on coin portfolio         0.50   1,550.00    775.00
05/15/2023   ECS3       Review Committee correspondence on coin             0.50   1,550.00    775.00
                        management (.4); consider Committee
                        questions on same (.1)
05/15/2023   GK6        Conduct legal diligence on FTX’s digital            9.70    915.00    8,875.50
                        asset portfolio to determine the status of
                        development (1.3); conduct legal diligence
                        regarding 5065 (7.4); conduct legal diligence
                        regarding specific regulatory considerations
                        relating to development and launch of
                        digital asset portfolio (1.0)
05/15/2023   GK6        Review UCC coin management proposal                 0.80    915.00     732.00
                        feedback.
05/15/2023   IS6        Review coin monetization counter (.8);              2.10   1,290.00   2,709.00
                        review token monetization chart (.6);
                        analyze issues re same (.7)
05/15/2023   MEG9       Review emails on hedging proposal from B.           0.50   1,425.00    712.50
                        Bromberg and certain Committee members
05/16/2023   GK6        Conduct legal diligence on FTX’s entire            10.20    915.00    9,333.00
                        digital asset portfolio to determine the
                        status of development including 5065 and
                        any specific regulatory considerations (8.9);
                        prepare notes regarding same (1.3)
05/16/2023   GK6        Correspond with E. Sibbitt regarding UCC            0.20    915.00     183.00
                        coin management proposal feedback
05/16/2023   IS6        Analyze token valuation documents                   1.20   1,290.00   1,548.00
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Date         Initials   Description                                     Hours       Rate    Amount
05/17/2023   FM7        Review A&M correspondence regarding               0.20   1,875.00    375.00
                        coin protocol and onboarding
05/17/2023   GK6        Conduct legal diligence on FTX’s digital          9.30    915.00    8,509.50
                        asset portfolio to determine the status of
                        development (1.3); conduct legal diligence
                        regarding 5065 (7.0); conduct legal diligence
                        regarding specific regulatory considerations
                        relating to development and launch of
                        digital asset portfolio (1.0)
05/18/2023   EG18       Analyze token valuation precedent and             0.80   1,875.00   1,500.00
                        related FTX issues
05/18/2023   EG18       Call with FTI and I. Sasson regarding coin        1.20   1,875.00   2,250.00
                        monetization (.5); follow up conference
                        with I. Sasson regarding same (.7)
05/18/2023   GS13       Review monetization memo from UCC                 2.00   1,625.00   3,250.00
                        (1.1); review response to same from
                        Debtors (.9)
05/18/2023   GK6        Conduct legal diligence on FTX’s digital          9.50    915.00    8,692.50
                        asset portfolio to determine the status of
                        development (1.0); conduct legal diligence
                        regarding 5065 (8.3); conduct legal diligence
                        regarding specific regulatory considerations
                        relating to development and launch of
                        digital asset portfolio (0.2)
05/18/2023   IS6        Call with FTI and E. Gilad re coin                1.40   1,290.00   1,806.00
                        monetization (.5); follow up meeting with
                        E. Gilad re same (.7); call with M. Diodato
                        re same (.2)
05/18/2023   LK19       Analyze documents provided by the                 0.50    855.00     427.50
                        Debtors regarding FTX Japan (0.3); prepare
                        summary of same for K. Hansen, G.
                        Sasson, and E. Gilad (0.2)
05/19/2023   FM7        Review Debtor coin report for potential           0.20   1,875.00    375.00
                        sale issues
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Date         Initials   Description                                     Hours       Rate    Amount
05/19/2023   GK6        Conduct legal diligence on FTX’s digital          8.50    915.00    7,777.50
                        asset portfolio to determine the status of
                        development (1.0); conduct legal diligence
                        regarding 5065 (7.4); conduct legal diligence
                        regarding specific regulatory considerations
                        relating to development and launch of
                        digital asset portfolio (0.1)
05/19/2023   MEG9       Review emails between Committee member            0.30   1,425.00    427.50
                        and Alvarez & Marsal (K. Ramanathan) on
                        coin management
05/20/2023   GK6        Conduct legal diligence on FTX’s digital          2.40    915.00    2,196.00
                        asset portfolio to determine the status of
                        development, 5065, and specific regulatory
                        considerations (2.0); correspond with E.
                        Sibbitt regarding the same (.4)
05/21/2023   GK6        Correspond with E. Sibbitt regarding legal        0.20    915.00     183.00
                        diligence on FTX’s digital asset portfolio to
                        determine the status of development, 5065,
                        and specific regulatory considerations.
05/22/2023   EG18       Analyze coin valuation deck from FTI (1.2);       2.10   1,875.00   3,937.50
                        further analyze coin valuation issues (.9)
05/22/2023   ECS3       Review coin disposition documents (2.0);          2.40   1,550.00   3,720.00
                        review updated FTX diligence tracker for
                        coin issues (.4)
05/22/2023   FM7        Analyze winddown or sale of entities with         0.90   1,875.00   1,687.50
                        minimal activity (0.4); analyze proposal
                        regarding coin management (0.2); analyze
                        additional Debtor feedback regarding coin
                        management (0.3)
05/22/2023   FM7        Review Committee member                           0.40   1,875.00    750.00
                        correspondence regarding coin protocols
                        (0.2); review A&M correspondence with
                        UCC regarding coin management response
                        (0.2)
05/22/2023   SAQ        Prepare correspondence to M. Griffin, L.          0.20   1,125.00    225.00
                        Greenbacker, and L. Koch regarding Coin
                        Management Response and proposal
05/23/2023   EG18       Correspond with FTI regarding coin                3.50   1,875.00   6,562.50
                        valuation (0.2); analyze and comment on
                        coin valuation deck for UCC meeting (3.3)
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Date         Initials   Description                                    Hours          Rate      Amount
05/23/2023   EG18       Participate in call with FTI regarding coin         1.00   1,875.00     1,875.00
                        asset management
05/23/2023   ECS3       Review and comment on coin methodology              1.20   1,550.00     1,860.00
                        and valuation procedures proposed by FTI
05/23/2023   GS13       Review coin valuation reports (.4);                 0.80   1,625.00     1,300.00
                        correspond with I. Sasson regarding same
                        (.4).
05/24/2023   EG18       Correspond with A&M regarding coin                  1.00   1,875.00     1,875.00
                        management
05/24/2023   EG18       Analyze claims and valuation methodology            1.70   1,875.00     3,187.50
05/24/2023   EG18       Participate in call with FTI and G. Sasson          0.60   1,875.00     1,125.00
                        regarding coin valuation
05/24/2023   ECS3       Review updated due diligence tracker                0.50   1,550.00      775.00
                        regarding coin and 2.0 matters
05/24/2023   GS13       Review coin valuation analysis (.6); review         1.80   1,625.00     2,925.00
                        FTI coin management memo and response
                        from Debtors (.6); call with FTI and E.
                        Gilad regarding same (.6)
05/25/2023   EG18       Participate in call with FTI and G. Sasson          0.60   1,875.00     1,125.00
                        regarding coin valuation and waterfall
05/25/2023   GS13       Review revised coin valuation analysis (.8);        1.40   1,625.00     2,275.00
                        call with FTI and E. Gilad regarding same
                        and plan waterfall (.6)
05/26/2023   AAN1       Analyze bankruptcy claim tokenization               2.90   1,235.00     3,581.50
                        matters (2.1); prepare outline regarding
                        same and open issues (.8)
05/27/2023   KH18       Review proposal from third-party market             1.20   2,075.00     2,490.00
                        maker for token services (.5); follow up
                        emails with FTI (F. Risler and S. Simms)
                        regarding same (.7)
05/30/2023   FM7        Analyze trading advisory proposal from              0.30   1,875.00      562.50
                        vendor
             Subtotal: B120 Asset Analysis and Recovery                   112.70              135,309.00




B130   Asset Disposition
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Date         Initials   Description                                    Hours        Rate    Amount
05/01/2023   BL10       Review diligence documents from priority          0.60   1,290.00    774.00
                        venture
05/01/2023   BK12       Review S&C venture diligence documents            3.90   1,625.00   6,337.50
                        (0.5); review updated deck and referenced
                        documents re FTX Europe (0.7);
                        correspond with F. Merola, K. Hansen and
                        B. Levine re: venture investments and
                        update re: same (0.3); review bidder revised
                        PSA, sale order, and ancillary documents
                        for purchase of 5048 business (1.3);
                        correspond with E. Gilad, F. Merola, G.
                        Sasson and E. Levine re: same (1.1)
05/01/2023   EHG        Prepare issues list for 5048 purchase             0.80   1,125.00    900.00
                        agreement markup
05/01/2023   EG18       Review venture asset sale documents from          0.50   1,875.00    937.50
                        Jefferies
05/01/2023   EML1       Review and comment on OK Coin - 5048              1.00   1,475.00   1,475.00
                        PSA issues list
05/01/2023   FM7        Review Jefferies crypto news update to            0.20   1,875.00    375.00
                        inform M&A analysis
05/01/2023   FM7        Review/respond to B. Kelly                        3.80   1,875.00   7,125.00
                        correspondence regarding 5076 update
                        (0.2); review/respond to Jefferies
                        correspondence regarding 5076 due
                        diligence (0.2); review/respond to B. Kelly
                        correspondence regarding 5048 offers (0.2);
                        review OK Coin release provision (0.2);
                        review S&C correspondence regarding OK
                        Coin (0.2); review Jefferies documents
                        regarding 5076 and 5089 (0.7); review 5048
                        bridge (0.1); review and comment on B.
                        Levine M&A update (0.6); review redline of
                        5048 sale order and consider changes (0.3);
                        review S&C correspondence regarding OK
                        Coin bid documents (0.3); review/respond
                        to Jefferies correspondence regarding FTX
                        Europe and FTX Europe documents (0.2);
                        review revised FTX Europe documents
                        (0.6)
05/01/2023   FM7        Review NDA regarding project focus                0.20   1,875.00    375.00
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Date         Initials   Description                                      Hours      Rate     Amount
05/01/2023   GS13       Review and comment on Jefferies sale              0.30   1,625.00     487.50
                        summaries
05/02/2023   BL10       Participate in M&A update call with K.            3.70   1,290.00    4,773.00
                        Hansen, E. Gilad, F. Merola, B. Kelly (.7);
                        review and provide comments to client
                        questions and Jefferies deck (2.2); review de
                        minimis procedure order and summarize
                        requirements for authorized capital call (.6);
                        respond to follow-up questions on same (.2)
05/02/2023   BK12       Review PH comments re: 5048 PSA (0.6);            7.30   1,625.00   11,862.50
                        correspond with A. Cohen, M. Wu, E.
                        Gilad and F. Merola regarding same (0.3);
                        participate in M&A update call with K.
                        Hansen, F. Merola, B. Levine, E. Gilad
                        (0.7); call with M. Friedman regarding
                        update re: 5048 bid (0.3); follow-up
                        correspondence with E. Gilad and R.
                        Hamilton regarding same (0.7); respond to
                        G. Sasson, E. Gilad, R. Hamilton questions
                        re: M&A and related UCC update (0.9);
                        review draft PSA for sale of venture
                        investment (0.6); prepare responses to UCC
                        M&A update questions (1.4); review and
                        comment on Jefferies investment update
                        deck (0.7); review underlying documents for
                        same (1.1)
05/02/2023   CX3        Perform due diligence review of ventures          1.60    915.00     1,464.00
                        investment
05/02/2023   EG18       Participate in M&A update telephone               0.70   1,875.00    1,312.50
                        conference with K. Hansen, F. Merola, B.
                        Kelly, B. Levine
05/02/2023   EG18       Mark up project focus RFP documents               1.20   1,875.00    2,250.00
                        (1.0); correspond with Jefferies regarding
                        same (0.2)
05/02/2023   EML1       Review and comment on project focus               1.50   1,475.00    2,212.50
                        NDA form
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Date         Initials   Description                                     Hours        Rate    Amount
05/02/2023   FM7        Review and revised comments regarding              3.70   1,875.00   6,937.50
                        5048 APA (0.6); review redline of 5048 sale
                        order and consider changes (0.4); review
                        and comment on B. Kelly update regarding
                        OK Coin proposal (0.4); telephone
                        conference with K. Hansen, B. Kelly, B.
                        Levine, E. Gilad regarding M&A update
                        (0.7); correspond with S&C regarding
                        outstanding M&A documents (0.2); review
                        and comment on B. Levine response
                        regarding 5076 (0.2); review/revise B. Kelly
                        comments to form of 5048 sale order (0.2);
                        review/revise B. Kelly summary regarding
                        5048 update (0.6); review summary of 5076
                        defaulting partner provisions (0.2); review
                        and respond to B. Kelly correspondence
                        regarding 5048 board meeting (0.2)
05/02/2023   FM7        Review Debtor redacted fund process                0.40   1,875.00    750.00
                        documents (0.2); review/respond to B.
                        Levine correspondence re de minimis
                        procedure order and requirements for
                        authorized capital call (0.2)
05/02/2023   FM7        Review project focus draft documents (0.4);        1.60   1,875.00   3,000.00
                        review/respond to Jefferies comments
                        regarding project focus document (0.2);
                        review and revise project focus RFP mark
                        ups (0.6); review deck regarding FTX vault
                        (0.4)
05/02/2023   GS13       Review Jefferies sale presentation (.8);           1.20   1,625.00   1,950.00
                        telephone conference with Jefferies
                        regarding same (.4)
05/02/2023   KH18       Analyze potential venture asset sales and          1.90   2,075.00   3,942.50
                        related Jefferies’ documents (1.2); call with
                        F. Merola, E. Gilad, B. Kelly, B. Levine
                        regarding same and related M&A update
                        (.7)
05/02/2023   LK19       Analyze due diligence documents provided           0.70    855.00     598.50
                        by the Debtors (0.2); correspond with B.
                        Kelly, B. Levine regarding M&A documents
                        provided by the Debtors (0.5)
05/02/2023   MEG9       Review 5048 bid information                        0.30   1,425.00    427.50
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Date         Initials   Description                                   Hours         Rate    Amount
05/03/2023   BL10       Correspond with B. Kelly regarding open           1.00   1,290.00   1,290.00
                        items on venture diligence (.2); provide
                        comments to venture diligence summaries
                        (.8)
05/03/2023   BK12       Review FTX Vault documents (0.3);                 4.20   1,625.00   6,825.00
                        correspond with F. Merola and B. Levine
                        re: venture diligence (1.3); review related
                        venture documents (0.4); review draft PSA
                        for 5089 (0.5); correspond with E. Levine
                        re: same (0.1); correspond with R. Hamilton
                        re: 5076 capital call (.1); review relevant
                        5076 documents (1.0); review and comment
                        on B. Mendelsohn declaration re: 5048 sale
                        (0.5)
05/03/2023   CX3        Draft summary of due diligence review of          3.40    915.00    3,111.00
                        certain venture investments
05/03/2023   EG18       5048 bid analysis                                 0.60   1,875.00   1,125.00
05/03/2023   FM7        Review and comment on B. Kelly summary            1.90   1,875.00   3,562.50
                        regarding 5076 LP (0.6); review PWP deck
                        regarding de minimis offer summary (0.3);
                        review/respond to S&C correspondence
                        regarding follow up comments on M&A
                        documents (0.2); review/respond to B.
                        Kelly correspondence to S&C regarding de
                        minimis asset tracker (0.2); review and
                        comment on term sheet regarding 5117
                        (0.4); review S&C correspondence regarding
                        5089 documents (0.2)
05/03/2023   FM7        Review Jefferies crypto news run to inform        0.20   1,875.00    375.00
                        M&A analysis
05/03/2023   FM7        Correspond with E. Gilad regarding Vault          0.30   1,875.00    562.50
                        (0.1); review Jefferies correspondence
                        regarding investor list (0.2)
05/03/2023   GS13       Review 5048 revised order and related             1.20   1,625.00   1,950.00
                        pleadings (.9); emails with B. Kelly and F.
                        Merola regarding same (.3)
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Date         Initials   Description                                     Hours       Rate    Amount
05/03/2023   MEG9       Review documents from D. Homrich                  0.70   1,425.00    997.50
                        (Jefferies) re: 5076 (0.3); review documents
                        from D. Homrich (Jefferies) re: funds sales
                        process (0.2); review documents from D.
                        Homrich (Jefferies) re: 5089 fund (0.2)
05/04/2023   BL10       Update report regarding venture diligence         1.60   1,290.00   2,064.00
                        review and open items (.8); call with F.
                        Merola, G. Sasson, and B. Kelly regarding
                        same (.3); participate in venture diligence
                        call with Jefferies, E. Gilad, B. Kelly, G.
                        Sasson, F. Merola, E. Levine (.5).
05/04/2023   BK12       Call with G. Sasson, F. Merola and B.             3.20   1,625.00   5,200.00
                        Levine re: venture diligence (0.3); review
                        certain venture documents discussed before
                        and after call (1.1); M&A update call with F.
                        Merola, G. Sasson, E. Gilad, B. Levine, E.
                        Levine, and Jefferies (M. O'Hara, R.
                        Hamilton) (0.5); review venture investment
                        PSA and related documents (0.5); respond
                        to F. Merola questions re: same (0.2); review
                        and comment on Jefferies draft responses
                        to UCC members' transaction questions
                        (0.6).
05/04/2023   EHG        Review draft purchase agreement for sale of       1.20   1,125.00   1,350.00
                        5089 interest
05/04/2023   EG18       Develop M&A protocol (0.7); correspond            1.40   1,875.00   2,625.00
                        with Jefferies regarding M&A / venture
                        investment sale process protocol (0.2);
                        telephone conference with Jefferies, B.
                        Kelly, G. Sasson, F. Merola, B. Levine, E.
                        Levine regarding same (0.5)
05/04/2023   EG18       Analyze issues, documents regarding 5065          0.60   1,875.00   1,125.00
                        sale
05/04/2023   EML1       Review updates to venture diligence report        0.60   1,475.00    885.00
                        (.1); attend M&A/venture update call with
                        B. Kelly, F. Merola, G. Sasson, E. Gilad, B.
                        Levine, and Jefferies (.5)
05/04/2023   FM7        Review Jefferies crypto news run to inform        0.20   1,875.00    375.00
                        sales analysis
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Date         Initials   Description                                      Hours       Rate    Amount
05/04/2023   FM7        Review M&A due diligence list (0.2);               3.20   1,875.00   6,000.00
                        review/respond to S&C correspondence re
                        5048 sale order (0.1); review and comment
                        on redlined 5048 sale order and consider
                        changes (0.6); review Mendelsohn
                        declaration re 5048 (0.2); review and
                        comment on Jefferies M&A update (0.4);
                        review/respond to E. Gilad correspondence
                        re PWP telephone conference (0.2); meeting
                        with B. Kelly, G. Sasson, B. Levine
                        regarding venture due diligence (0.3); review
                        5024 proposal (0.2); review Jefferies
                        correspondence re OK Coin (0.2);
                        participate in Jefferies M&A update
                        telephone conference with E. Gilad, G.
                        Sasson, B. Kelly, B. Levine, E. Levine (0.5);
                        review 5065 PSA (0.3)
05/04/2023   GS13       Review 5006 issues (.6); review 5065 issues        2.00   1,625.00   3,250.00
                        and sale terms (.6); telephone conference
                        with Jefferies, E. Gilad, F. Merola, E.
                        Levine, B. Kelly, B. Levine regarding sale
                        issues (.5); conference with F. Merola, B.
                        Levine, B. Kelly regarding same and venture
                        diligence (.3)
05/04/2023   KP17       Analyze 5065 sale issues and related 5065          2.20   1,875.00   4,125.00
                        documents (1.8); call with K. Hansen re:
                        same (.4).
05/04/2023   KH18       Analyze issues re: 5065 sale (.4); emails with     1.00   2,075.00   2,075.00
                        G. Sasson, E. Gilad and K. Pasquale re:
                        same (.2); call with K. Pasquale re: same
                        (.4).
05/04/2023   MEG9       Review summary of 5048 hearing from K.             0.30   1,425.00    427.50
                        Pasquale
05/05/2023   BL10       Analyze and respond to questions on 5006           2.60   1,290.00   3,354.00
                        (1.3); call with K. Pasquale, B. Kelly to
                        discuss open issues regarding 5006 and
                        related litigation proposal (.4); prepare
                        summary and approach on key venture
                        items (.9)
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Date         Initials   Description                                      Hours       Rate     Amount
05/05/2023   BK12       Review client email questions regarding            7.30   1,625.00   11,862.50
                        venture investment update (1.6); review
                        related documents for response (2.1);
                        correspond with K. Pasquale re: same (1.4);
                        review LOI received May 3, 2023 for 5024
                        sale (0.3); call with M. O'Hara, R. Hamilton
                        (Jefferies) re: venture investment sale (0.5);
                        call with K. Pasquale and B. Levine re:
                        venture investment 5006 and related
                        litigation proposal (0.4); follow-up review of
                        related venture documents (0.6); review and
                        respond to K. Pasquale re: draft response to
                        client questions (0.4)
05/05/2023   EG18       Telephone conference with Jefferies                0.70   1,875.00    1,312.50
                        regarding 5065 sale
05/05/2023   EG18       Review and analyze M&A / venture                   0.70   1,875.00    1,312.50
                        document provided by Jefferies
05/05/2023   FM7        Review/respond to B. Kelly                         1.40   1,875.00    2,625.00
                        correspondence regarding 5006 documents
                        (0.2); review K. Pasquale correspondence
                        regarding 5006 settlement proposal (0.2);
                        review VDR update re M&A documents
                        (0.2); review and comment on 5006 warrant
                        summary (0.6); review/respond to Jefferies
                        correspondence regarding 5006 unlock (0.2)
05/05/2023   KP17       Analyze ventures 5006 proposal re litigation       2.20   1,875.00    4,125.00
                        issues (1.8); call with B. Kelly and B. Levine
                        re same (.4)
05/05/2023   KH18       Review and analyze venture asset                   1.20   2,075.00    2,490.00
                        information (.8); call with B. Kelly and B.
                        Levine re: same (.4).
05/06/2023   BK12       Review draft response to Committee                 4.00   1,625.00    6,500.00
                        member questions (0.5); correspond with K.
                        Pasquale re: same (0.1); review documents
                        re: venture investment and rights to tokens
                        (1.8); review related questions raised by
                        Committee members (0.7); correspond with
                        K. Pasquale, R. Hamilton (Jefferies), D.
                        Homrich (Jefferies) re: same (0.9)
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05/06/2023   EG18       Review correspondence from S&C                     0.20   1,875.00    375.00
                        regarding M&A process
05/06/2023   FM7        Review/respond to B. Kelly                         0.60   1,875.00   1,125.00
                        correspondence to Jefferies re 5006 (0.2);
                        review Jefferies correspondence regarding
                        5006 (0.2); review K. Pasquale
                        correspondence regarding 5006 (0.2)
05/06/2023   GS13       Review 5006 sale proposal and response             0.80   1,625.00   1,300.00
05/07/2023   BL10       Review questions from Jefferies related to         2.20   1,290.00   2,838.00
                        token investment and disagreements with
                        issuer (.8); analyze same and prepare
                        response (.5); review token purchase
                        agreements and related documents (.9)
05/07/2023   BK12       Correspond with D. Homrich (Jefferies), R.         1.80   1,625.00   2,925.00
                        Hamilton (Jefferies) and K. Pasquale re:
                        draft responses to Committee members
                        questions (0.7); review underlying
                        documents and provide comments on draft
                        response (1.1)
05/07/2023   EG18       Review and comment on 5006 and 5005                0.90   1,875.00   1,687.50
                        transactions
05/08/2023   BL10       Sales update call with K. Hansen, K.               2.60   1,290.00   3,354.00
                        Pasquale, B. Kelly, E. Burns, F. Merola, E.
                        Gilad (.7); update related venture
                        documents per call discussion (1.1);
                        participate in 5006 update call with Jefferies,
                        K. Pasquale, B. Kelly, G. Sasson, E. Levine,
                        E. Burns, B. Levine, K. Hansen (.4); update
                        diligence report for venture items and
                        supplement summaries for same (.4)
05/08/2023   BK12       M&A update call with K. Hansen, E. Gilad,          1.20   1,625.00   1,950.00
                        K. Pasquale, F. Merola, B. Levine, E. Burns
                        (0.7); call with R. Hamilton, F. Merola, G.
                        Sasson, K. Hansen, K. Pasquale, E. Levine,
                        B. Levine, E. Burns re: venture investment
                        sale process (.4); prepare follow-up notes
                        regarding next steps (.1)
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05/08/2023   EHG        Conference with K. Hansen, K. Pasquale,             1.10   1,125.00   1,237.50
                        E. Gilad, B. Kelly, F. Merola, B. Levine,
                        regarding sale process and pending M&A
                        (.7); call with Jefferies, B. Kelly, G. Sasson,
                        K. Pasquale, F. Merola, K. Hansen, B.
                        Levine, E. Levine regarding 5006 and
                        related venture matters (.4)
05/08/2023   EG18       Review documents and information on                 2.80   1,875.00   5,250.00
                        pending venture investment transactions
                        (2.4); prepare comments on next steps for
                        same (.4)
05/08/2023   EG18       Participate in asset sale call with K. Hansen,      0.70   1,875.00   1,312.50
                        K. Pasquale, F. Merola, B. Kelly, B. Levine,
                        E. Burns regarding pending transactions
                        and open sale issues
05/08/2023   EML1       Telephone conference with Jefferies, K.             0.40   1,475.00    590.00
                        Pasquale, B. Kelly, K. Hansen, G. Sasson,
                        B. Levine, E. Burns, and F. Merola
                        regarding 5006 proposal
05/08/2023   FM7        Review crypto news updates to inform sales          0.20   1,875.00    375.00
                        analysis
05/08/2023   FM7        Review/respond to Jefferies                         2.10   1,875.00   3,937.50
                        correspondence regarding 5005 (0.2); review
                        PWP correspondence regarding 5006
                        counter (0.2); participate in M&A update
                        telephone conference with K. Hansen, K.
                        Pasquale, B. Kelly, E. Gilad, B. Levine, E.
                        Burns (0.7); telephone conference with
                        Jefferies, K. Hansen, G. Sasson, K.
                        Pasquale, B. Kelly, B. Levine, E. Burns, E.
                        Levine regarding certain M&A update (0.4);
                        review venture investment report and
                        categories (0.2); review and comment on
                        Jefferies correspondence regarding 5065
                        documents (0.4)
05/08/2023   GS13       Review and analyze FTX EU issues and                2.20   1,625.00   3,575.00
                        next steps (1.1); review Jefferies sales
                        documents (.7); telephone conference with
                        K. Hansen, K. Pasquale, F. Merola, E.
                        Burns, B. Levine, E. Levine, B. Kelly,
                        Jefferies regarding 5006 (.4)
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05/08/2023   KP17       Call with K. Hansen, E. Gilad, F. Merola, B.       1.10   1,875.00   2,062.50
                        Kelly, B. Levine, E. Burns re M&A issues
                        (.7); call with Jefferies, K. Hansen, G.
                        Sasson, B. Levine, E. Burns, B. Kelly, F.
                        Merola, E. Levine re 5006 (.4)
05/08/2023   KH18       Call with K. Pasquale, E. Gilad, B. Kelly, F.      1.90   2,075.00   3,942.50
                        Merola, B. Levine, E. Burns regarding
                        M&A process and update (.7); call with G.
                        Sasson, K. Pasquale, B. Kelly, F. Merola, B.
                        Levine, E. Levine, E. Burns regarding
                        venture issues and analysis (.4); review
                        action items on venture issues (.8)
05/09/2023   BL10       Prepare comments on venture investments            1.80   1,290.00   2,322.00
                        diligence (.4); review 4004 and 5020
                        documents (1.4)
05/09/2023   BK12       Participate in M&A update call with R.             3.30   1,625.00   5,362.50
                        Hamilton (Jefferies), E. Gilad, and F.
                        Merola (0.4); review documents regarding
                        venture investment (1.9); correspond with
                        E. Gilad and F. Merola re: same (0.4);
                        correspond with I. Sasson, F. Merola, E.
                        Gilad re: venture investment (.6)
05/09/2023   EG18       Analyze 5065 sale terms (2.1); correspond          2.70   1,875.00   5,062.50
                        with B. Kelly, G. Sasson, F. Merola
                        regarding same (0.6)
05/09/2023   EG18       Call with Jefferies, B. Kelly, F. Merola           0.40   1,875.00    750.00
                        regarding asset sale process for certain
                        Debtor investments
05/09/2023   FM7        Analyze K. Pasquale correspondence                 1.70   1,875.00   3,187.50
                        regarding S&C and 5006 (0.2); respond to
                        E. Gilad correspondence regarding 5005
                        sale process (0.2); respond to Jefferies
                        correspondence regarding 5006 (0.1); review
                        and comment on Jefferies correspondence
                        regarding 5065 tokens (0.4); analyze 5065
                        token agreement and B. Kelly comments
                        regarding same (0.3); correspond with G.
                        Sasson regarding 5065 tokens (0.3);
                        correspond with Jefferies regarding asset
                        sale (0.2)
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05/09/2023   FM7        Telephone conference with Jefferies, E.           0.40   1,875.00    750.00
                        Gilad, and B. Kelly regarding M&A process
05/09/2023   KH18       Review and comment on venture related             1.20   2,075.00   2,490.00
                        disposition issues
05/09/2023   MM51       Review venture investment documents and           2.90    915.00    2,653.50
                        prepare diligence summary for investments
                        in 5096
05/10/2023   BL10       Review de minimis transaction updates and         2.10   1,290.00   2,709.00
                        related documents for certain ventures (.8);
                        update diligence plan for venture
                        investments (.4); review and comment on
                        draft diligence summaries regarding venture
                        investments (.9)
05/10/2023   BK12       Review documents regarding venture                1.60   1,625.00   2,600.00
                        investments (0.6); correspond with F.
                        Merola and E. Gilad re: securities law
                        considerations re: contemplated transaction
                        (0.2); review and consider PWP de minimis
                        offers summary (0.4); follow up
                        correspondence with M. Wu (S&C) and B.
                        Levine re: same (0.1); review I. Sasson email
                        re: venture investment (0.1); correspond
                        with E. Sibbitt re: same (0.2)
05/10/2023   EG18       Correspond with G. Sasson and C. Daniel           0.40   1,875.00    750.00
                        regarding FTX Europe
05/10/2023   EG18       Analyze venture portfolio presentation            0.60   1,875.00   1,125.00
                        from Jefferies
05/10/2023   ECS3       Analyze legal considerations regarding 5065       1.00   1,550.00   1,550.00
                        and 5006 disposition (.8); prepare
                        comments on same (.2)
05/10/2023   FM7        Analyze and comment on indication of              0.80   1,875.00   1,500.00
                        interest regarding 5024 (0.2); analyze PWP
                        de minimis asset offer summary (0.2);
                        correspond with S&C regarding de minimis
                        asset offers (0.2); correspond with B. Kelly,
                        B. Levine regarding de minimis offer
                        documents (0.2)
05/10/2023   FM7        Analyze Jefferies crypto news run to inform       0.20   1,875.00    375.00
                        M&A analysis
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05/10/2023   FM7        Analyze Jefferies documents regarding Coin         0.20   1,875.00    375.00
                        Management (GP) process
05/10/2023   MEG9       Review emails between I. Sasson and E.             0.30   1,425.00    427.50
                        Sibbitt on 5006
05/10/2023   MM51       Review venture investment documents and            2.60    915.00    2,379.00
                        prepare diligence summary for investments
                        in 5096
05/11/2023   BL10       Participate in M&A call with K. Hansen, E.         1.80   1,290.00   2,322.00
                        Gilad, B. Kelly, F. Merola, E. Levine,
                        Jefferies (.6); review and comment on
                        venture investment diligence summaries
                        (.5); correspond with B. Kelly and F. Merola
                        regarding updated venture diligence plan
                        and summaries (.7)
05/11/2023   BK12       Participate in M&A update call with R.             0.60   1,625.00    975.00
                        Hamilton, K. Hansen, E. Gilad, B. Levine,
                        F. Merola, E. Levine
05/11/2023   CX3        Update ventures investment due diligence           0.70    915.00     640.50
                        summary (5006 Series A)
05/11/2023   CX3        Review and summarize 5093 documents for            2.50    915.00    2,287.50
                        ventures diligence
05/11/2023   CX3        Review and summarize key provisions of             0.60    915.00     549.00
                        investment in 5093
05/11/2023   CX3        Correspond with B. Levine and M. Maksud            0.20    915.00     183.00
                        re ventures diligence
05/11/2023   EG18       Call with Jefferies, K. Hansen, B. Kelly, F.       0.60   1,875.00   1,125.00
                        Merola, B. Levine, E. Levine regarding
                        venture investments and related
                        transactions
05/11/2023   EML1       Attend M&A/venture portfolio update call           0.60   1,475.00    885.00
                        with Jefferies, K. Hansen, B. Kelly, F.
                        Merola, E. Gilad, B. Levine
05/11/2023   FM7        Telephone conference with Jefferies, K.            0.60   1,875.00   1,125.00
                        Hansen, E. Gilad, B. Levine, E. Levine, and
                        B. Kelly regarding M&A update
05/11/2023   GS13       Review Jefferies presentation regarding            0.60   1,625.00    975.00
                        ongoing sales
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05/11/2023   KH18       Analyze upcoming venture transactions            2.60   2,075.00   5,395.00
                        (1.3); comment on venture transaction
                        issues (.3); discussion with UCC advisors
                        and E. Gilad, B. Kelly, F. Merola, E.
                        Levine, B. Levine regarding upcoming
                        venture transactions (.6); analyze pending
                        transactions and related UCC questions (.4)
05/11/2023   MM51       Review venture investment documents and          4.40    915.00    4,026.00
                        prepare diligence summary for investments
                        in 5096
05/12/2023   BK12       Review Debtors' newly posted venture             0.20   1,625.00    325.00
                        diligence documents
05/12/2023   CX3        Update ventures diligence tracker                0.40    915.00     366.00
05/12/2023   CX3        Review documents for 5093 investment             1.00    915.00     915.00
                        (0.6); draft due diligence summary of same
                        (0.4)
05/12/2023   FM7        Analyze FTX Europe deck                          0.30   1,875.00    562.50
05/12/2023   MM51       Review venture investment documents and          5.80    915.00    5,307.00
                        prepare diligence summary for investments
                        in 5096
05/15/2023   BL10       Consider and respond to questions on 5092        1.20   1,290.00   1,548.00
                        (.4); review and comment on side letter on
                        5048 (.8)
05/15/2023   BK12       Review email from M. Friedman re: 5048           4.90   1,625.00   7,962.50
                        side letter (0.2); follow-up correspondence
                        with E. Levine re: same (0.2); post-debtor
                        call follow-up correspondence with B.
                        Levine re: de minimis offers (0.4);
                        correspond with R. Hamilton and D.
                        Homrich (Jefferies) re: UCC feedback on
                        venture investment matters (1.5);
                        correspond with G. Sasson re: same (0.6);
                        review draft side letter to 5048 PSA (1.1);
                        correspond with M. Friedman and E.
                        Levine re: same (0.2); review and comment
                        on E. Gilad email re: bankruptcy procedural
                        matters (0.7)
05/15/2023   CX3        Review ventures investment 5093 (2.2);           3.40    915.00    3,111.00
                        draft due diligence summary regarding same
                        (1.2)
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05/15/2023   EG18       Review pending venture investment                 1.10   1,875.00   2,062.50
                        transactions and consider strategy for same
05/15/2023   EML1       Review and comment on 5048 side letter            1.00   1,475.00   1,475.00
05/15/2023   FM7        Analyze 5091 investment statement (0.2);          1.80   1,875.00   3,375.00
                        review B. Kelly correspondence regarding
                        ventures framework (0.2); review 5047 side
                        letter (0.2); review summary of pending
                        M&A (0.2); correspond with Jefferies
                        regarding 5064 due diligence (0.2);
                        correspond with Jefferies regarding UCC
                        feedback on ventures M&A (0.2);
                        correspond with K. Pasquale regarding
                        5006 (0.2); analyze Debtors' response to
                        5006 (0.2); review Jefferies correspondence
                        regarding UCC feedback on M&A (0.2)
05/15/2023   FM7        Correspond with S&C regarding M&A                 0.90   1,875.00   1,687.50
                        protocol (0.2); correspond with S&C
                        regarding 5047 closing (0.2); correspond
                        with S&C regarding 5047 documents (0.2);
                        review 5047 documents (0.3)
05/15/2023   GS13       Review Jefferies sale documents (.9); call        1.10   1,625.00   1,787.50
                        with B. Kelly re: same (.2).
05/15/2023   KH18       Review Grant sale circumstances (.8);             1.00   2,075.00   2,075.00
                        prepare notes regarding same (.2)
05/16/2023   BL10       Analyze open items and questions re               1.20   1,290.00   1,548.00
                        venture investments and related diligence
                        (.9); review and comment on additional
                        document requests from S&C (.3)
05/16/2023   BK12       Respond to E. Gilad request re: venture           1.10   1,625.00   1,787.50
                        investment (0.2); review underlying
                        documents regarding same (0.4); review and
                        respond to G. Sasson email re: FTX Vault
                        (0.2); review deck re: same (0.3)
05/16/2023   CD5        Analyze and outline regulatory and licensing      1.00   1,700.00   1,700.00
                        issues for FTX Europe (.6); conference with
                        K. Hansen and G. Sasson regarding same
                        (.4)
05/16/2023   CX3        Review ventures investment 5093 (2.0);            2.30    915.00    2,104.50
                        draft due diligence summary of same (0.3)
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05/16/2023   CX3        Review dataroom regarding ventures                0.20    915.00     183.00
                        investment documents (.1); update ventures
                        diligence tracker (.1)
05/16/2023   EG18       Review and analyze 5006 documents                 1.20   1,875.00   2,250.00
05/16/2023   EG18       Review and analyze FTX Vault Trust deck           0.60   1,875.00   1,125.00
05/16/2023   FM7        Review Jefferies crypto news run to inform        0.20   1,875.00    375.00
                        M&A analysis
05/16/2023   FM7        Correspond with B. Kelly regarding 5006           1.30   1,875.00   2,437.50
                        response (0.2); correspond with B. Levine
                        regarding de minimis sales and related
                        documents (0.2); correspond with B. Kelly
                        regarding 5047 documents and closing (0.2);
                        review E. Sibbitt correspondence regarding
                        Vault Trust (0.2); correspond with A&M
                        regarding Vault Trust (0.2); analyze Debtor
                        deck regarding FTX Europe (0.3)
05/16/2023   FM7        Correspond with A&M regarding Coin                0.40   1,875.00    750.00
                        Management (CP's) (0.2); correspond with
                        S&C regarding FTX Europe (0.2)
05/16/2023   GS13       Analyze FTX EU issues (.8); draft email           1.70   1,625.00   2,762.50
                        regarding issues to S&C (.5); telephone
                        conference with K. Hansen and C. Daniel
                        regarding same (.4)
05/16/2023   KH18       Analyze FTX EU issues (1.1); call with G.         2.40   2,075.00   4,980.00
                        Sasson and C. Daniel regarding FTX EU
                        issues list (.4); analyze Lincoln issues
                        regarding sale process (.9)
05/17/2023   BK12       Correspond with M. O'Hara re: venture             3.50   1,625.00   5,687.50
                        investment plan (0.3); correspond with M.
                        Zuppone and E. Gilad re: securities law
                        questions (1.7); review FTX Europe email
                        from G. Sasson and related documents
                        (0.4); meet with C. Diaz re: same (0.3); call
                        with I. Sasson re: Sullivan & Cromwell
                        diligence summaries regarding venture
                        investments (0.2); follow up
                        correspondence with M. Wu (S&C) re: same
                        (0.2); review and provide comments to R.
                        Hamilton re: email and presentation deck
                        for UCC members (0.4)
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05/17/2023   CD19       Correspond with S&C re FTX Europe (.3);           1.50   1,125.00   1,687.50
                        review documents re FTX Europe (.3);
                        correspond with G. Sasson re same (.4); call
                        with B. Kelly re same (.3); correspond with
                        M. Griffin re same (.2)
05/17/2023   CX3        Review FTX Vault presentation                     0.20    915.00     183.00
05/17/2023   CX3        Review ventures investment documents              0.40    915.00     366.00
                        5002 (0.3); draft due diligence report
                        regarding same (0.1)
05/17/2023   CX3        Review ventures investment documents              4.10    915.00    3,751.50
                        5002 (3.7); prepare diligence summary
                        regarding same (0.4)
05/17/2023   FM7        Correspond with S&C regarding FTX                 0.40   1,875.00    750.00
                        Europe update (0.2); review S&C
                        correspondence regarding master diligence
                        file (0.2)
05/17/2023   FM7        Correspond with Jefferies regarding 5064          0.80   1,875.00   1,500.00
                        (.2); review Jefferies correspondence
                        regarding venture investment buckets (0.2);
                        revise Jefferies draft correspondence
                        regarding venture portfolio proposal (0.2);
                        correspond with M. Zuppone regarding
                        Investment Company Act (0.2)
05/17/2023   GS13       Review Jefferies sale documents (.9);             1.90   1,625.00   3,087.50
                        analyze FTX Vault deck (.6); correspond
                        with E. Gilad regarding same (.4)
05/17/2023   IS6        Call with B. Kelly regarding S&C's diligence      0.20   1,290.00    258.00
                        summaries
05/17/2023   KH18       Analyze Lincoln sale issues (.9); emails with     1.30   2,075.00   2,697.50
                        K. Pasquale and E. Gilad re: same (.4).
05/17/2023   MLZ        Analyze B. Kelly's email on alternative for       3.30   1,925.00   6,352.50
                        liquidating venture assets (.5); conduct
                        related analysis of SEC no action letters
                        (1.8); draft response with analysis of
                        potential reliance on SEC guidance (.8);
                        follow up email to B. Kelly addressing no
                        action letter (.2)
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05/17/2023   MM51       Review venture investment documents and          1.30    915.00    1,189.50
                        prepare diligence summary for investments
                        in 5028
05/18/2023   BK12       Correspond with F. Merola re: deck posted        3.70   1,625.00   6,012.50
                        to data room and review same (0.2);
                        correspond with M. O'Hara and R.
                        Hamilton re: venture portfolio and related
                        matters (0.5); correspond with K. Hansen,
                        B. Levine and M. Wu (S&C) re: venture
                        investment diligence (0.6); review
                        underlying venture investment documents
                        (1.3); correspond with M. Zuppone re:
                        securities law considerations (0.5); review
                        and provide feedback to D. Homrich re:
                        UCC update presentation re: venture
                        investments (0.6)
05/18/2023   CX3        Review ventures investment documents for         0.40    915.00     366.00
                        5110 (0.3); draft diligence summary
                        regarding same (0.1)
05/18/2023   CX3        Review venture documents for 5002 (1.1);         1.90    915.00    1,738.50
                        prepare diligence summary regarding same
                        (0.8)
05/18/2023   EG18       Discussions with Jefferies re 5076, 5089 and     1.80   1,875.00   3,375.00
                        additional venture investment transactions
                        (0.5); review documents regarding same
                        (1.3)
05/18/2023   ECS3       Analyze 5006 diligence and disposition           0.50   1,550.00    775.00
05/18/2023   FM7        Review PWP de minimis offer summary              0.80   1,875.00   1,500.00
                        (0.2); review Jefferies correspondence
                        regarding venture portfolio RFP (0.2);
                        review S&C correspondence regarding fund
                        sale process (0.2); review Jefferies
                        correspondence regarding 5075 and 5088
                        (0.2)
05/18/2023   FM7        Review Jefferies crypto news run to inform       0.20   1,875.00    375.00
                        M&A analysis
05/18/2023   FM7        Review deck regarding FTX Japan                  0.30   1,875.00    562.50
05/18/2023   MM51       Review venture investment documents and          1.40    915.00    1,281.00
                        prepare diligence summary for investments
                        in 5028
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Date         Initials   Description                                       Hours      Rate     Amount
05/19/2023   BL10       Participate in M&A update call with B.             1.60   1,290.00    2,064.00
                        Kelly, Jefferies (.5); update venture diligence
                        report (.4); review and comment on
                        venture/M&A decks for Committee (.7)
05/19/2023   BK12       Call with M. Zuppone re: securities law            7.00   1,625.00   11,375.00
                        considerations in connection with
                        liquidating venture assets (.8); review
                        documents regarding same (.3); participate
                        in M&A update call with M. O'Hara, R.
                        Hamilton, B. Levine (0.5); review and
                        summarize defaulting LP provisions in LP
                        agreement (2.1); correspond with K.
                        Pasquale and L. Hultgren re: same (0.5);
                        correspond with UCC members re: same
                        (0.9); review and comment on Jefferies
                        venture investment tracker (0.6); review
                        FTX Europe documents (.4); call with G.
                        Sasson re: same and term sheet for FTX
                        EU Ltd (.9)
05/19/2023   BK12       Review M. Wu email and documents re:               0.80   1,625.00    1,300.00
                        venture investment (0.5); correspond with
                        K. Pasquale and E. Gilad re: same (0.3)
05/19/2023   CD19       Draft term sheet re FTX Europe issues              1.70   1,125.00    1,912.50
05/19/2023   CX3        Review documents for 5002 (3.4); draft due         4.00    915.00     3,660.00
                        diligence summary for same (0.6)
05/19/2023   FM7        Correspond with FTI regarding 5006 (0.2);          1.30   1,875.00    2,437.50
                        review Jefferies correspondence regarding
                        5088 due diligence (0.2); correspond with
                        G. Sasson regarding FTX Europe (0.2);
                        analyze summary of 5089 documents (0.3);
                        review Jefferies correspondence regarding
                        venture investment tracker (0.2);
                        correspond with Jefferies regarding 5006
                        (0.2)
05/19/2023   FM7        Correspond with Jefferies regarding 5088           0.20   1,875.00     375.00
                        marketing process
05/19/2023   FM7        Review S&C correspondence regarding                0.70   1,875.00    1,312.50
                        5036 share exchange (0.3); analyze 5036
                        share exchange documents (0.4)
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Date         Initials   Description                                     Hours       Rate    Amount
05/19/2023   GS13       Review Jefferies documents regarding FTX          3.40   1,625.00   5,525.00
                        Europe and term sheet for FTX Europe
                        Ltd. (1.0); telephone conference with B.
                        Kelly regarding same (.9); follow-up
                        correspondence with E. Gilad regarding
                        same (.5); review FTX EU documents (.6);
                        correspond with K. Hansen regarding same
                        (.4)
05/19/2023   MEG9       Review emails between B. Kelly and K.             0.30   1,425.00    427.50
                        Pasquale re: 5006
05/19/2023   MLZ        Telephone conference with B. Kelly                1.30   1,925.00   2,502.50
                        regarding liquidating trust alternative and
                        SEC no action letters (.8); follow up email
                        to B. Kelly regarding Exchange Act 12(g)
                        provision and exemptions (.5)
05/19/2023   MM51       Review venture investment documents and           1.70    915.00    1,555.50
                        prepare diligence summary for investments
                        in 5028
05/20/2023   BL10       Review questions from Jefferies re 5089           0.50   1,290.00    645.00
                        investments and potential sale
05/20/2023   BK12       Correspond with E. Gilad and F. Merola re:        0.40   1,625.00    650.00
                        question from UCC member and request re:
                        FTX Europe
05/20/2023   EG18       Review updates impacting FTX Europe               0.20   1,875.00    375.00
                        analysis
05/20/2023   FM7        Correspond with C. Daniel regarding FTX           0.20   1,875.00    375.00
                        Europe term sheet
05/20/2023   KH18       Analyze litigation related issues concerning      1.00   2,075.00   2,075.00
                        Grant investment (.8); prepare notes
                        regarding next steps for same (.2)
05/21/2023   BL10       Call with K. Pasquale, E. Gilad, B. Kelly, G.     1.10   1,290.00   1,419.00
                        Sasson to review issues related to 5089 and
                        sales in process
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Date         Initials   Description                                     Hours       Rate    Amount
05/21/2023   BK12       Prepare notes regarding open issues for           5.50   1,625.00   8,937.50
                        M&A update call (0.3); call with E. Gilad,
                        G. Sasson, K. Pasquale, B. Levine re: M&A
                        action items and open issues (1.1); analyze
                        certain investment issues discussed in call
                        (0.4); correspond with C. Diaz and G.
                        Sasson re: FTX EU request (0.3); review
                        underlying documents (0.8); draft response
                        to UCC member question re: venture
                        investment (1.5); correspond with E. Gilad
                        re: same (0.3); follow-up correspondence
                        with E. Gilad, K. Hansen and R. Hamilton
                        regarding same (0.8)
05/21/2023   CX3        Analyze case law on assumption and                5.60    915.00    5,124.00
                        assignment of ventures investment interests
05/21/2023   EG18       Analyze partnership interests in connection       2.20   1,875.00   4,125.00
                        with venture investment sales (1.6); review
                        related cases and precedents (.6)
05/21/2023   EG18       Call with K. Pasquale, G. Sasson, B. Kelly,       1.10   1,875.00   2,062.50
                        B. Levine regarding 5089 investment
05/21/2023   FM7        Analyze issues regarding FTX Europe term          0.20   1,875.00    375.00
                        sheet
05/21/2023   FM7        Review E. Gilad correspondence regarding          0.40   1,875.00    750.00
                        5088 (0.2); analyze Jefferies correspondence
                        regarding 5088 (0.2)
05/21/2023   GS13       Telephone conference with E. Gilad, K.            1.10   1,625.00   1,787.50
                        Pasquale, B. Levine, and B. Kelly regarding
                        ongoing 5089 issues
05/21/2023   KP17       Call with B. Kelly, E. Gilad, G. Sasson, B.       1.10   1,875.00   2,062.50
                        Levine re 5089 transaction, FTX Europe
                        options
05/22/2023   BL10       Review open diligence items regarding             2.60   1,290.00   3,354.00
                        venture investments (.6); prepare notes
                        regarding next steps for same (.2); comment
                        on venture diligence and related report (.9);
                        update summary regarding debtor
                        investment documents (.9)
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Date         Initials   Description                                   Hours         Rate     Amount
05/22/2023   BK12       Detailed review of 5089 documents in              7.00   1,625.00   11,375.00
                        connection with client questions (2.1);
                        review new M&A documents posted to data
                        room (1.3); review updated diligence report
                        re: venture investments (0.9); provide
                        comments on same and specific types of
                        investments for C. Xu and B. Levine (0.8);
                        prepare draft response to venture
                        investment questions raised by UCC
                        members (1.9)
05/22/2023   CD19       Draft term sheet for FTX Europe financing         1.40   1,125.00    1,575.00
05/22/2023   CX3        Telephone conference with E. Gilad re case        0.50    915.00      457.50
                        law on assumption and assignment of
                        ventures investment interests
05/22/2023   CX3        Review ventures investments documents             1.50    915.00     1,372.50
                        5110 (1.2); prepare due diligence summary
                        of same (0.3)
05/22/2023   CX3        Review comments from B. Kelly regarding           3.60    915.00     3,294.00
                        venture investment diligence report (0.2);
                        revise same to specify venture investment
                        types (2.5); review venture investment
                        documents in connection with same (0.9)
05/22/2023   CX3        Draft correspondence with G. Sasson               0.40    915.00      366.00
                        regarding revised venture investments list
05/22/2023   CX3        Analyze case law on assumption and                3.40    915.00     3,111.00
                        assignment of ventures investments
                        partnership interests
05/22/2023   EG18       Analyze and comment on 5089 investment            2.20   1,875.00    4,125.00
05/22/2023   EG18       Call with C. Xu regarding partnership             0.50   1,875.00     937.50
                        agreement, assumption/assignment caselaw,
                        and impact on venture investment sales
05/22/2023   EG18       Review and comment on FTX Vault Trust             0.20   1,875.00     375.00
05/22/2023   EG18       Call with K. Hansen, G. Sasson regarding          0.50   1,875.00     937.50
                        pending asset sales
05/22/2023   ECS3       Review and comment on UCC presentation            0.70   1,550.00    1,085.00
                        documents on 5089 disposition
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Date         Initials   Description                                     Hours       Rate    Amount
05/22/2023   FM7        Analyze updated venture due diligence             0.90   1,875.00   1,687.50
                        report (0.2); review venture portfolio sorted
                        spreadsheet (0.3); correspond with FTI
                        regarding Vault Trust (0.2); correspond with
                        B. Levine regarding Project Focus (0.2)
05/22/2023   FM7        Correspond with S&C regarding 5088                0.20   1,875.00    375.00
05/22/2023   FM7        Analyze Jefferies crypto news run to inform       0.10   1,875.00    187.50
                        M&A analysis
05/22/2023   GS13       Review Jefferies update regarding sale            1.30   1,625.00   2,112.50
                        processes (.8); call with K. Hansen, E. Gilad
                        regarding same (.5)
05/22/2023   KH18       Call with E. Gilad, G. Sasson regarding           0.50   2,075.00   1,037.50
                        pending M&A matters and open sale issues
05/22/2023   KH18       Analyze FTX EU equity-related issues (.9);        2.10   2,075.00   4,357.50
                        prepare follow up notes regarding same (.2);
                        correspond with E. Gilad regarding venture
                        asset divestiture (.6); analyze venture asset
                        divestiture and implications for Committee
                        (.4)
05/23/2023   BL10       Review diligence summaries on 5002 and            0.70   1,290.00    903.00
                        additional venture investments
05/23/2023   BK12       Correspond with B. Levine re: venture             3.50   1,625.00   5,687.50
                        investment due diligence documents needed
                        (0.3); correspond with E. Gilad re:
                        proposed responses to UCC member
                        questions re 5088 (0.3); review updated
                        venture investment list (0.5); correspond
                        with R. Hamilton and D. Homrich re: same
                        (0.2); correspond with R. Hamilton re: UCC
                        feedback re: 5005 (0.3); review draft form
                        PSA for sale of 5005 investment (0.3);
                        correspond with E. Levine re: same (0.1);
                        review and revise equity term sheet for FTX
                        Europe (1.5)
05/23/2023   CD19       Correspond with A. Srivastava re FTX              0.70   1,125.00    787.50
                        Europe issues (.1); review and revise draft
                        term sheet on same (.6)
05/23/2023   CX3        Continue to prepare due diligence summary         1.10    915.00    1,006.50
                        of 5002 (ventures investment)
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Date         Initials   Description                                     Hours       Rate    Amount
05/23/2023   CX3        Analyze curing default under LPA                  2.00    915.00    1,830.00
                        (ventures) and related case law (1.6);
                        correspond with E. Gilad re same (0.4)
05/23/2023   EG18       Correspond with UCC regarding 5089                0.40   1,875.00    750.00
                        investment
05/23/2023   EG18       Review documents regarding venture                3.20   1,875.00   6,000.00
                        investment sale process (3.0); correspond
                        with B. Kelly and Jefferies regarding
                        venture investment sale process (0.2)
05/23/2023   FM7        Correspond with B. Levine regarding               1.80   1,875.00   3,375.00
                        Project Focus (0.2); review Jefferies
                        correspondence regarding 5005 and 5081
                        (0.2); analyze venture investment list (0.3);
                        analyze S&C correspondence regarding
                        5088 (0.2); revise FTX Europe term sheet
                        (0.3); review correspondence to S&C
                        (Simpson) regarding FTX Europe (0.2);
                        review B. Levine correspondence regarding
                        5005 PSA (0.2); review Jefferies (R.
                        Hamilton) correspondence regarding UCC
                        position regarding venture portfolio (0.2)
05/23/2023   KH18       Review asset management issues (.9);              1.20   2,075.00   2,490.00
                        prepare comments on same and next steps
                        for Committee (.3)
05/23/2023   MM51       Review 5005 documents in data room (.5);          0.80    915.00     732.00
                        review latest documents on Project Focus
                        fund sale (.3)
05/24/2023   BL10       Follow-up correspondence with S&C on              1.80   1,290.00   2,322.00
                        open venture investment items (.4); review
                        venture investment documents related to
                        4004, 5036 and 5005 (1.4)
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Date         Initials   Description                                     Hours       Rate    Amount
05/24/2023   BK12       Call with M. O'Hara and R. Hamilton re:           1.80   1,625.00   2,925.00
                        venture portfolio proposal (0.4); review
                        updated venture investment spreadsheet
                        and comments from L. Hultgren on same
                        (0.7); correspond with C. Xu, G. Sasson and
                        K. Hansen regarding same and next steps
                        (0.2); call with A. Srivastava, F. Merola, C.
                        Diaz, and G. Sasson re: FTX Europe (0.3);
                        correspond with B. Levine re: venture
                        investment diligence (0.2)
05/24/2023   CX3        Prepare parts of ventures investment              1.40    915.00    1,281.00
                        diligence spreadsheet
05/24/2023   EG18       Correspond with Jefferies regarding venture       1.00   1,875.00   1,875.00
                        portfolio and related disposition issues
05/24/2023   EML1       Review 5005 form PSA                              1.10   1,475.00   1,622.50
05/24/2023   FM7        Review S&C (Simpson) correspondence               1.50   1,875.00   2,812.50
                        regarding FTX Europe term sheet (0.2);
                        telephone conference with A. Srivastava, G.
                        Sasson, B. Kelly, C. Diaz regarding FTX
                        Europe and term sheet (0.3); review 4004
                        CM proposal (0.3); review B. Kelly
                        correspondence regarding FTX Europe
                        term sheet (0.2); revise FTX Europe term
                        sheet (0.3); correspond with S&C
                        (MacDonald) regarding M&A due diligence
                        follow up (0.2)
05/24/2023   FM7        Correspond with Hultgren regarding                0.60   1,875.00   1,125.00
                        venture investment summary (0.2); revise
                        venture investment summary (0.2);
                        correspond with B. Levine regarding 5005
                        PSA (0.2)
05/24/2023   FM7        Analyze Jefferies crypto news run to inform       0.10   1,875.00    187.50
                        FTX M&A analysis
05/25/2023   BL10       Participate in call regarding M&A update          0.70   1,290.00    903.00
                        with Jefferies, F. Merola, K. Hansen, G.
                        Sasson, B. Kelly, E. Gilad, K. Pasquale, E.
                        Levine
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Date         Initials   Description                                    Hours        Rate    Amount
05/25/2023   BL10       Review and comment on 5102 investment             2.70   1,290.00   3,483.00
                        (.3); update global diligence list regarding
                        debtor investments (1.0); prepare summary
                        of follow-up items for same (.4); review and
                        respond to questions on diligence review
                        from Committee members (.7); call with C.
                        Xu regarding same (.3)
05/25/2023   BK12       Correspond with G. Sasson and A.                  3.90   1,625.00   6,337.50
                        Srivastava re: FTX EU term sheet (0.5);
                        review and respond to emails from A.
                        Srivastava and G. Sasson re: same (0.3);
                        related follow-up correspondence with G.
                        Sasson and S. Simms re: same (0.2); review
                        and comment on B. Levine update re:
                        pending M&A, open issues, and next steps
                        (0.4); participate in M&A update call with
                        M. O'Hara, R. Hamilton, K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson, B. Levine, F.
                        Merola, E. Levine (0.7); correspond with L.
                        Hultgren re: list of venture investments
                        (0.4); review Project Fox data room index
                        and certain documents in same (0.7);
                        correspond with B. Levine re: same (0.1);
                        respond to 5036 email from M. Wu (S&C)
                        (0.3); correspond with K. Pasquale re: same
                        (0.3)
05/25/2023   CX3        Discussion with B. Levine re ventures             0.30    915.00     274.50
                        diligence-related presentation documents
                        for UCC
05/25/2023   CX3        Review and comment on ventures-related            0.60    915.00     549.00
                        presentation decks for UCC
05/25/2023   CX3        Analyze background diligence documents            0.60    915.00     549.00
                        for certain ventures investments
05/25/2023   EG18       Review venture investment sale process            1.10   1,875.00   2,062.50
                        related documents
05/25/2023   EG18       Call with Jefferies, K. Hansen, K. Pasquale,      0.70   1,875.00   1,312.50
                        G. Sasson, F. Merola, B. Kelly, B. Levine,
                        E. Levine regarding venture investment
                        update and pending M&A matters
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05/25/2023   ECS3       Analyze implications of 4002 bid terms for        1.70   1,550.00   2,635.00
                        FTX structures
05/25/2023   EML1       Attend M&A / venture portfolio update             0.70   1,475.00   1,032.50
                        call with Jefferies, K. Hansen, E. Gilad, K.
                        Pasquale, F. Merola, B. Kelly, B. Levine, G.
                        Sasson
05/25/2023   FM7        Correspond with S&C (A. Dietderich)               0.50   1,875.00    937.50
                        regarding 5036 (0.2); review 5036 term
                        sheet (0.3)
05/25/2023   FM7        Analyze UCC member correspondence                 1.10   1,875.00   2,062.50
                        regarding 5005 (0.2); analyze M&A update
                        from B. Levine (0.2); telephone conference
                        with Jefferies, K. Hansen, E. Gilad, G.
                        Sasson, B. Kelly, B. Levine, K. Pasquale, E.
                        Levine regarding M&A update (0.7)
05/25/2023   FM7        Correspond with G. Sasson regarding FTX           0.80   1,875.00   1,500.00
                        Europe (0.2); review margin and liquidation
                        deck (0.3); revise FTX Europe term sheet
                        (0.3)
05/25/2023   GS13       Review and revise FTX EU term sheet               0.50   1,625.00    812.50
05/25/2023   GS13       Call with Jefferies, K. Hansen, K. Pasquale,      0.70   1,625.00   1,137.50
                        E. Gilad, B. Kelly, F. Merola, B. Levine, E.
                        Levine regarding ongoing sale matters
05/25/2023   KP17       Call with Jefferies, K. Hansen, E. Gilad, G.      0.80   1,875.00   1,500.00
                        Sasson, B. Kelly, F. Merola, B. Levine, E.
                        Levine re ventures transactions (.7); emails
                        with B. Kelly re 5036 matters (.1)
05/25/2023   KH18       Analyze asset monetization and related            2.00   2,075.00   4,150.00
                        coin/token issues (1.3); participate in
                        Jefferies meeting with K. Pasquale, E.
                        Gilad, G. Sasson, B. Kelly, F. Merola, E.
                        Levine, B. Levine regarding M&A and
                        venture assets (.7)
05/26/2023   AS61       Review and comment on equity term sheet           1.40   1,900.00   2,660.00
                        for PH US colleagues and in advance of call
                        with S&C to discuss term sheet
05/26/2023   BL10       Review and comment on 5005 deck (1.6);            2.00   1,290.00   2,580.00
                        review and summarize open items in debtor
                        investment diligence (.4)
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Date         Initials   Description                                     Hours       Rate    Amount
05/26/2023   BK12       Review email update, term sheet and related       1.40   1,625.00   2,275.00
                        documents re: 5036 from M. Wu (S&C)
05/26/2023   BK12       Review deck from L. Hultgren re: 5005             1.50   1,625.00   2,437.50
                        (0.4); correspond with B. Levine re: same
                        (0.2); review and respond to M. Diaz
                        comments to FTX EU term sheet (0.3);
                        revise draft FTX EU term sheet (0.4);
                        respond to question from UCC member's
                        counsel regarding PWP contact (0.2)
05/26/2023   FM7        Analyze S&C correspondence (MacDonald)            0.20   1,875.00    375.00
                        regarding venture due diligence
05/26/2023   FM7        Analyze Jefferies 5005 documents (0.3);           1.10   1,875.00   2,062.50
                        revise Jefferies 5005 documents (0.2); revise
                        FTX Europe term sheet (0.2); review S&C
                        (Wu) correspondence regarding 5036 (0.2);
                        revise FTX Europe term sheet to
                        incorporate FTI comments (0.2)
05/26/2023   FM7        Analyze Jefferies crypto news summary to          0.20   1,875.00    375.00
                        inform M&A analysis
05/26/2023   JI2        Review Uniform Depository Agreement               0.80   1,125.00    900.00
                        (.6); correspond with K. Pasquale re same
                        (.2)
05/26/2023   KP17       Review and revise draft presentation              0.40   1,875.00    750.00
                        documents for Committee from Jefferies re
                        5005
05/26/2023   KH18       Review sale related issues for exchange           1.00   2,075.00   2,075.00
05/27/2023   FM7        Correspond with FTI (Diaz) regarding FTX          0.20   1,875.00    375.00
                        Europe term sheet
05/28/2023   ECS3       Analyze and comment on certain venture            2.30   1,550.00   3,565.00
                        portfolio documents
05/30/2023   BL10       Review 5005 deck and finalize comments            1.40   1,290.00   1,806.00
                        on same (.4); update venture investments
                        diligence report (1.0)
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Date         Initials   Description                                   Hours         Rate     Amount
05/30/2023   BK12       Review venture investment documents               9.10   1,625.00   14,787.50
                        (0.8); correspond with E. Gilad, G. Sasson
                        and B. Levine re: same (0.4); respond to D.
                        Homrich questions re: 5036 (0.8); review
                        PSA drafts for 5005 (0.9); review Jefferies
                        deck re: 5005 (0.4); analyze account
                        statements for 5088 (0.3); correspond with
                        G. Sasson re: same (0.1); review documents
                        related to 5088 (1.0); follow-up
                        correspondence with R. Hamilton and E.
                        Gilad re: same (0.4); review diligence
                        documents for 5036 (2.2); correspond with
                        K. Pasquale and E. Gilad re: same (0.4);
                        prepare summary of transfer restrictions
                        and related provisions for 5036 (1.4)
05/30/2023   EG18       Review FTX Europe documents relating to           0.50   1,875.00     937.50
                        draft term sheet
05/30/2023   EG18       Analyze and comment on venture                    1.40   1,875.00    2,625.00
                        investment sale transaction
05/30/2023   FM7        Review Jefferies crypto news run to inform        0.20   1,875.00     375.00
                        FTX M&A analysis
05/30/2023   FM7        Correspond with Jefferies (Homrich)               1.30   1,875.00    2,437.50
                        regarding 5036 (0.2); correspond with
                        Jefferies (Hamilton) regarding 5088 (0.2);
                        analyze M&A update from PWP (0.3);
                        correspond with I. Sasson regarding 5088
                        (0.2); analyze 5036 transfer restrictions
                        summary (0.2); further correspond with
                        Jefferies (Hamilton) regarding 5088 (0.2)
05/30/2023   FM7        Review 5088 NAV (0.2); correspond with            0.40   1,875.00     750.00
                        Jefferies (Hamilton) regarding 5088 (0.2)
05/30/2023   FM7        Review S&C correspondence (Glueckstein)           0.40   1,875.00     750.00
                        regarding 5036 documents (0.2); correspond
                        with S&C (Wu) regarding 5036 formation
                        documents (0.2)
05/30/2023   GS13       Review and revise FTX EU term sheet (.5);         0.60   1,625.00     975.00
                        email with B. Kelly re: same (.1)
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05/30/2023   GS13       Review Jefferies documents regarding 5005         2.00   1,625.00    3,250.00
                        and 5089 (.8); emails with E. Gilad
                        regarding same (.3); review additional 5005
                        documents (.9)
05/30/2023   KH18       Analyze Grant investment issues and               0.80   2,075.00    1,660.00
                        documents re: same (.6); correspond with
                        G. Sasson and E. Gilad re: same (.2).
05/31/2023   BL10       Review 5036 summary (.8); provide                 2.20   1,290.00    2,838.00
                        comments on same (.9); follow-up review
                        of 5082 motion (.3); review and comment
                        on fund sale tracker (.2)
05/31/2023   BK12       Review investment and governance                  6.30   1,625.00   10,237.50
                        documents for 5036 (1.6); review and revise
                        transfer restriction summary for same (0.7);
                        review token document posted to data
                        room (0.2); correspond with D. Homrich
                        (Jefferies) and J. De Brignac (FTI) re: same
                        (0.2); review deck re: 5005 sale process and
                        related documents (0.5); review revised term
                        sheet from Sullivan and Cromwell for 5036
                        (0.3); review draft deck regarding 5036 (0.3);
                        review investment and governance
                        documents for 5005 (0.8); correspond with
                        R. Hamilton (Jefferies) re: equity
                        capitalization (0.3); analyze securities law
                        issues related to structuring same (0.6);
                        review related no-action letters (0.8)
05/31/2023   FM7        Review summary of 5005 bids (0.2);                1.90   1,875.00    3,562.50
                        correspond with FTI (de Brignac) regarding
                        5094 tokens (0.2); correspond with Jefferies
                        (Homrich) regarding 5036 documents (0.2);
                        correspond with Jefferies (Hamilton)
                        regarding 5005 monetization deck (0.2);
                        correspond with I. Sasson re 5036
                        restrictions (0.2); correspond with Jefferies
                        (Hamilton) regarding fund sale tracker (0.2);
                        analyze 5036 situation overview deck (0.3);
                        analyze S&C (MacDonald) correspondence
                        regarding 5081 (0.2); review S&C
                        (MacDonald) correspondence regarding
                        5005 cap table (0.2)
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Date         Initials   Description                                    Hours         Rate      Amount
05/31/2023   FM7        Analyze 5005 monetization deck                     0.30   1,875.00      562.50
05/31/2023   GS13       Review changes to FTX EU term sheet.               0.70   1,625.00     1,137.50
             Subtotal: B130 Asset Disposition                          378.90                581,305.00




B140   Relief from Stay/Adequate Protection Proceedings
05/01/2023   IS6        Review and revise draft objection to JPL           3.20   1,290.00     4,128.00
                        motion to lift stay
05/01/2023   KP17       Review and revise objection to Bahamas lift        6.10   1,875.00    11,437.50
                        stay motion (2.8); draft parts of same (3.3)
05/01/2023   LK19       Review authority cited in objection to JPL         2.00    855.00      1,710.00
                        lift stay motion (1.4); revise same (0.4);
                        emails with I. Sasson regarding same (0.2)
05/02/2023   IS6        Analyze Debtors' objection to lift stay            3.10   1,290.00     3,999.00
                        motion (1.3); prepare parts of Committee
                        draft objection to same (1.8)
05/02/2023   KP17       Review Debtors' draft objection to                 1.60   1,875.00     3,000.00
                        Bahamas lift stay motion
05/02/2023   LED        Review objection to JPL lift stay motion           0.40   1,425.00      570.00
05/02/2023   LK19       Review authority supporting objection to           2.80    855.00      2,394.00
                        JPL lift stay request (1.8); revise parts of
                        objection (0.6); correspond with I. Sasson
                        regarding same (0.4)
05/03/2023   DM26       Prepare certain exhibits regarding objection       0.30    540.00       162.00
                        to JPL lift stay motion
05/03/2023   IS6        Prepare parts of objection to JPL lift stay        5.70   1,290.00     7,353.00
                        motion
05/03/2023   IS6        Review recently filed pleadings regarding          0.20   1,290.00      258.00
                        JPL lift stay
05/03/2023   KP17       Review and revise objection to Bahamas lift        3.50   1,875.00     6,562.50
                        stay motion (3.2); review customer
                        adversary plaintiffs' objection to Bahamas
                        lift stay motion (.3)
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Date         Initials   Description                                    Hours        Rate    Amount
05/03/2023   LK19       Prepare parts of objection to JPL lift stay       5.70    855.00    4,873.50
                        motion (4.2); revise objection to JPL lift
                        stay motion (0.5); draft K. Pasquale
                        declaration in support of objection to JPL
                        lift stay motion (0.2); correspond with K.
                        Pasquale and I. Sasson regarding objection
                        to JPL lift stay motion (0.8)
05/03/2023   MM57       Research certain documents regarding JPL          0.10    540.00      54.00
                        lift stay for I. Sasson
05/04/2023   KC27       Review Debtors' motion to enforce                 0.20    915.00     183.00
                        automatic stay re Pateno
05/04/2023   LK19       Analyze Debtors' filings regarding JPL lift       2.10    855.00    1,795.50
                        stay motion
05/05/2023   JI2        Review and revise summary of motion to            0.70   1,125.00    787.50
                        enforce automatic stay regarding Pateno
                        (.5); correspond with K. Catalano and C. Xu
                        re same (.2)
05/05/2023   KP17       Review JPLs document requests to Debtors          0.40   1,875.00    750.00
                        (.2); emails with Debtors, JPLs re Bahamas
                        litigation (.2)
05/05/2023   KC27       Review and summarize motion to enforce            0.50    915.00     457.50
                        the automatic stay regarding Pateno
05/07/2023   EG18       Review recently filed pleadings related to        0.80   1,875.00   1,500.00
                        Bahamas / JPLs
05/08/2023   IS6        Review Debtors' stay enforcement motion           0.60   1,290.00    774.00
                        regarding Pateno
05/08/2023   KP17       Emails with Debtors, JPLs re Bahamas              0.30   1,875.00    562.50
                        discovery
05/10/2023   IS6        Review recent motions to enforce                  0.20   1,290.00    258.00
                        automatic stay regarding Pateno
05/10/2023   KP17       Analyze ad hoc group statement re                 0.20   1,875.00    375.00
                        Bahamas
05/10/2023   LK19       Evaluate summary of Venable ad hoc                0.90    855.00     769.50
                        group's response in support of JPL lift stay
                        motion (0.7); correspond with I. Sasson
                        regarding same (0.2)
05/11/2023   IS6        Review JPL/Debtor discovery requests (.3);        1.90   1,290.00   2,451.00
                        review supporting declaration exhibits (1.6)
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Date         Initials   Description                                  Hours         Rate    Amount
05/11/2023   LK19       Correspond with I. Sasson regarding              0.50    855.00     427.50
                        objection to JPL lift stay motion
05/11/2023   ML30       Correspond with I. Sasson re JPL                 1.30    540.00     702.00
                        documents needed (.2); research and
                        prepare same for I. Sasson (1.1)
05/12/2023   IS6        Analyze Debtors' and White and Case              0.70   1,290.00    903.00
                        responses and objections to the Debtors’
                        discovery requests
05/12/2023   LK19       Analyze JPL reply to Committee's objection       0.40    855.00     342.00
                        to JPL lift stay motion
05/15/2023   KP17       Analyze JPL's reply in support of Bahamas        1.70   1,875.00   3,187.50
                        lift stay motion
05/15/2023   KP17       Review certain documents produced by             0.60   1,875.00   1,125.00
                        JPLs
05/15/2023   LK19       Emails with UnitedLex and I. Sasson              0.40    855.00     342.00
                        regarding document productions from JPLs
                        and Debtors
05/18/2023   IS6        Review JPL reply in support of motion for        0.70   1,290.00    903.00
                        relief from stay
05/19/2023   LK19       Analyze documents produced by the JPLs           2.30    855.00    1,966.50
                        in response to lift stay discovery (1.9);
                        prepare summary of same for K. Pasquale
                        and I. Sasson (0.4)
05/21/2023   BK12       Call with C. Xu, E. Gilad, G. Sasson re:         0.40   1,625.00    650.00
                        questions related to automatic stay and
                        assumption regarding ventures investments
05/21/2023   CX3        Telephone conference with E. Gilad, G.           0.40    915.00     366.00
                        Sasson, B. Kelly re questions on automatic
                        stay and assumption related to ventures
                        investments
05/21/2023   EG18       Call with C. Xu, G. Sasson, B. Kelly             0.40   1,875.00    750.00
                        regarding automatic stay questions
05/21/2023   GS13       Telephone conference with E. Gilad, B.           0.40   1,625.00    650.00
                        Kelly, C. Xu regarding automatic stay and
                        related litigation issues
05/21/2023   IS6        Analyze 5036 draft motion to lift stay and       1.70   1,290.00   2,193.00
                        supporting documents
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Date         Initials   Description                                     Hours         Rate     Amount
05/22/2023   KP17       Analyze recently produced Bahamas                   0.80   1,875.00    1,500.00
                        documents re lift stay hearing
05/26/2023   KP17       Analyze information, discovery responses            1.60   1,875.00    3,000.00
                        from Debtors re Bahamas (.4); analyze
                        select documents from production re
                        Bahamas issues and court hearing (1.2)
05/30/2023   IS6        Review 5036 draft lift stay motion re 5036          1.20   1,290.00    1,548.00
                        litigation (1.1); call with L. Koch regarding
                        same and equitable rescission (.1)
05/30/2023   LK19       Review 5036's draft motion for relief from          4.30    855.00     3,676.50
                        stay (1.8); call with I. Sasson regarding
                        equitable rescission questions (0.1); analyze
                        legal statutes and authority regarding
                        equitable rescission (2.4)
             Subtotal: B140 Relief from Stay/Adequate                      63.30              81,397.00
                       Protection Proceedings




B150   Meetings of and Communications with Creditors
05/01/2023   BK12       Call with UCC subcommittee, K. Hansen,              0.80   1,625.00    1,300.00
                        E. Gilad, G. Sasson, F. Merola, M. Murphy,
                        C. Daniel, E. Sibbitt regarding FTX 2.0
05/01/2023   CD19       Call with Committee advisors re case                0.90   1,125.00    1,012.50
                        strategy and prep for Committee call
05/01/2023   CD5        Participate in call with UCC subcommittee,          0.80   1,700.00    1,360.00
                        K. Hansen, G. Sasson, E. Gilad, F. Merola,
                        B. Kelly, M. Murphy, E. Sibbitt regarding
                        FTX 2.0 and call with John Ray
05/01/2023   CD5        Participate in UCC advisors call regarding          0.90   1,700.00    1,530.00
                        UCC issues and next steps
05/01/2023   CD5        Review exchange issues and updated terms            0.40   1,700.00     680.00
                        to prepare for call with UCC subcommittee
                        on FTX 2.0
05/01/2023   EG18       Review terms and notes to prepare for FTX           1.00   1,875.00    1,875.00
                        2.0 subcommittee meeting (.2); participate
                        in FTX 2.0 sub-committee meeting with K.
                        Hansen, G. Sasson, F. Merola, B. Kelly, M.
                        Murphy, C. Daniel, E. Sibbitt (.8)
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Date         Initials   Description                                    Hours        Rate    Amount
05/01/2023   EG18       Prepare parts of presentations to UCC             1.10   1,875.00   2,062.50
                        regarding plan timeline and bar date process
05/01/2023   EG18       UCC advisor telephone conference                  0.90   1,875.00   1,687.50
                        regarding case updates and prep for UCC
                        meeting
05/01/2023   ECS3       Attend reboot subcommittee meeting with           0.80   1,550.00   1,240.00
                        E. Gilad, K. Hansen, G. Sasson, C. Daniel,
                        M. Murphy, B. Kelly, F. Merola
05/01/2023   FM7        Participate in reboot subcommittee                1.00   1,875.00   1,875.00
                        telephone conference with K. Hansen, E.
                        Gilad, G. Sasson, E. Sibbitt, C. Daniel, B.
                        Kelly, M. Murphy (0.8); review Jefferies
                        correspondence regarding reboot and
                        reboot subcommittee (0.2)
05/01/2023   GS13       Participate in FTX 2.0 subcommittee               0.80   1,625.00   1,300.00
                        telephone conference with K. Hansen, E.
                        Gilad, M. Murphy, C. Daniel, E. Sibbitt, B.
                        Kelly, F. Merola
05/01/2023   GS13       Prepare notes regarding pending claims            1.10   1,625.00   1,787.50
                        process and 2.0 matters (.2); participate in
                        Committee professionals telephone
                        conference regarding case matters and prep
                        for UCC meeting (.9)
05/01/2023   KP17       Call with Committee advisors to prep for          1.90   1,875.00   3,562.50
                        Committee meeting (.9); correspond with
                        Committee member re investigation update
                        (.6); correspond with K. Hansen re
                        Committee member conflict issue (.2);
                        review documents re same (.2)
05/01/2023   KH18       Discussions with FTX 2.0 subcommittee,            2.50   2,075.00   5,187.50
                        E. Gilad, F. Merola, G. Sasson, B. Kelly, E.
                        Sibbitt, C. Daniel, M. Murphy regarding
                        exchange related issues (.8); review
                        Committee conflict issues (.8); UCC advisor
                        telephone conference re case matters and
                        prep for UCC call (.9)
05/01/2023   LED        Attend FTX UCC advisors call regarding            1.00   1,425.00   1,425.00
                        case updates and prep for UCC meeting
                        (.9); prepare follow-up notes regarding
                        certain items discussed (.1)
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Date         Initials   Description                                   Hours        Rate    Amount
05/01/2023   LK19       Prepare documents for Committee                  1.00    855.00     855.00
                        members (0.6); emails with E. Broderick
                        (Eversheds) regarding same (0.2); draft
                        emails to Committee members regarding
                        05/03/23 Committee meeting (0.2)
05/01/2023   LK19       Attend portion of weekly UCC advisors            1.10    855.00     940.50
                        meeting regarding case updates and prep for
                        UCC meeting (0.6); emails with D. Homrich
                        (Jefferies) and G. Sasson regarding
                        documents and decks for 05/03/23
                        Committee meeting (0.3); review notes
                        from past Committee meetings (0.2)
05/01/2023   MMM5 Attend FTX 2.0 reboot call with                        1.40   1,750.00   2,450.00
                  subcommittee, K. Hansen, E. Gilad, G.
                  Sasson, E. Sibbitt, C. Daniel, B. Kelly, F.
                  Merola (.8); analyze exchange issues
                  discussed on call (.6)
05/01/2023   MMM5 Telephone call with UCC advisors regarding             0.90   1,750.00   1,575.00
                  case matters and prep for UCC meeting
05/01/2023   MEG9       Prepare notes on regulatory issues in            1.00   1,425.00   1,425.00
                        advance of UCC call (.1); attend call with
                        UCC professionals regarding case updates
                        and prep for UCC meeting (.9)
05/02/2023   BK12       Review R. Hamilton, G. Sasson, K.                1.60   1,625.00   2,600.00
                        Pasquale update emails to UCC members
                        regarding 5006 + 5088 (0.9); review UCC
                        member responses (0.7)
05/02/2023   EG18       Meeting with UCC member regarding                0.20   1,875.00    375.00
                        general case matters
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Date         Initials   Description                                       Hours      Rate    Amount
05/02/2023   FM7        Review UCC correspondence regarding                2.60   1,875.00   4,875.00
                        5060 settlement (0.2); review Committee
                        member comments regarding 5006 (0.2);
                        review UCC correspondence regarding
                        opposition to JPL relief from stay motion
                        (0.2); review UCC correspondence
                        regarding posted reboot documents (0.2);
                        review Jefferies correspondence regarding
                        UCC presentation documents (0.2);
                        review/comment on Jefferies 5076 UCC
                        presentation documents (0.7); review
                        comments to Jefferies documents regarding
                        5048 and 5076 (0.3); review correspondence
                        from G. Sasson to UCC regarding meeting
                        agenda and meeting documents (0.2);
                        review Jefferies correspondence to UCC
                        regarding funds sale process (0.2); review
                        Jefferies correspondence to UCC re 5089
                        (0.2)
05/02/2023   GS13       Meet with Committee member, K. Pasquale            1.00   1,625.00   1,625.00
                        regarding case issues and related inquiries
05/02/2023   KP17       Meeting with Committee member, G.                  2.10   1,875.00   3,937.50
                        Sasson re case update and questions (1.0);
                        correspond with Committee re investigation
                        issues (.3); review decks and investigations
                        update in preparation for Committee
                        meeting (.8)
05/02/2023   KH18       Review and annotate agenda items and               2.60   2,075.00   5,395.00
                        referenced documents for UCC meeting
                        (1.1); participate in ad hoc group catch up
                        telephone conference regarding case matter
                        updates and related inquiries (.5); participate
                        in UCC member discussions regarding 2.0
                        and transaction questions (.6); correspond
                        with UCC subcommittee regarding 2.0
                        exchange issues (.4)
05/02/2023   LED        Review correspondence from Committee               0.40   1,425.00    570.00
                        members regarding 5060
05/02/2023   LK19       Draft email to Committee member                    0.20    855.00     171.00
                        regarding discussion documents for meeting
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Date         Initials   Description                                     Hours         Rate    Amount
05/02/2023   LK19       Correspond with G. Sasson and K.                    1.80    855.00    1,539.00
                        Pasquale regarding Committee conflicts
                        screening (0.3); correspond with D.
                        Homrich (Jefferies) and G. Sasson
                        regarding VDR conflicts (0.6); analyze
                        presentation documents for 05/03/23 UCC
                        meeting (0.9)
05/02/2023   MEG9       Review draft UCC presentation documents             1.10   1,425.00   1,567.50
                        from Jefferies (0.3); review draft agenda for
                        UCC call from G. Sasson (0.3); review
                        emails from Committee member on process
                        update and Committee responses (0.3);
                        review Committee member email regarding
                        5060 deal and Committee member response
                        (0.2)
05/03/2023   BK12       Participate in UCC update call re: M&A and          1.70   1,625.00   2,762.50
                        venture investment updates
05/03/2023   CD5        Participate in call with UCC and                    1.70   1,700.00   2,890.00
                        professionals
05/03/2023   EG18       Telephone conference with UCC member                0.80   1,875.00   1,500.00
                        regarding M&A / venture portfolio sale
                        process
05/03/2023   EG18       Prepare notes on agenda items for UCC               2.00   1,875.00   3,750.00
                        discussion (0.3); participate in UCC meeting
                        (1.7)
05/03/2023   EG18       Pre-meeting telephone conference with               0.20   1,875.00    375.00
                        UCC member regarding agenda items
05/03/2023   ECS3       Attend UCC meeting                                  1.70   1,550.00   2,635.00
05/03/2023   FM7        Participate in UCC meeting (1.7); review            2.60   1,875.00   4,875.00
                        UCC correspondence regarding 5005 (0.2);
                        review Committee member correspondence
                        regarding 5060 (0.2); review Committee
                        member correspondence regarding 5076
                        (0.1); review UCC correspondence
                        regarding reboot timetable (0.2); review
                        UCC correspondence regarding opposition
                        to JPL relief from stay motion (0.2)
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05/03/2023   GS13       Prepare notes on agenda and review               2.30   1,625.00   3,737.50
                        referenced matters to prepare for
                        Committee telephone conference (.6);
                        participate in Committee telephone
                        conference (1.7)
05/03/2023   KP17       Review submissions related to agenda items       2.20   1,875.00   4,125.00
                        to prepare for Committee meeting (.5);
                        participate in Committee meeting (1.7)
05/03/2023   KH18       Lead UCC meeting (1.7); review issues and        2.50   2,075.00   5,187.50
                        next steps for UCC discussion (.2); follow
                        up review of action items from meeting (.6)
05/03/2023   LK19       Annotate agenda for UCC meeting (.2);            2.20    855.00    1,881.00
                        attend UCC meeting (1.7); emails with
                        certain Committee members regarding
                        designated representatives (0.3)
05/03/2023   LK19       Emails with G. Sasson, K. Pasquale, and E.       0.80    855.00     684.00
                        Gilad regarding Committee member
                        conflicts and designated representatives
05/03/2023   LAD4       Attend Committee call                            0.10   1,975.00    197.50
05/03/2023   MMM5 Attend meeting with creditors Committee                1.50   1,750.00   2,625.00
05/03/2023   MEG9       Review emails from Committee members             1.20   1,425.00   1,710.00
                        re: 5005 vote (0.3); review emails from UCC
                        members and B. Kelly re: 5076 (0.4); review
                        emails between K. Pasquale and Committee
                        member regarding 5060 and 5006 (0.3);
                        review B. Bromberg email to Committee
                        member regarding cash update report (0.2)
05/03/2023   SAQ        Attend UCC meeting                               1.70   1,125.00   1,912.50
05/04/2023   EG18       Telephone conference with UCC member             0.40   1,875.00    750.00
                        regarding case inquiries
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05/04/2023   FM7        Review and comment on Jefferies                  1.50   1,875.00   2,812.50
                        correspondence to UCC regarding 5065 and
                        5005 (0.2); review Jefferies correspondence
                        to UCC regarding 5048 process (0.2);
                        review/respond to K. Pasquale
                        correspondence to UCC regarding 5048 sale
                        hearing (0.1); review FTI correspondence to
                        UCC regarding banking issues (0.2); review
                        UCC correspondence regarding section 345
                        and deposit account (0.2); review FTI
                        correspondence to UCC regarding 5118
                        (0.2); review/respond to Jefferies
                        correspondence to UCC regarding 5006
                        input (0.2); review UCC correspondence
                        regarding board (0.2)
05/04/2023   KP17       Correspond with Committee member re              1.00   1,875.00   1,875.00
                        court hearing (.2); correspond with
                        Committee members re pending matters
                        (.4); correspond with K. Hansen re same
                        and related Committee inquiries (.4)
05/04/2023   KH18       Discuss venture asset concerns with UCC          1.50   2,075.00   3,112.50
                        members (.7); follow up analysis regarding
                        venture related concerns (.8)
05/04/2023   LK19       Email UCC members regarding 5048 sale            0.20    855.00     171.00
                        hearing
05/04/2023   MEG9       Review UCC update from Jefferies (L.             0.40   1,425.00    570.00
                        Hultgren) (0.2); review Committee member
                        response to same (0.2)
05/05/2023   EG18       Telephone conference with UCC member,            1.60   1,875.00   3,000.00
                        K. Pasquale regarding plan structure and
                        related questions (1.3); email memo to UCC
                        member responding to same (0.3)
05/05/2023   FM7        Correspond with UCC regarding bank               0.30   1,875.00    562.50
                        deposits
05/05/2023   FM7        review Committee member correspondence           0.50   1,875.00    937.50
                        regarding 5076 capital call (0.1); review
                        Committee member correspondence
                        regarding PWP (0.2); review Committee
                        member correspondence regarding 5006
                        issues (0.2)
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Date         Initials   Description                                   Hours        Rate    Amount
05/05/2023   KP17       Emails with Committee members re plan            2.30   1,875.00   4,312.50
                        constructs and related (.4); call with
                        Committee member, E. Gilad re plan
                        process and structure (1.3); email
                        Committee re 5065 transaction (.4); email
                        Committee re 5006 (.2)
05/05/2023   LED        Review correspondence from Committee             0.50   1,425.00    712.50
                        members regarding 5006 and banking
05/05/2023   LK19       Emails with S. Quattrocchi and J. de             0.20    855.00     171.00
                        Brignac (FTI) regarding claims and
                        monetization subcommittee
05/05/2023   LK19       Emails with UCC members regarding case           0.50    855.00     427.50
                        issues (0.3); emails to Committee members
                        regarding designated members (0.2)
05/05/2023   MEG9       Review emails between Committee                  0.20   1,425.00    285.00
                        members and S. Simms re: monetization of
                        cash into Treasuries
05/06/2023   FM7        Review/respond to Committee member               0.80   1,875.00   1,500.00
                        correspondence regarding 5006 (0.2); review
                        Committee member correspondence
                        regarding bar date (0.2); review Committee
                        member correspondence regarding 5006
                        (0.2); review Committee member
                        correspondence regarding plan process (0.2)
05/06/2023   GS13       Review and consider email questions from         0.80   1,625.00   1,300.00
                        Committee members
05/06/2023   KP17       Emails with Committee re 5006 issues             0.80   1,875.00   1,500.00
05/06/2023   LK19       Emails with UCC members regarding case           0.30    855.00     256.50
                        issues
05/07/2023   ECS3       Review correspondence from UCC                   0.50   1,550.00    775.00
                        members on 2.0
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Date         Initials   Description                                   Hours         Rate    Amount
05/07/2023   FM7        Review/respond to Committee member                0.80   1,875.00   1,500.00
                        correspondence regarding 5006 (0.2); review
                        Committee member correspondence
                        regarding intercompany claims (0.1); review
                        Committee member correspondence
                        regarding 5006 (0.1); review Jefferies
                        correspondence to UCC regarding 5006
                        (0.2); review/respond to K. Pasquale
                        correspondence to UCC regarding 5006
                        (0.2)
05/07/2023   GS13       Draft parts of responses to Committee             1.20   1,625.00   1,950.00
                        member questions (.8); emails with K.
                        Hansen and K. Pasquale regarding same (.4)
05/07/2023   IS6        Review potential Committee member                 0.90   1,290.00   1,161.00
                        conflict issues (.7); comment on same for
                        K. Hansen (.2)
05/07/2023   KP17       Analysis of 5006 issues in response to            3.70   1,875.00   6,937.50
                        Committee requests (2.2); review and revise
                        draft memo to Committee re same (1.5)
05/08/2023   CD19       Call with UCC professionals re case updates       1.00   1,125.00   1,125.00
                        and UCC strategy
05/08/2023   CD5        Participate in portion of UCC advisors call       0.80   1,700.00   1,360.00
                        regarding prep for UCC meeting
05/08/2023   EG18       Participate in UCC advisor call regarding         1.00   1,875.00   1,875.00
                        case matters and prep for UCC call
05/08/2023   FM7        Review/respond to Committee member                0.60   1,875.00   1,125.00
                        correspondence regarding 5006 (0.2); review
                        Committee member correspondence
                        regarding 5005 (0.2); review/respond to
                        Committee member correspondence
                        regarding asset bid (0.2)
05/08/2023   GS13       Review presentation documents for                 1.90   1,625.00   3,087.50
                        Committee telephone conference (.9);
                        telephone conference with UCC
                        professionals for re case mattes and
                        Committee telephone conference prep (1.0)
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Date         Initials   Description                                   Hours        Rate    Amount
05/08/2023   KP17       Call with Committee advisors re Committee        1.90   1,875.00   3,562.50
                        issues and prep for Committee call (1.0);
                        review and revise emails to creditors re
                        investigations (.4); emails with K. Hansen,
                        E. Gilad re Committee requests (.5)
05/08/2023   KH18       UCC advisor discussion re case strategy,         2.40   2,075.00   4,980.00
                        next steps, and prep for UCC call (1.0);
                        consider and prepare responses to UCC
                        member requests (1.4)
05/08/2023   LED        Review Committee member                          1.50   1,425.00   2,137.50
                        correspondence regarding M&A matters
                        (.5); attend UCC advisors meeting regarding
                        case matters and prep for UCC meeting
                        (1.0)
05/08/2023   LK19       Attend portion of UCC advisors call              0.80    855.00     684.00
                        regarding case matters and UCC call prep
                        (0.4); emails with G. Sasson, E. Gilad, and
                        L. Hultgren (Jefferies) regarding Committee
                        conflicts (0.3); telephone call with L.
                        Hultgren (Jefferies) regarding Committee
                        conflicts (0.1)
05/08/2023   MEG9       Call with UCC professionals regarding case       1.00   1,425.00   1,425.00
                        updates and prep for UCC conference
05/09/2023   CX3        Telephone conference with Committee              0.70    915.00     640.50
                        member, E. Gilad and K. Hansen re
                        exchange reboot
05/09/2023   EG18       Call with UCC member regarding asset sales       0.50   1,875.00    937.50
                        and pending case matters
05/09/2023   EG18       Call with UCC member, K. Pasquale, G.            1.10   1,875.00   2,062.50
                        Sasson, L. Koch (portion) regarding case
                        questions and UCC call agenda items (.7);
                        follow up call with G. Sasson regarding
                        analysis and response (.4)
05/09/2023   EG18       Call with UCC member, K. Hansen, and C.          0.70   1,875.00   1,312.50
                        Xu regarding FTX 2.0 and related case
                        questions
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Date         Initials   Description                                   Hours         Rate    Amount
05/09/2023   FM7        Respond to UCC correspondence regarding           1.40   1,875.00   2,625.00
                        special meeting (0.2); analyze UCC member
                        correspondence regarding Coin
                        Management (CPs)/onboarding (0.2);
                        analyze E. Gilad proposal regarding venture
                        investment subcommittee (0.2); correspond
                        with UCC regarding meeting agenda and
                        presentation documents (0.3); analyze A&M
                        correspondence with UCC regarding CP's
                        and market makers (0.2); analyze
                        Committee member correspondence
                        regarding claims portal (0.3)
05/09/2023   GS13       Telephone conference with Committee               1.10   1,625.00   1,787.50
                        member, E. Gilad, K. Pasquale, L. Koch
                        (portion) regarding case questions and
                        meeting agenda (.7); follow up telephone
                        conference with E. Gilad regarding same
                        (.4)
05/09/2023   IS6        Meeting with K. Hansen, K. Pasquale and           0.50   1,290.00    645.00
                        R. Lief re customer actions
05/09/2023   KP17       Review certain filings and prepare related        0.80   1,875.00   1,500.00
                        notes for meeting with customer ad hoc
                        group
05/09/2023   KP17       Call with Committee member re M&A                 2.10   1,875.00   3,937.50
                        issues (.2); call with Committee member, E.
                        Gilad, G. Sasson, L. Koch (portion) re
                        meeting agenda (.7); meet with class action
                        counsel, K. Hansen, I. Sasson re bankruptcy
                        case issues (.5); call with Committee co-
                        chair re Committee meeting agenda (.7)
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Date         Initials   Description                                     Hours        Rate    Amount
05/09/2023   KH18       Telephone conference with UCC member,              4.70   2,075.00   9,752.50
                        E. Gilad, C. Xu regarding exchange reboot
                        (.7); telephone conference with UCC
                        member regarding questions on certain
                        pending matters (1.2); follow up analysis of
                        same (.7); review requests and case
                        questions from other UCC members (.8);
                        correspond with K. Pasquale, E. Gilad and
                        G. Sasson regarding same (.8); conference
                        with class action counsel, K. Pasquale, I.
                        Sasson regarding chapter 11 case and class
                        action (.5)
05/09/2023   LK19       Email G. Sasson regarding discussion               0.30    855.00     256.50
                        documents for 05/17/23 Committee
                        meeting
05/09/2023   LK19       Attend portion of call with Committee              0.60    855.00     513.00
                        member, G. Sasson, E. Gilad, and K.
                        Pasquale regarding case questions and
                        meeting agenda (0.4); email E. Broderick
                        (Eversheds) and Committee member
                        regarding briefing schedule in Alameda v.
                        Grayscale matter (0.1); emails with
                        Committee members regarding special
                        Committee meeting on 05/10/23 (0.1)
05/10/2023   BK12       Participate in UCC update call re: venture         1.80   1,625.00   2,925.00
                        investments and M&A matters
05/10/2023   CD5        Participate in call with UCC and its advisors      1.80   1,700.00   3,060.00
05/10/2023   EG18       In-person meeting with ad hoc group and            1.30   1,875.00   2,437.50
                        counsel, K. Pasquale, G. Sasson, I. Sasson
                        regarding case updates, pending matters,
                        and related questions
05/10/2023   EG18       Revise UCC letter to Debtors to                    2.20   1,875.00   4,125.00
                        incorporate UCC comments
05/10/2023   EG18       Participate in UCC meeting                         1.80   1,875.00   3,375.00
05/10/2023   ECS3       Participate in UCC meeting                         1.80   1,550.00   2,790.00
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Date         Initials   Description                                     Hours       Rate    Amount
05/10/2023   FM7        Participate in UCC meeting (1.8);                 4.30   1,875.00   8,062.50
                        correspond with UCC and J. Ray regarding
                        claims portal (0.2); correspond with UCC
                        regarding VDR index (0.2); correspond with
                        UCC regarding venture investment
                        subcommittee (0.2); analyze and comment
                        on UCC draft demand letter regarding
                        protocol (0.2); revise UCC demand letter
                        (0.3); telephone conference with Jefferies
                        and FTI regarding UCC deliverables (0.4);
                        correspond with UCC regarding revised J.
                        Ray letter (0.2); correspond with FTI
                        regarding cash management issues (0.2);
                        review FTI correspondence with UCC
                        regarding Treasury flows (0.2); correspond
                        with Jefferies regarding J. Ray letter (0.2);
                        review Jefferies correspondence with UCC
                        regarding portfolio proposal (0.2)
05/10/2023   GS13       Review agenda and certain referenced              3.60   1,625.00   5,850.00
                        submissions to prepare for Committee
                        meeting (.5); participate in Committee
                        meeting (1.8); meet with Ad Hoc Group, K.
                        Pasquale, E. Gilad, I. Sasson regarding case
                        questions and pending matters (1.3)
05/10/2023   IS6        Meeting with representatives of ad hoc            1.30   1,290.00   1,677.00
                        customer group, E. Gilad, G. Sasson, K.
                        Pasquale regarding case updates and
                        pending matters
05/10/2023   KP17       Review questions and related documents            4.70   1,875.00   8,812.50
                        from Committee members in prep for
                        meeting (.4); participate in Committee
                        meeting (1.8); prepare outline for customer
                        ad hoc group meeting (.4); meeting with
                        customer ad hoc group, G. Sasson, E.
                        Gilad, I. Sasson regarding case issues (1.3);
                        review and respond to Committee member
                        emails regarding case inquiries and certain
                        pending matters (.5); revise draft Committee
                        letter regarding case issues (.3)
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Date         Initials   Description                                    Hours        Rate    Amount
05/10/2023   KH18       Lead UCC telephone conference (1.8);              4.50   2,075.00   9,337.50
                        review agenda and certain submissions to
                        prepare for same (.5); follow up analysis of
                        items discussed and Committee member
                        questions (.7); review and revise UCC
                        member letter to J. Ray regarding case
                        process (1.5)
05/10/2023   LED        Attend portion of UCC meeting                     1.30   1,425.00   1,852.50
05/10/2023   LK19       Review prior meeting notes to prepare for         2.50    855.00    2,137.50
                        UCC meeting (.2); attend UCC meeting
                        (1.8); emails to certain Committee members
                        regarding non-PEO documents and VDR
                        index (0.5)
05/10/2023   LK19       Evaluate documents in virtual data room           3.00    855.00    2,565.00
                        for sharing with Committee members (1.5);
                        emails to G. Sasson and L. Hultgren
                        (Jefferies) regarding virtual data room and
                        Committee conflict issues (0.6); revise bar
                        date process documents for UCC members
                        (0.6); emails with C. Diaz and I. Sasson
                        regarding same (0.3)
05/10/2023   MMM5 Attend portion of Committee meeting                     1.40   1,750.00   2,450.00
05/10/2023   MEG9       Review draft demand letter by Committee           0.50   1,425.00    712.50
                        member (0.4); review agenda for Committee
                        meeting (0.1)
05/11/2023   EG18       Call with UCC member regarding FTX 2.0            0.50   1,875.00    937.50
                        inquiries
05/11/2023   EG18       Calls and correspond with UCC members             0.30   1,875.00    562.50
                        regarding venture subcommittee
05/11/2023   EG18       Revise UCC letter to Debtors                      1.80   1,875.00   3,375.00
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05/11/2023   FM7        Correspond with UCC members regarding              2.10   1,875.00   3,937.50
                        IRS claims (0.2); correspond with UCC
                        regarding J. Ray letter (0.2); correspond
                        with Committee member regarding 5094
                        tokens (0.2); analyze UCC VDR index (0.2);
                        correspond with E. Gilad regarding UCC
                        meeting (0.1); revise plan process and
                        timeline deck for UCC (0.3); review bar date
                        process deck for UCC (0.2); revise plan
                        considerations deck for UCC (0.3); review
                        correspondence from UCC members
                        regarding reboot authorization (0.2);
                        correspond with UCC regarding reboot and
                        demand letter (0.2)
05/11/2023   IS6        Review and comment on Committee letter             0.60   1,290.00    774.00
                        and presentation process
05/11/2023   JI2        Revise UCC letter to Debtors and J. Ray            0.70   1,125.00    787.50
                        regarding case status issues.
05/11/2023   LK19       Prepare parts of chapter 11 process deck           2.50    855.00    2,137.50
                        for Committee (1.6); emails with G. Sasson,
                        E. Gilad, and I. Sasson regarding same (0.6);
                        emails with D. Homrich (Jefferies)
                        regarding UCC virtual data room conflicts
                        (0.3)
05/12/2023   BK12       Call with UCC regarding strategic                  1.10   1,625.00   1,787.50
                        alternatives and related matters (0.6); review
                        E. Gilad, M. O'Hara and UCC member
                        emails re: same (0.5)
05/12/2023   EG18       Update UCC letter to Debtors (0.7); call           1.50   1,875.00   2,812.50
                        with UCC member regarding same (0.3);
                        further update UCC letter (0.5)
05/12/2023   EG18       Prepare notes for UCC meeting (.3);                0.90   1,875.00   1,687.50
                        participate in UCC meeting (.6)
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Date         Initials   Description                                    Hours        Rate    Amount
05/12/2023   FM7        Correspond with UCC regarding reboot              1.90   1,875.00   3,562.50
                        (0.1); telephone conference with UCC
                        regarding reboot (0.6); correspond with
                        Committee member regarding reboot and
                        venture portfolio proposal (0.1); correspond
                        with Committee member regarding UCC
                        demand letter (0.2); correspond with UCC
                        regarding revised demand letter (0.2);
                        correspond with UCC regarding reboot
                        protocol (0.2); analyze UCC
                        correspondence regarding bar date process
                        and plan (0.2); correspond with Jefferies
                        regarding UCC presentation documents
                        (0.1); review Jefferies correspondence with
                        UCC regarding Project Fox (0.1);
                        correspond with Committee member
                        regarding John Ray letter (0.1)
05/12/2023   KP17       Participate in Committee meeting                  0.60   1,875.00   1,125.00
05/12/2023   KH18       UCC discussion regarding debtor                   1.30   2,075.00   2,697.50
                        interaction on case matters (.6); review and
                        revise related UCC correspondence (.7)
05/12/2023   LED        Attend Committee call                             0.60   1,425.00    855.00
05/12/2023   LK19       Attend UCC meeting                                0.60    855.00     513.00
05/12/2023   LK19       Prepare parts of Committee presentation           5.10    855.00    4,360.50
                        documents regarding plan issues, chapter 11
                        plan process, and bar date process (3.8);
                        emails with G. Sasson, E. Gilad, and I.
                        Sasson regarding same (1.3)
05/12/2023   MEG9       Review letter to Debtors by E. Gilad              0.40   1,425.00    570.00
                        regarding launch of the FTX 2.0 RFP
                        Process and related correspondence from
                        UCC
05/13/2023   CD19       Correspond with M. Magzamen re UCC                0.20   1,125.00    225.00
                        members data room
05/13/2023   EG18       Revise UCC letter to Debtors                      0.10   1,875.00    187.50
05/13/2023   ECS3       Review Committee correspondence on                0.50   1,550.00    775.00
                        FTX EU disposition or funding (.3);
                        prepare responsive comments to same (.2)
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05/13/2023   FM7        Correspond with UCC members regarding           0.40   1,875.00    750.00
                        letter to S&C (0.2); correspond with UCC
                        members regarding FTX Europe (0.2)
05/13/2023   LK19       Email K. Hansen regarding Committee             0.10    855.00      85.50
                        bylaws
05/14/2023   EG18       Revise UCC letter to Debtors                    1.00   1,875.00   1,875.00
05/15/2023   CD5        Participate in UCC professionals call           1.00   1,700.00   1,700.00
                        regarding UCC case matters and prep for
                        UCC call
05/15/2023   EG18       Participate in UCC advisor call regarding       1.00   1,875.00   1,875.00
                        pending case matters and prep for UCC call
05/15/2023   ECS3       Review and comment on Committee letter          0.40   1,550.00    620.00
                        to Debtors regarding asset dispositions
05/15/2023   FM7        Revise agenda for UCC professional              1.70   1,875.00   3,187.50
                        telephone conference (0.2); participate in
                        UCC professionals telephone conference
                        regarding case plan and prep for UCC call
                        (1.0); review Committee member
                        correspondence regarding Debtors'
                        schedules (0.2); revise draft response to
                        Committee member regarding schedules
                        (0.2); review UCC member correspondence
                        regarding John Ray letter (0.1)
05/15/2023   GS13       Telephone conference with UCC                   2.40   1,625.00   3,900.00
                        professionals to prep for Committee
                        telephone conference (1.0); review revised
                        presentation documents for Committee and
                        prepare notes on same (.7); telephone
                        conference with creditor regarding case
                        inquiries (.7)
05/15/2023   IS6        Participate in UCC professionals call           1.00   1,290.00   1,290.00
                        regarding case updates and UCC call prep
05/15/2023   KP17       Committee advisor call re Committee issues      1.30   1,875.00   2,437.50
                        and upcoming meeting (1.0); emails with K.
                        Hansen, I. Sasson re Committee member
                        discussions (.3)
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Date         Initials   Description                                    Hours        Rate    Amount
05/15/2023   KH18       Discussion with Committee co-chairs               2.20   2,075.00   4,565.00
                        regarding Committee management (.7);
                        review Committee bylaws in connection
                        with same (.6); review UCC letter to J. Ray
                        regarding case status and process (.8);
                        correspond with K. Pasquale and E. Gilad
                        regarding same (.1)
05/15/2023   LK19       Attend UCC advisors meeting regarding             1.00    855.00     855.00
                        case plan and prep for UCC call
05/16/2023   CX3        Telephone conference with Committee               1.20    915.00    1,098.00
                        member and E. Gilad regarding inquiries on
                        certain pending matters (1.0); follow up
                        correspondence with Committee member
                        and E. Gilad regarding same (0.2)
05/16/2023   EG18       Call with UCC member and C. Xu                    1.00   1,875.00   1,875.00
                        regarding general case matters and
                        questions on pending matters
05/16/2023   EG18       Review and revise UCC letter to Debtors           0.60   1,875.00   1,125.00
                        based on comments from UCC members
05/16/2023   EG18       Review and analyze pleadings regarding            0.60   1,875.00   1,125.00
                        pending motions and responses
05/16/2023   EG18       Correspond with UCC members regarding             0.60   1,875.00   1,125.00
                        UCC letter to Debtors (0.2); revise UCC
                        letter as requested by UCC members (0.4)
05/16/2023   FM7        Review/respond to UCC member                      0.80   1,875.00   1,500.00
                        correspondence regarding John Ray letter
                        (0.2); review UCC member update
                        regarding Debtor interaction (0.2); review
                        and comment on proposed agenda for UCC
                        meeting (0.2); review and comment on
                        UCC correspondence regarding claims
                        portal (0.2)
05/16/2023   GS13       Review agenda and certain referenced              3.20   1,625.00   5,200.00
                        documents for Committee telephone
                        conference (1.3); draft documents for
                        Committee discussion (1.1); draft agenda
                        for Committee telephone conference (.8)
05/16/2023   KP17       Emails and call with Committee member re          0.60   1,875.00   1,125.00
                        investigation issue (.3); correspond with K.
                        Hansen re Committee member inquiry (.3)
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05/16/2023   KP17       Review certain documents in response to          1.10   1,875.00   2,062.50
                        Committee member inquiry re ventures
                        transactions
05/17/2023   CX3        Review E. Gilad email regarding Committee        0.20    915.00     183.00
                        member inquiries regarding bar date
                        process
05/17/2023   CX3        Correspond with Committee member re bar          0.60    915.00     549.00
                        date process
05/17/2023   FM7        Review UCC correspondence regarding bar          1.00   1,875.00   1,875.00
                        date issues (0.2); analyze UCC
                        correspondence regarding 4001 disputes
                        (0.2); respond to Committee member
                        correspondence regarding bar date issues
                        (0.2); respond to UCC member
                        correspondence regarding Jefferies venture
                        portfolio proposal (0.2); correspond with
                        reboot subcommittee regarding next steps
                        (0.2)
05/17/2023   FM7        Correspond with UCC regarding venture            0.20   1,875.00    375.00
                        portfolio proposal
05/17/2023   KP17       Emails with Committee members re                 1.60   1,875.00   3,000.00
                        investigation issues (.4); emails with
                        Committee member re claims inquiries (.2);
                        emails and call with Committee co-chair
                        regarding meeting agenda (.5); correspond
                        with G. Sasson re Committee meeting
                        agenda (.3); revise same (.2)
05/17/2023   LK19       Emails with Committee members regarding          0.10    855.00      85.50
                        claims bar portal call with the Debtors
05/18/2023   CD19       Call with monetization subcommittee with         1.00   1,125.00   1,125.00
                        G. Sasson, E. Gilad, E. Sibbitt, M. Griffin,
                        K. Catalano re open issues and action items
05/18/2023   CD5        Participate in FTX 2.0 call with                 0.50   1,700.00    850.00
                        subcommittee, Committee advisors, G.
                        Sasson, L. Greenbacker
05/18/2023   EG18       Call with coin monetization subcommittee,        1.00   1,875.00   1,875.00
                        G. Sasson, E. Sibbitt, C. Diaz, M. Griffin,
                        K. Catalano
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Date         Initials   Description                                    Hours        Rate    Amount
05/18/2023   EG18       Conferences with UCC members regarding            1.10   1,875.00   2,062.50
                        FTX 2.0 and RFP process
05/18/2023   ECS3       Participate in monetization subcommittee          1.00   1,550.00   1,550.00
                        meeting with E. Gilad, G. Sasson, C. Diaz,
                        M. Griffin, K. Catalano
05/18/2023   FM7        UCC correspondence regarding reboot               1.40   1,875.00   2,625.00
                        launch (0.2); UCC correspondence
                        regarding venture portfolio proposal (0.2);
                        review UCC correspondence regarding
                        agenda for meeting (0.2); analyze UCC
                        investigation and litigation update (0.2);
                        UCC member correspondence regarding
                        bar date (0.2); Jefferies correspondence to
                        UCC regarding 5075 (0.2); review Jefferies
                        correspondence with UCC regarding 5088
                        (0.2)
05/18/2023   GS13       Telephone conference with monetization            1.50   1,625.00   2,437.50
                        subcommittee, E. Gilad, E. Sibbitt, M.
                        Griffin, K. Catalano, C. Diaz (1.0);
                        telephone conference with FTX 2.0
                        subcommittee, C. Daniel, and L.
                        Greenbacker (.5)
05/18/2023   KP17       Review Committee meeting agenda and               1.30   1,875.00   2,437.50
                        certain referenced documents (.9); emails
                        with Committee co-chair re meeting agenda
                        (.2); correspond with G. Sasson re same (.2)
05/18/2023   KC27       Attend monetization subcommittee meeting          1.00    915.00     915.00
                        with M. Griffin, C. Diaz, E. Gilad, E.
                        Sibbitt, G. Sasson
05/18/2023   LED        Attend FTX 2.0 subcommittee call with G.          0.50   1,425.00    712.50
                        Sasson, C. Daniel
05/18/2023   LK19       Emails with G. Sasson and B. Bromberg             1.60    855.00    1,368.00
                        (FTI) regarding meeting with UCC and
                        Debtors on 05/19/23 (0.2); prepare
                        documents for 05/19/23 UCC meeting
                        (0.5); review certain recent submissions and
                        notes to prepare for 05/19/23 Committee
                        meeting (0.9)
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05/18/2023   MEG9       Participate in monetization subcommittee           1.70   1,425.00   2,422.50
                        call with E. Gilad, E. Sibbitt, G. Sasson, C.
                        Diaz, K. Catalano (1.0); review email from
                        Committee member on monetization (0.2);
                        review documents and authority related to
                        response (.5)
05/19/2023   AS61       Attend portion of Unsecured Creditors              1.20   1,900.00   2,280.00
                        Committee call
05/19/2023   BK12       UCC update call re: M&A and certain                3.10   1,625.00   5,037.50
                        venture investments (1.5); follow-up
                        correspondence with E. Sibbitt, K. Pasquale
                        and S. Simms regarding same (1.6)
05/19/2023   CD5        Participate in UCC meeting                         1.50   1,700.00   2,550.00
05/19/2023   CX3        Attend ventures portion of Committee call          0.30    915.00     274.50
05/19/2023   EG18       Participate in UCC meeting                         1.50   1,875.00   2,812.50
05/19/2023   EG18       Pre-Committee call with G. Sasson, I.              0.50   1,875.00    937.50
                        Sasson, K. Hansen regarding UCC
                        presentations
05/19/2023   ECS3       Participate in UCC meeting                         1.50   1,550.00   2,325.00
05/19/2023   FM7        Participate in UCC meeting (1.5); review           3.80   1,875.00   7,125.00
                        UCC member correspondence regarding
                        5088 (0.2); review/respond to UCC
                        member correspondence regarding coin
                        management (0.2); review UCC member
                        correspondence regarding coin protocol
                        and onboarding (0.2); review/respond to
                        FTI correspondence with UCC regarding
                        coin management proposal (0.4); review
                        UCC correspondence to A&M regarding
                        coin management proposal (0.2); review
                        Jefferies correspondence to UCC regarding
                        5088 (0.3); review Jefferies correspondence
                        to UCC regarding Project Fox (0.2); review
                        UCC member correspondence regarding
                        5088 (0.2); review UCC member
                        correspondence regarding 5088 and
                        automatic stay (0.2); correspond with UCC
                        regarding FTX Europe (0.2)
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Date         Initials   Description                                    Hours        Rate    Amount
05/19/2023   GS13       Participate in pre-call with K. Hansen, E.        0.50   1,625.00    812.50
                        Gilad, I. Sasson, Simms, Diaz, Bromberg
                        (FTI) and O’Hara, Hamilton (Jefferies)
                        regarding presentations and talking points
                        for Committee telephone conference
05/19/2023   GS13       Participate in Committee telephone                1.50   1,625.00   2,437.50
                        conference
05/19/2023   GS15       Participate in creditors Committee call           1.50   1,600.00   2,400.00
05/19/2023   IS6        Pre-Committee call with K. Hansen, E.             0.50   1,290.00    645.00
                        Gilad, G. Sasson re advisor presentations
                        for Committee meeting
05/19/2023   IS6        Attend Committee meeting                          1.50   1,290.00   1,935.00
05/19/2023   KP17       Review certain pending matters and prepare        2.60   1,875.00   4,875.00
                        notes re same for Committee meeting (.5);
                        participate in Committee meeting (1.5);
                        email with Committee members re certain
                        agenda topics (.6)
05/19/2023   KH18       Pre-Committee call with E. Gilad, G.              2.00   2,075.00   4,150.00
                        Sasson, I. Sasson regarding presentations to
                        UCC (.5); lead UCC meeting (1.5)
05/19/2023   LED        Attend portion of FTX UCC telephone               1.00   1,425.00   1,425.00
                        conference
05/19/2023   LK19       Annotate Committee meeting agenda (.2);           1.80    855.00    1,539.00
                        attend UCC meeting (1.5); emails with
                        Committee members regarding case issues
                        (0.1)
05/19/2023   LAD4       Listen to Committee meeting                       0.10   1,975.00    197.50
05/19/2023   MEG9       Review agenda for UCC call from G.                0.20   1,425.00    285.00
                        Sasson
05/20/2023   FM7        Review UCC member correspondence                  0.60   1,875.00   1,125.00
                        regarding Coin Management (CPs) and
                        onboarding (0.2); review UCC member
                        correspondence regarding 5088 (0.2); review
                        related Jefferies correspondence regarding
                        5088 (0.2)
05/20/2023   KP17       Emails with Committee member, K.                  0.60   1,875.00   1,125.00
                        Hansen re 5089 transaction options
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Date         Initials   Description                                    Hours        Rate    Amount
05/21/2023   FM7        Revise UCC correspondence regarding               0.70   1,875.00   1,312.50
                        5088 (0.3); analyze UCC correspondence
                        regarding 5088 (0.2); correspond with UCC
                        regarding Coin Management (CPs) and
                        onboarding (0.2)
05/22/2023   BL10       Participate in UCC advisors call re case          1.00   1,290.00   1,290.00
                        matters and prep for UCC call
05/22/2023   BK12       Participate in portion of UCC advisor call        0.50   1,625.00    812.50
                        regarding case matters and prep for UCC
                        meeting
05/22/2023   CD19       Review comments to coin subcommittee              0.30   1,125.00    337.50
                        charter (.2); correspond with L. Koch
                        regarding same (.1)
05/22/2023   FM7        Review UCC correspondence regarding               1.80   1,875.00   3,375.00
                        Coin Management (CP's) and onboarding
                        (0.2); review UCC correspondence
                        regarding 5088 (0.2); review Partee
                        correspondence regarding 5088 (0.2);
                        telephone conference with UCC
                        professionals regarding UCC meeting prep
                        and case issues (1.0); review draft response
                        to Committee member correspondence
                        regarding 5088 (0.2)
05/22/2023   GS13       Call with Committee advisors to prepare for       1.80   1,625.00   2,925.00
                        Committee meeting (1.0); review
                        documents prepared for Committee
                        discussion (.4); draft email to Committee
                        regarding same (.4)
05/22/2023   IS6        Participate in UCC advisors call regarding        1.00   1,290.00   1,290.00
                        UCC case issues and to prep for UCC
                        meeting
05/22/2023   KP17       Call with FTI, Jefferies re Committee issues      1.90   1,875.00   3,562.50
                        and prep for Committee call (1.0); review
                        and comment on documents for Committee
                        meeting re plan issues (.6); emails with
                        Committee members re ventures
                        transactions and 5089 (.3)
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Date         Initials   Description                                   Hours        Rate    Amount
05/22/2023   KH18       Participate in call with UCC advisors            1.80   2,075.00   3,735.00
                        regarding UCC matters and prep for UCC
                        meeting (1.0); call with Committee co-chair
                        regarding Committee agenda (.8)
05/22/2023   LED        Attend FTX UCC advisors call regarding           1.00   1,425.00   1,425.00
                        UCC case issues and prep for UCC meeting
05/22/2023   LK19       Draft venture subcommittee charter (0.7);        1.30    855.00    1,111.50
                        prepare parts of coin subcommittee charter
                        (0.4); emails with G. Sasson regarding same
                        (0.2)
05/22/2023   MEG9       Attend UCC professionals call regarding          1.00   1,425.00   1,425.00
                        case issues for UCC call prep
05/23/2023   CX3        Telephone conference with Committee              0.70    915.00     640.50
                        member and E. Gilad regarding case
                        questions
05/23/2023   EG18       Call with UCC member and C. Xu                   0.70   1,875.00   1,312.50
                        regarding questions on case matters
05/23/2023   EG18       Call with UCC member regarding certain           0.30   1,875.00    562.50
                        case matters
05/23/2023   FM7        Review UCC member correspondence                 2.70   1,875.00   5,062.50
                        regarding 5089 (0.2); review UCC member
                        correspondence regarding venture portfolio
                        proposal (0.2); review Jefferies UCC
                        correspondence regarding venture portfolio
                        proposal (0.2); analyze preliminary plan
                        overview presentation for UCC (0.9);
                        correspond with E. Gilad regarding
                        Committee member inquiry (0.1);
                        correspond with Committee member
                        regarding 5088 (0.2); review UCC member
                        correspondence regarding FTX Europe
                        (0.2); correspond with UCC regarding plan
                        questions (0.2); correspond with UCC
                        regarding 5089 (0.2); analyze revised plan
                        overview presentation for UCC (0.3)
05/23/2023   KP17       Emails with Committee members re                 0.90   1,875.00   1,687.50
                        ventures transaction 5089 (.3); review deck
                        re plan construct and plan issues in
                        preparation for Committee meeting (.6)
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Date         Initials   Description                                    Hours        Rate    Amount
05/23/2023   LK19       Revise subcommittee charters (0.6);               0.90    855.00     769.50
                        correspond with G. Sasson regarding same
                        (0.3)
05/24/2023   BK12       Participate in portion of call with UCC re        0.80   1,625.00   1,300.00
                        plan considerations
05/24/2023   EG18       Prepare notes on certain UCC meeting              2.00   1,875.00   3,750.00
                        agenda items (0.3); participate in UCC
                        meeting (1.7)
05/24/2023   ECS3       Participate in UCC meeting                        1.40   1,550.00   2,170.00
05/24/2023   FM7        Analyze UCC telephone conference talking          2.40   1,875.00   4,500.00
                        points (0.2); participate in UCC meeting
                        (1.4); correspond with UCC subcommittee
                        regarding CP (0.4); review UCC member
                        correspondence with FTI (de Brignac)
                        regarding customer claims portal (0.2);
                        correspond with reboot subcommittee
                        regarding Debtor telephone conference
                        (0.2)
05/24/2023   GS13       Participate in portion of Committee call          0.90   1,625.00   1,462.50
05/24/2023   IS6        Review and outline certain plan issues (.9);      2.30   1,290.00   2,967.00
                        attend Committee meeting on plan issues
                        (1.4)
05/24/2023   KP17       Prepare notes on certain agenda items for         1.60   1,875.00   3,000.00
                        Committee meeting (.2); participate in
                        Committee meeting (1.4)
05/24/2023   KH18       Lead UCC call regarding plan issues               1.40   2,075.00   2,905.00
05/24/2023   LED        Review correspondence from Committee              0.20   1,425.00    285.00
                        member pertaining to 5005
05/24/2023   LED        Attend portion of Committee meeting               1.20   1,425.00   1,710.00
05/24/2023   LK19       Review agenda and notes to prepare for            1.70    855.00    1,453.50
                        Committee meeting (.3); take minutes
                        during Committee meeting (1.4)
05/24/2023   LAD4       Listen to Committee call                          0.10   1,975.00    197.50
05/24/2023   MEG9       Call with UCC and its professionals re: the       1.40   1,425.00   1,995.00
                        plan to be filed by Debtors
05/25/2023   EG18       Review and comment on UCC public                  0.80   1,875.00   1,500.00
                        postings
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Date         Initials   Description                                     Hours       Rate    Amount
05/25/2023   LK19       Monitor FTX creditor communications on            1.70    855.00    1,453.50
                        social media (1.4); prepare summary of
                        same for K. Hansen, K. Pasquale, E. Gilad,
                        G. Sasson (0.3)
05/25/2023   LK19       Prepare parts of reboot, ventures, and coin       1.20    855.00    1,026.00
                        subcommittee charters (0.8); correspond
                        with K. Pasquale and G. Sasson regarding
                        reboot, ventures, and coin subcommittee
                        charters (0.4)
05/26/2023   CX3        Correspond with M. Laskowski re updating          0.20    915.00     183.00
                        Committee information
05/26/2023   FM7        Revise draft agenda for UCC meeting (0.2);        0.40   1,875.00    750.00
                        review FTI correspondence with UCC
                        regarding claims portal (0.2)
05/26/2023   JI2        Prepare agenda for Committee meeting (.4);        1.80   1,125.00   2,025.00
                        review documents re same (.8); correspond
                        with K. Hansen and K. Pasquale re same
                        (.3); correspond with R. Hamilton (Jefferies)
                        re same (.2); correspond with L. Koch and
                        K. Pasquale re subcommittee charters (.1)
05/26/2023   KP17       Emails with FTI, Jefferies, J. Iaffaldano re      0.70   1,875.00   1,312.50
                        Committee meeting agenda (.3); revise
                        Committee meeting agenda (.2); emails with
                        Committee co-chairs re proposed meeting
                        agenda (.2)
05/26/2023   KH18       Review and comment on UCC call agenda             0.50   2,075.00   1,037.50
05/26/2023   LK19       Revise subcommittee charters (0.4); emails        0.50    855.00     427.50
                        with J. Iaffaldano regarding same (0.1)
05/28/2023   KH18       Review Committee conflict information             1.50   2,075.00   3,112.50
                        (.8); respond to Committee members
                        regarding same (.7)
05/29/2023   FM7        Review/respond to R. Hamilton                     1.00   1,875.00   1,875.00
                        correspondence with UCC regarding 5006
                        (0.2); review UCC correspondence
                        regarding proposed meeting agenda (0.2);
                        analyze subcommittee charters (0.2); analyze
                        investigation and litigation update for UCC
                        (0.2); revise UCC meeting agenda to
                        incorporate FTI (Diaz) comments (0.2)
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Date         Initials   Description                                      Hours       Rate    Amount
05/29/2023   GS13       Review documents referenced in                     1.80   1,625.00   2,925.00
                        Committee email in advance of meeting
                        (1.1); draft Committee update email
                        regarding additional case matters (.6); emails
                        with L. Koch regarding same (.1).
05/29/2023   KH18       Review Committee members'                          1.00   2,075.00   2,075.00
                        correspondence on meeting agenda, sale
                        and litigation related issues (.7); prepare
                        comments on response to Committee
                        members' questions (.3)
05/29/2023   LK19       Email J. Iaffaldano and G. Sasson regarding        1.10    855.00     940.50
                        agenda and documents for 05/31/23
                        Committee meeting (0.2); review and
                        comment on agenda and documents for
                        05/31/23 Committee meeting (0.7); emails
                        to Committee members regarding agenda
                        and documents for 05/31/23 Committee
                        meeting (0.2)
05/30/2023   BL10       Participate in UCC professionals call              0.70   1,290.00    903.00
                        regarding prep for UCC call
05/30/2023   BK12       Participate in UCC professionals call              0.70   1,625.00   1,137.50
                        regarding UCC matters and prep for UCC
                        call
05/30/2023   EG18       Participate in UCC advisor call regarding          1.00   1,875.00   1,875.00
                        case matters and UCC call prep (.7); review
                        agenda items regarding plan in advance of
                        UCC call (.3)
05/30/2023   FM7        Correspond with I. Sasson regarding UCC            1.00   1,875.00   1,875.00
                        professionals meeting (0.2); analyze UCC
                        issues/task list for sale issues (0.1);
                        telephone conference with UCC
                        professionals regarding sale matters and
                        prep for UCC call (0.7)
05/30/2023   GS13       Call with Committee advisors to prep for           1.40   1,625.00   2,275.00
                        Committee call (.7); prepare notes on
                        certain agenda items in preparation for
                        Committee call (.7)
05/30/2023   IS6        Participate in UCC advisors call regarding         0.70   1,290.00    903.00
                        case matters and prep for UCC call
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Date         Initials   Description                                    Hours        Rate    Amount
05/30/2023   JI2        Call with UCC advisors re UCC call and            1.20   1,125.00   1,350.00
                        open case matters (.7); call with UCC
                        members re 5089 issues (.5)
05/30/2023   KP17       Call with Committee advisors re Committee         2.90   1,875.00   5,437.50
                        meeting prep (.7); call with Committee co-
                        chair, Committee member re 5089 (.6); draft
                        outline of litigation issues for Committee
                        meeting (1.6)
05/30/2023   KH18       Review issues and recommendations for             2.60   2,075.00   5,395.00
                        UCC call (1.3); discuss Grant with
                        Committee co-chairs (.6); call with UCC
                        professionals to prepare for UCC call (.7)
05/30/2023   LK19       Attend UCC advisors meeting regarding             0.70    855.00     598.50
                        pending matters and UCC call prep
05/30/2023   MEG9       Participate in portion of UCC professionals       0.50   1,425.00    712.50
                        call to prepare for UCC call
05/31/2023   BK12       Participate in update call with UCC               1.80   1,625.00   2,925.00
                        regarding M&A matters
05/31/2023   CD5        Participate in portion of call with UCC           1.00   1,700.00   1,700.00
                        professionals regarding case matters and
                        UCC call prep
05/31/2023   CX3        Correspond with Committee member                  0.30    915.00     274.50
                        regarding case questions
05/31/2023   EG18       Participate in UCC meeting                        1.80   1,875.00   3,375.00
05/31/2023   ECS3       Participate in UCC call                           1.80   1,550.00   2,790.00
05/31/2023   FM7        Participate in UCC meeting (1.8);                 2.70   1,875.00   5,062.50
                        correspond with UCC member and Jefferies
                        (O'Hara) regarding 5005 shares (0.2);
                        correspond with UCC member regarding
                        5075 (0.2); review Jefferies (Hamilton)
                        correspondence with UCC regarding 5005
                        bids (0.2); correspond with UCC regarding
                        5036 relief from the automatic stay motion
                        and situation overview (0.3)
05/31/2023   GS13       Participate in Committee call (1.8); prepare      2.10   1,625.00   3,412.50
                        notes on certain agenda items in advance of
                        Committee call (.3).
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05/31/2023   KP17       Review Committee meeting agenda and              3.90   1,875.00     7,312.50
                        prepare notes re certain items (.4);
                        participate in Committee meeting (1.8);
                        revise draft documents for Committee re
                        proposed settlement 5036 (1.7)
05/31/2023   KH18       Review select presentation documents for         2.00   2,075.00     4,150.00
                        UCC meeting (.2); lead UCC meeting (1.8)
05/31/2023   LED        Attend portion of Committee call                 1.20   1,425.00     1,710.00
05/31/2023   LK19       Review select presentation documents             2.00    855.00      1,710.00
                        referenced in UCC meeting agenda (0.2);
                        attend and take minutes during UCC
                        meeting (1.8)
05/31/2023   LK19       Email K. Pasquale and G. Sasson regarding        0.10    855.00         85.50
                        Committee member conflicts and updated
                        conflicts tracker
05/31/2023   LAD4       Listen to portion of Committee call              0.10   1,975.00      197.50
05/31/2023   MEG9       Participate in portion of UCC call               1.60   1,425.00     2,280.00
05/31/2023   SAQ        Attend weekly UCC conference                     1.80   1,125.00     2,025.00
             Subtotal: B150 Meetings of and Communications            327.30               532,948.00
                       with Creditors




B155   Court Hearings
05/04/2023   EG18       Participate in court hearing regarding 5048      0.20   1,875.00      375.00
                        sale
05/04/2023   FM7        Monitor 5048 sale hearing                        0.20   1,875.00      375.00
05/04/2023   JI2        Monitor 5048 sale hearing (.2); emails with      0.50   1,125.00      562.50
                        L. Koch and K. Pasquale re same (.3)
05/04/2023   KP17       Participate in court hearing (Zoom) on 5048      0.20   1,875.00      375.00
                        sale
05/04/2023   KH18       Attend 5048 sale hearing                         0.20   2,075.00      415.00
05/04/2023   LK19       Emails with G. Sasson regarding 5048 sale        0.30    855.00       256.50
                        hearing
05/04/2023   ML30       Monitor the omnibus/sale hearing re: 5048        0.20    540.00       108.00
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Date         Initials   Description                                       Hours         Rate    Amount
05/10/2023   KP17       Review submissions and authority in                   1.20   1,875.00   2,250.00
                        preparing outline for court hearing on
                        sealing motion and Bahamas
05/12/2023   KP17       Emails with parties in interest re                    0.30   1,875.00    562.50
                        rescheduling of court hearing
05/13/2023   IS6        Correspond with K. Pasquale re adjourned              0.20   1,290.00    258.00
                        hearing
05/15/2023   KP17       Emails with parties in interest re                    0.30   1,875.00    562.50
                        rescheduling court hearing
             Subtotal: B155 Court Hearings                                    3.80              6,100.00




B162   Fee/Compensation Matters (Paul Hastings)
05/01/2023   JI2        Revise March fee statement to preserve                5.10   1,125.00   5,737.50
                        confidentiality of litigation, investigation,
                        and venture targets and for compliance with
                        UST guidelines
05/01/2023   LK19       Draft investigations list decoder for fee             0.60    855.00     513.00
                        applications (0.4); emails with B. Levine and
                        I. Sasson regarding same (0.2)
05/02/2023   EG18       Review and revise task and activities chart           0.60   1,875.00   1,125.00
                        for fee examiner
05/02/2023   FM7        Review Fee Examiner staffing chart                    0.20   1,875.00    375.00
05/02/2023   KP17       Review and revise information for fee                 0.60   1,875.00   1,125.00
                        examiner (.4); correspond with E. Gilad re
                        same (.2)
05/02/2023   LK19       Revise investigation target decoder for fee           0.40    855.00     342.00
                        applications (0.3); correspond with B.
                        Levine regarding same (0.1)
05/03/2023   LM20       Review March invoice for privileged and               0.90    855.00     769.50
                        confidential information and to confirm
                        compliance with U.S. Trustee guidelines
                        (0.8); correspond with J. Iaffaldano re same
                        (0.1)
05/04/2023   KAT2       Correspond with C. Diaz and C. Edge                   0.30   1,025.00    307.50
                        regarding fee matters (.1); review and
                        consider same (.2)
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Date         Initials   Description                                    Hours        Rate    Amount
05/08/2023   CD19       Review certificates of no objection re Paul       0.30   1,125.00    337.50
                        Hastings and FTI fee applications (.2);
                        correspond with G. Sasson re same (.1)
05/09/2023   JI2        Revise fee statement for PH March services        0.70   1,125.00    787.50
                        to comply with U.S. Trustee Guidelines.
05/09/2023   KAT2       Correspond with C. Edge regarding fee             0.20   1,025.00    205.00
                        matters (.1); review G. Sasson
                        correspondence regarding same (.1)
05/09/2023   LK19       Correspond with G. Sasson regarding PH            0.10    855.00      85.50
                        first interim fee application
05/11/2023   JI2        Call with L. Miliotes re March fee                0.40   1,125.00    450.00
                        statement.
05/11/2023   KAT2       Review and consider correspondence from           1.20   1,025.00   1,230.00
                        G. Sasson and B. Levine regarding fee
                        matters (.2); correspond with G. Sasson
                        regarding U.S. Trustee questions and fee
                        protocol going forward (.2); review March
                        services for response to UST Appendix B
                        questions (.8)
05/11/2023   LM20       Call with J. Iaffaldano re March invoice          0.60    855.00     513.00
                        (0.4); correspond with C. Edge re same (0.2)
05/11/2023   LK19       Emails with B. Levine, F. Merola, and G.          0.60    855.00     513.00
                        Sasson regarding investigation target
                        decoder chart for fee applications (0.3);
                        revise same per their input (0.3)
05/16/2023   LM20       Review March invoice for privileged and           3.20    855.00    2,736.00
                        confidential information and to conform to
                        U.S. Trustee guidelines (3.1); correspond
                        with G. Sasson re same (0.1)
05/17/2023   KAT2       Review and comment for L. Miliotes and C.         0.30   1,025.00    307.50
                        Edge on March services and fees
05/17/2023   LM20       Review invoice for privileged and                 1.40    855.00    1,197.00
                        confidential information and to conform
                        with U.S. Trustee guidelines (1.2);
                        correspond with J. Iaffaldano re same (0.1);
                        correspond with C. Edge re same (0.1)
05/17/2023   LK19       Emails with J. Iaffaldano regarding fee           0.10    855.00      85.50
                        application investigation target decoder
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Date         Initials   Description                                        Hours      Rate    Amount
05/17/2023   MM57       Correspond with L. Miliotes and J.                  0.20    540.00     108.00
                        Iaffaldano re: March invoice and
                        anonymizing same to protect confidential
                        and privileged information
05/18/2023   MM57       Review March services and add codes to              3.40    540.00    1,836.00
                        protect confidential information
05/19/2023   LM20       Correspond with M. Magzamen and J.                  0.50    855.00     427.50
                        Iaffaldano re redacting privileged and
                        confidential investigation targets in FTX
                        March invoice
05/19/2023   MM57       Continue to review and revise March                 2.60    540.00    1,404.00
                        invoice for coding to protect
                        confidential/privileged information (2.4);
                        correspond with L. Miliotes and J.
                        Iaffaldano re: same (.2)
05/20/2023   EG18       Review and comment on March invoice                 0.90   1,875.00   1,687.50
                        regarding confidentiality of investments and
                        litigation/investigation targets
05/22/2023   CD19       Review fee examiner report                          0.90   1,125.00   1,012.50
05/22/2023   EG18       Review March invoice regarding protecting           0.70   1,875.00   1,312.50
                        confidentiality of investments and
                        litigation/investigation targets (.5); prepare
                        comments for L. Koch, G. Sasson regarding
                        same (.2)
05/22/2023   KAT2       Review certain fee matters (.3); correspond         0.80   1,025.00    820.00
                        with G. Sasson regarding same (.1);
                        correspond with C. Edge regarding same
                        (.1); briefly review fee examiner's report (.2);
                        correspond with G. Sasson regarding same
                        (.1)
05/22/2023   KP17       Review fee examiner letter (.4); correspond         0.60   1,875.00   1,125.00
                        with G. Sasson re same (.2)
05/22/2023   LM20       Revise invoice for privileged and                   1.20    855.00    1,026.00
                        confidential investigation targets (1.1);
                        correspond with J. Iaffaldano re same (0.1)
05/22/2023   MM57       Review and anonymize March invoice                  0.70    540.00     378.00
                        regarding investigation targets
05/22/2023   MM57       Review and revise UST/fee examiner codes            0.70    540.00     378.00
                        for March invoice
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Date         Initials   Description                                        Hours      Rate    Amount
05/23/2023   CD19       Correspond with G. Sasson re fee examiner           2.20   1,125.00   2,475.00
                        report (.2); review fee examiner report (.4);
                        meeting with G. Sasson, J. Iaffaldano and
                        M. Magzamen re response to fee examiner
                        report (1.6)
05/23/2023   CD19       Review fee examiner response precedent in           0.50   1,125.00    562.50
                        connection with PH's response
05/23/2023   GS13       Review Fee Examiner letter and exhibits             3.10   1,625.00   5,037.50
                        (1.5); meet with C. Diaz, M. Magzamen, and
                        J. Iaffaldano to discuss responses (1.6).
05/23/2023   JI2        Meeting with G. Sasson, C. Diaz and M.              5.80   1,125.00   6,525.00
                        Magzamen re fee examiner report (1.6);
                        prepare parts of response to same (3.3);
                        review and revise March invoice regarding
                        confidential entries and compliance with
                        U.S. Trustee guidelines (.9).
05/23/2023   KAT2       Correspond with G. Sasson regarding fee             0.60   1,025.00    615.00
                        examiner questions (.2); correspond with M.
                        Magzamen regarding fee examiner requests
                        (.2); correspond and call with C. Edge
                        regarding response re reimbursements (.2)
05/23/2023   LM20       Correspond with G. Sasson re March                  0.50    855.00     427.50
                        invoice (0.1); review and revise March
                        invoice for anonymization of investigation
                        and M&A targets and topics (0.4)
05/23/2023   MM57       Conference with G. Sasson, J. Iaffaldano            2.80    540.00    1,512.00
                        and C. Diaz re: fee examiner first interim
                        letter report and response (1.6); calendar
                        dates in connection with fee examiner
                        response (.1); investigate issues raised by fee
                        examiner (1.1)
05/23/2023   MM57       Review FTX Fee Examiner letter report               1.00    540.00     540.00
                        (.8); review precedent responses to fee
                        examiner concerns (.2)
05/23/2023   SAQ        Prepare correspondence to M. Griffin                0.10   1,125.00    112.50
                        regarding fee examiner report
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05/24/2023   MM57       Investigate items flagged by Fee Examiner         1.80    540.00     972.00
                        (.9); correspond with G. Sasson, C. Diaz
                        and J. Iaffaldano re: same (.4); review
                        responsive documents received and mark
                        appropriately according to protective order
                        (.2); correspond with K. Traxler and C.
                        Edge (PH) re: expense back-up and
                        response to Fee Examiner (.3)
05/24/2023   SAQ        Draft parts of response to Fee Examiner           0.80   1,125.00    900.00
                        report in connection with regulatory
                        services
05/24/2023   SAQ        Correspond with C. Diaz regarding                 0.10   1,125.00    112.50
                        response to Fee Examiner report in
                        connection with regulatory services
05/25/2023   JI2        Review and revise March invoice re                3.20   1,125.00   3,600.00
                        UST/fee examiner coding request
05/25/2023   KAT2       Review requests from M. Magzamen                  0.50   1,025.00    512.50
                        regarding monthly fee application for
                        March services (.1); prepare parts of same
                        (.2); prepare UST Appendix B information
                        for fee application (.2)
05/25/2023   LM20       Review and revise March invoice for               3.20    855.00    2,736.00
                        privileged and confidential information, to
                        anonymize investigation targets, and to
                        comply with UST guidelines (1.8);
                        correspond with G. Sasson re same (0.2);
                        calls with C. Edge re monthly fee
                        application (0.2); correspond with M.
                        Magzamen re same (0.6); correspond with
                        G. Sasson re same (0.1); review and revise
                        monthly fee application (0.3)
05/25/2023   LK19       Review and comment on March Paul                  0.60    855.00     513.00
                        Hastings invoice for compliance with U.S.
                        Trustee guidelines, fee examiner requests,
                        and confidentiality (0.4); emails with E.
                        Gilad and G. Sasson regarding same (0.2)
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Date         Initials   Description                                      Hours      Rate    Amount
05/25/2023   MM57       Correspond with K. Traxler and C. Edge            0.80    540.00     432.00
                        (PH) re: March invoice and updates re:
                        same (.2); correspond with L. Miliotes re:
                        March fee statement (.1); review and revise
                        fee statement (.2); further investigate
                        expenses in response to Fee Examiner
                        report (.3)
05/26/2023   JI2        Review and revise fee statement for               0.80   1,125.00    900.00
                        confidentiality and compliance with UST
                        guidelines and fee examiner requests
05/26/2023   MM57       Review expenses in response to Fee                0.40    540.00     216.00
                        Examiner's report
05/27/2023   JI2        Prepare response to fee examiner report.          1.40   1,125.00   1,575.00
05/27/2023   LM20       Review and revise March invoice for               0.60    855.00     513.00
                        privileged and confidential information, to
                        anonymize investigation targets, and to
                        comply with UST guidelines (.4); review and
                        revise March fee application (.2)
05/29/2023   CD19       Draft responses to fee examiner report            6.70   1,125.00   7,537.50
                        (6.6); correspond with G. Sasson on same
                        (.1)
05/29/2023   GS13       Review and revise fee examiner response           0.80   1,625.00   1,300.00
                        chart
05/29/2023   JI2        Prepare responses to fee examiner report.         4.00   1,125.00   4,500.00
05/29/2023   KAT2       Prepare parts of second interim fee               0.40   1,025.00    410.00
                        application (.2); correspond with C. Edge
                        regarding information for second interim
                        fee application (.1); correspond with G.
                        Sasson and M. Magzamen regarding second
                        interim fee application (.1)
05/29/2023   MM57       Correspond with K. Traxler and C. Edge            0.10    540.00      54.00
                        (PH) re: April fee statement and interim fee
                        application
05/30/2023   EG18       Review draft responses to fee examiner            1.00   1,875.00   1,875.00
                        report (0.8); correspond with G. Sasson re
                        same (0.2)
05/30/2023   GS13       Review and revise fee examiner response           0.80   1,625.00   1,300.00
                        chart
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Date         Initials   Description                                      Hours      Rate    Amount
05/30/2023   JI2        Draft parts of response to fee examiner           3.40   1,125.00   3,825.00
                        report (3.1); emails with G. Sasson and E.
                        Gilad re same (.3)
05/30/2023   KAT2       Prepare parts of second interim fee               0.60   1,025.00    615.00
                        application responsive to UST Appendix B
                        questions (.4); correspond with K. Bala
                        regarding information for same (.1);
                        correspond with C. Edge regarding
                        information for same (.1)
05/30/2023   LM20       Revise and incorporate comments to March          2.10    855.00    1,795.50
                        fee application (1.9); correspond with G.
                        Sasson and E. Gilad re same (0.2)
05/30/2023   LK19       Correspond with G. Sasson and C. Diaz             2.20    855.00    1,881.00
                        regarding Paul Hastings services and April
                        invoice (0.2); review and revise Paul
                        Hastings April invoice for confidentiality
                        and compliance with UST guidelines and
                        fee examiner requests (2.0)
05/30/2023   MM57       Correspond with J. Iaffaldano, G. Sasson          1.10    540.00     594.00
                        and L. Miliotes re: second interim fee
                        application (.1); update March fee statement
                        (.2); draft April fee statement (.8)
05/31/2023   JI2        Draft parts of response to fee examiner           4.20   1,125.00   4,725.00
                        report.
05/31/2023   KAT2       Review and prepare comments regarding             0.80   1,025.00    820.00
                        PH May services (.3); correspond with C.
                        Edge regarding same (.2); prepare parts of
                        monthly fee application for April services
                        (.3)
05/31/2023   LM20       Review and edit March fee application and         1.80    855.00    1,539.00
                        invoice in preparation for filing (1.1);
                        correspond with G. Sasson re same (0.3);
                        correspond with FTI re same (0.2);
                        correspond with R. Poppitti (YCST) re
                        same (0.2)
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Date         Initials   Description                                      Hours       Rate      Amount
05/31/2023   LK19       Review April 2023 PH invoice for                   7.50    855.00      6,412.50
                        confidentiality and privilege and to comply
                        with UST/fee examiner guidelines (6.8);
                        prepare comments to April 2023 PH
                        invoice (0.5); correspond with G. Sasson
                        and L. Miliotes regarding same (0.2)
05/31/2023   MM57       Review and revise March fee statement (.5);        1.30    540.00       702.00
                        review and revise response to Fee Examiner
                        report (.4); draft April monthly fee
                        statement (.4)
             Subtotal: B162 Fee/Compensation Matters (Paul               100.60              100,931.50
                       Hastings)




B165   Retention/Employment Matters (Other Professionals)
05/03/2023   GS13       Review and comment on Bahamas' counsel             0.80   1,625.00     1,300.00
                        engagement letter
05/04/2023   GS13       Review and revise Bahamas counsel                  0.90   1,625.00     1,462.50
                        engagement letter and terms of employment
                        (.6); correspond with K. Pasquale regarding
                        same (.3)
05/04/2023   KP17       Correspond with G. Sasson re proposed              0.40   1,875.00      750.00
                        Bahamas counsel (.2); email proposed
                        Bahamas counsel re engagement letter (.2)
             Subtotal: B165 Retention/Employment Matters                   2.10                3,512.50
                       (Other Professionals)




B166   Fee/Compensation Matters (Other Professionals)
05/01/2023   CX3        Review AlixPartners' fee statement (3.4);          4.40    915.00      4,026.00
                        prepare summary and comments on same
                        (1.0)
05/02/2023   CX3        Review Alix fee statement (1.1); prepare           1.20    915.00      1,098.00
                        summary and comments on same (.1)
05/04/2023   ML30       Correspond with G. Sasson re fee                   0.20    540.00       108.00
                        application calendaring for UCC
                        professionals
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Date         Initials   Description                                      Hours      Rate    Amount
05/04/2023   MM57       Correspond with G. Sasson re: critical dates      0.10    540.00      54.00
                        concerning interim fee applications for
                        UCC professionals
05/08/2023   CX3        Review S&C's March fee statement (2.4);           2.90    915.00    2,653.50
                        prepare summary and comments on same
                        (.5)
05/08/2023   MM57       Review CNOs for outstanding fees of UCC           0.20    540.00     108.00
                        professionals
05/09/2023   CX3        Review S&C fee statement (4.6); prepare           5.30    915.00    4,849.50
                        summary and comments on same (.7)
05/10/2023   CX3        Review Landis' fee statements (3.1); prepare      3.50    915.00    3,202.50
                        summary and comments on same (0.4)
05/10/2023   CX3        Review Quinn Emanuel March fee                    1.50    915.00    1,372.50
                        statement (1.2); prepare summary and
                        comments on same (0.3)
05/11/2023   CX3        Review Quinn Emanuel fee statement (3.0);         3.40    915.00    3,111.00
                        prepare summary and comments on same
                        (0.4)
05/11/2023   GS13       Review Debtors' fee statements and                0.80   1,625.00   1,300.00
                        summaries of same
05/12/2023   CX3        Review A&M fee statement (1.5); prepare           2.00    915.00    1,830.00
                        summary and comments on same (0.5)
05/13/2023   CX3        Review A&M fee statement (1.9); prepare           2.10    915.00    1,921.50
                        summary of same (.2)
05/15/2023   CX3        Review A&M fee statement (0.8); prepare           0.90    915.00     823.50
                        summary and comments on same (0.1)
05/16/2023   CX3        Review A&M fee statement (2.8); prepare           3.40    915.00    3,111.00
                        summary and comments on same (.6)
05/18/2023   CX3        Review A&M fee statement (3.0); prepare           3.40    915.00    3,111.00
                        summary and comments on same (0.4)
05/19/2023   CX3        Review A&M fee statement (1.2); prepare           1.50    915.00    1,372.50
                        summary and comments on same (0.3)
05/25/2023   CX3        Review A&M and Alix Partners fee                  2.30    915.00    2,104.50
                        statements (2.1); prepare summary and
                        comments on same (0.2)
05/30/2023   CX3        Review A&M fee statement (3.7); prepare           4.40    915.00    4,026.00
                        summary and comments on same (0.7)
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Date         Initials   Description                                     Hours      Rate     Amount
05/30/2023   LM20       Review FTI March invoice for privileged          3.00    855.00     2,565.00
                        and confidential information and to
                        comport with UST guidelines (2.6); call with
                        B. Bromberg (FTI) re same (0.1);
                        correspond with M. Gray (FTI) re same
                        (0.3)
05/31/2023   CX3        Review AlixPartners fee statement                0.80    915.00      732.00
             Subtotal: B166 Fee/Compensation Matters                    47.30              43,480.00
                       (Other Professionals)




B175   Bahamian PropCo Analysis
05/03/2023   LK19       Analyze correspondence from JPLs                 0.10    855.00        85.50
                        regarding Bahamian PropCo
05/04/2023   KP17       Review letters between Debtors and JPLs re       0.60   1,875.00    1,125.00
                        Propco status (.4); emails with S&C re same
                        (.2)
05/04/2023   KH18       Review Bahamian related issues (.9);             1.70   2,075.00    3,527.50
                        prepare action plan for same (.8)
05/10/2023   KP17       Analyze information from Debtors re              0.40   1,875.00     750.00
                        Bahamas properties
05/11/2023   KH18       Analyze and comment on Bahamas issues            1.30   2,075.00    2,697.50
             Subtotal: B175 Bahamian PropCo Analysis                     4.10               8,185.50




B180   Avoidance Action Analysis
05/01/2023   EG18       Analyze preference issues and related case       1.10   1,875.00    2,062.50
                        law
05/03/2023   IS6        Call with holders of customer claims re          0.70   1,290.00     903.00
                        preference issues
05/15/2023   IS6        Prepare parts of 4001 preference analysis        0.90   1,290.00    1,161.00
                        presentation
05/16/2023   IS6        Review and revise 4001 preference                0.30   1,290.00     387.00
                        presentation
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05/17/2023   KP17       Analyze certain database documents re             1.60    1,875.00    3,000.00
                        insider preference claims
05/17/2023   LK19       Supplement UCC presentation regarding             0.50     855.00      427.50
                        preference findings
05/20/2023   JI2        Analyze certain preference issues and             3.20    1,125.00    3,600.00
                        related case law (2.9); correspond with K.
                        Pasquale re same (.3)
05/22/2023   CD19       Correspond with J. Iaffaldano re preference       0.20    1,125.00     225.00
                        claims
05/22/2023   JI2        Analyze issues re preference claims and           3.10    1,125.00    3,487.50
                        related case law
05/22/2023   LK19       Analyze application of Bankruptcy Code            1.00     855.00      855.00
                        section 502(h) (0.6); correspond with J.
                        Iaffaldano and C. Diaz regarding same (0.4)
05/23/2023   JI2        Analyze issues re post-preference section         3.90    1,125.00    4,387.50
                        502(h) claims and related case law and
                        statutory authority.
05/23/2023   LK19       Analyze case law and statutes regarding           1.40     855.00     1,197.00
                        section 502(h) claims post preference action
                        (1.2); correspond with J. Iaffaldano
                        regarding same (0.2)
05/23/2023   MM57       Research re: section 502(h) claims (.7);          0.80     540.00      432.00
                        correspond with J. Iaffaldano and L. Koch
                        re: same (.1)



05/24/2023   MM57       Further research re: section 502(h) claims        0.40     540.00      216.00
                        (.3); correspond with J. Iaffaldano and L.
                        Koch re: same (.1)
             Subtotal: B180 Avoidance Action Analysis                     19.10              22,341.00




B189   Monitoring or Participating in Related Cryptocurrency Bankruptcy
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Date         Initials   Description                                      Hours      Rate    Amount
05/01/2023   LK19       Analyze certain recent filings in pending         0.80    855.00     684.00
                        cryptocurrency bankruptcies 4002 for FTX
                        impact and implications (0.6); emails with
                        K. Pasquale and I. Sasson regarding same
                        (0.2)
05/02/2023   IS6        Review 4002 fraudulent transfer and               1.60   1,290.00   2,064.00
                        substantive consolidation pleadings (1.1);
                        analyze caselaw re same (.5)
05/02/2023   LK19       Review certain recent filings in crypto           1.40    855.00    1,197.00
                        bankruptcies 4002 for FTX impact and
                        implications (1.1); prepare summaries of
                        same (0.3)
05/03/2023   LK19       Analyze certain recent filings in pending         1.00    855.00     855.00
                        cryptocurrency bankruptcy 4004 for FTX
                        impact and implications (0.2); draft email to
                        the Committee regarding same (0.1); analyze
                        certain filings in another crypto bankruptcy
                        4005 regarding distribution of
                        cryptocurrency under plan (0.5); email K.
                        Hansen regarding same (0.2)
05/04/2023   JI2        Review 4002 substantive consolidation             2.10   1,125.00   2,362.50
                        motions to inform FTX analysis (1.7);
                        correspond with L. Koch re summary of
                        same (.4)
05/04/2023   LK19       Analyze certain recent filings in pending         2.90    855.00    2,479.50
                        crypto bankruptcy 4002 for FTX impact
                        and implications (1.5); prepare summary of
                        same for K. Hansen, K. Pasquale, E. Gilad,
                        G. Sasson (0.9); correspond with J.
                        Iaffaldano regarding summaries of recent
                        filings in crypto bankruptcies 4002 (0.1);
                        update crypto bankruptcy roundup (0.4)
05/04/2023   MEG9       Review summary of certain 4002 filings to         0.30   1,425.00    427.50
                        inform FTX analysis
05/05/2023   LK19       Analyze certain recent filings in crypto          3.70    855.00    3,163.50
                        bankruptcies 4005, 4002, 4001, 4004 for
                        FTX impact and implications (2.6); prepare
                        summary of same for working group (1.1)
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Date         Initials   Description                                       Hours      Rate    Amount
05/05/2023   LK19       Review notes from crypto bankruptcy                0.60    855.00     513.00
                        hearing regarding section 345(b) waiver
                        (0.4); correspond with E. Gilad regarding
                        same (0.2)
05/08/2023   IS6        Analyze 4001 customer property issues to           1.20   1,290.00   1,548.00
                        inform FTX approach
05/12/2023   FM7        Review crypto bankruptcy roundup in                0.20   1,875.00    375.00
                        connection with FTX sale strategy
05/12/2023   LK19       Evaluate recent filings and developments in        1.80    855.00    1,539.00
                        4000, 4002, 4001, 4004, and 4005
                        bankruptcies for FTX implications (1.3);
                        prepare summary of recent filings and
                        developments in 4000, 4002, 4001, 4004,
                        and 4005 bankruptcies for K. Hansen, K.
                        Pasquale, G. Sasson, E. Gilad (0.5)
05/17/2023   LK19       Analyze recent filings in related crypto           0.40    855.00     342.00
                        bankruptcies for FTX implications
05/18/2023   LK19       Analyze recent filings in crypto                   1.30    855.00    1,111.50
                        bankruptcies (1.0); summarize same for
                        crypto roundup to inform UCC strategy
                        (0.3)
05/19/2023   FM7        Review summary regarding crypto                    0.20   1,875.00    375.00
                        bankruptcies to inform UCC strategy
05/19/2023   LK19       Analyze recent filings in crypto                   2.70    855.00    2,308.50
                        bankruptcies to inform FTX analysis (2.2);
                        prepare summary of same for K. Hansen,
                        K. Pasquale, E. Gilad, G. Sasson (0.5)
05/25/2023   EG18       Review and analyze 4002 plan documents             0.60   1,875.00   1,125.00
05/26/2023   FM7        Analyze crypto bankruptcy summary for              0.20   1,875.00    375.00
                        FTX sale implications
05/26/2023   LK19       Analyze recent filings in related crypto           2.30    855.00    1,966.50
                        bankruptcies 4000, 4001, 4002, 4005, and
                        4004 for FTX implications (1.7); prepare
                        summary of same for K. Hansen, K.
                        Pasquale, E. Gilad, G. Sasson (0.6)
05/27/2023   IS6        Review updated crypto roundup from L.              0.70   1,290.00    903.00
                        Koch re FTX implications (.3); review
                        certain crypto filings regarding same (.4)
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Date         Initials   Description                                      Hours      Rate     Amount
             Subtotal: B189 Monitoring or Participating in               26.00              25,714.50
                       Related Cryptocurrency Bankruptcy




B190   Other Contested Matters(excl. assumption/rejections motions)
05/01/2023   JI2        Prepare parts of examiner appellate brief.        1.50   1,125.00    1,687.50
05/02/2023   KP17       Call with D. Wender re sealing motion (.5);       1.10   1,875.00    2,062.50
                        analyze evidentiary issues re sealing motion
                        (.6)
05/03/2023   CD19       Review objection to Debtors' and                  0.80   1,125.00     900.00
                        Committee's joint motion to seal customer
                        information (.5); correspond with K.
                        Pasquale and G. Sasson re same (.1); further
                        correspond with K. Pasquale re sealing
                        motion (.2)
05/03/2023   KP17       Review Media Intervenors' objection to            0.30   1,875.00     562.50
                        sealing motion
05/04/2023   IS6        Prepare parts of examiner appellate brief.        4.40   1,290.00    5,676.00
05/04/2023   JI2        Prepare parts of appellate brief regarding        4.80   1,125.00    5,400.00
                        appointment of examiner
05/05/2023   IS6        Prepare parts of examiner appeal brief.           1.70   1,290.00    2,193.00
05/05/2023   JI2        Call with S. Fulton and E. Shehada (S&C)          3.40   1,125.00    3,825.00
                        re examiner appeal appendix (.4);
                        correspond with I. Sasson and K. Pasquale
                        re examiner appeal appendix issues (.2);
                        prepare parts of examiner appeal brief (2.7);
                        email K. Pasquale re same (.1)
05/05/2023   JI2        Review and revise summary of media                0.80   1,125.00     900.00
                        intervenor's objections to redaction
05/05/2023   KP17       Call with D. Wender re sealing motion             0.30   1,875.00     562.50
05/05/2023   LM20       Review certain cases cited in draft examiner      1.50    855.00     1,282.50
                        appellate brief (1.1); revise examiner
                        appellate brief (.4)
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Date         Initials   Description                                         Hours      Rate    Amount
05/06/2023   JI2        Prepare parts of examiner appeal brief (1.6);        2.30   1,125.00   2,587.50
                        correspond with K. Pasquale re same (.1);
                        correspond with R. Poppiti re same (.2);
                        correspond with S. Fulton and E. Shehada
                        (S&C) re appendix (.2); correspond with L.
                        Koch re appendix citations (.2)
05/06/2023   KP17       Review and revise draft examiner appellate           3.70   1,875.00   6,937.50
                        brief (2.4); review pertinent precedent (1.3)
05/06/2023   LK19       Revise UCC examiner appeal brief (0.4);              0.50    855.00     427.50
                        correspond with J. Iaffaldano regarding
                        same (0.1)
05/07/2023   JI2        Prepare parts of examiner appeal brief (2.5);        2.90   1,125.00   3,262.50
                        correspond with L. Koch re appendix cites
                        for same (.4).
05/07/2023   LK19       Revise Committee's examiner appeal brief             0.60    855.00     513.00
05/08/2023   CD19       Correspond with K. Pasquale and I. Sasson            1.00   1,125.00   1,125.00
                        re draft reply re motion to seal (.2);
                        correspond with R. Poppiti re same (.1);
                        analyze case law re same (.7)
05/08/2023   IS6        Review response to motion to seal (.8);              2.90   1,290.00   3,741.00
                        analyze pre-trial order and related issues
                        (.3); prepare outline for Sheridan expert
                        testimony prep (.6); review and revise
                        examiner appeal brief (1.2).
05/08/2023   JI2        Prepare parts of examiner appeal brief (5.2);        6.20   1,125.00   6,975.00
                        correspond with L. Koch and I. Sasson re
                        same (.2); correspond with S&C re
                        appendix for same (.2); provide comments
                        to appendix (.4); correspond with local
                        counsel re filing examiner appeal brief (.2).
05/08/2023   KP17       Correspond with C. Diaz, I. Sasson re                2.80   1,875.00   5,250.00
                        sealing reply (.3); draft outline for sealing
                        witness prep and reply brief (2.5)
05/08/2023   LK19       Revise Committee's objection to examiner             1.10    855.00     940.50
                        appeal (0.9); correspond with J. Iaffaldano
                        regarding same (0.2)
05/09/2023   CD19       Review media intervenors' objection to               0.50   1,125.00    562.50
                        Debtors' and UCC's motion to seal
                        personally identifiable information
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Date         Initials   Description                                      Hours      Rate     Amount
05/09/2023   KP17       Emails with UST re sealing motion (.2);           1.30   1,875.00    2,437.50
                        witness prep with J. Sheridan for sealing
                        hearing (1.1)
05/09/2023   MM57       Review and revise Sheridan declaration            0.60    540.00      324.00
                        documents for motion to seal (.5);
                        correspond with C. Diaz re: same (.1)
05/10/2023   CD19       Review agenda items and related                   9.10   1,125.00   10,237.50
                        submissions for 5/17/23 hearing (.3); call
                        with J. Sheridan (FTI), K. Pasquale, and I.
                        Sasson re preparation for 5/17/23 hearing
                        (1.5); meeting with K. Pasquale re same (.5);
                        analyze issues and related case law re
                        hearing items and motion to seal (3.3); draft
                        reply to objections to motion to seal
                        customer names (3.5)
05/10/2023   IS6        Review UST objection to sealing motion            2.90   1,290.00    3,741.00
                        (.4); prepare for hearing on same with J.
                        Sheridan (FTI), K. Pasquale, and C. Diaz
                        (1.5); follow up analysis re sealing
                        objections (.3); prepare parts of reply to
                        sealing objections (.7)
05/10/2023   KP17       Analyze UST objection to sealing motion           3.30   1,875.00    6,187.50
                        (.7); prepare outline for witness prep for
                        sealing hearing (.6); participate in witness
                        prep meeting with J. Sheridan, C. Diaz, I.
                        Sasson re sealing motion (1.5); meeting with
                        C. Diaz re sealing reply and hearing prep
                        (.5)
05/10/2023   MM57       Correspond with C. Diaz re: certain               0.80    540.00      432.00
                        documents supporting Sheridan declaration
                        (.1); prepare same (.7)
05/11/2023   CD19       Draft parts of reply to objections to motion      3.50   1,125.00    3,937.50
                        to seal
05/11/2023   KP17       Prepare argument outline and case notes for       2.10   1,875.00    3,937.50
                        hearing re sealing motion
05/11/2023   MM57       Correspond with I. Sasson re: examiner            0.10    540.00       54.00
                        appeal filing
05/12/2023   CD19       Prepare parts of reply to objections to           5.00   1,125.00    5,625.00
                        motion to seal (3.4); review and comment
                        on draft reply re 107(b) issues (1.6)
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Date         Initials   Description                                       Hours      Rate      Amount
05/12/2023   IS6        Draft 107(c) insert for reply in support of        4.20   1,290.00     5,418.00
                        motion to seal.
05/14/2023   IS6        Review ad hoc Committee motion to seal             0.30   1,290.00      387.00
                        reply
05/15/2023   KP17       Analyze ad hoc group's reply to sealing            0.40   1,875.00      750.00
                        motion
05/16/2023   CD19       Prepare parts of reply to objections to            3.40   1,125.00     3,825.00
                        motion to seal customer information
05/17/2023   IS6        Review U.S. Trustee's appellate reply in           0.70   1,290.00      903.00
                        support of examiner motion.
05/17/2023   KP17       Analyze U.S. Trustee's appellate reply in          0.40   1,875.00      750.00
                        support of examiner motion
05/21/2023   IS6        Revise reply in support of motion to seal.         1.20   1,290.00     1,548.00
05/25/2023   KP17       Revise draft reply on sealing motion               2.60   1,875.00     4,875.00
05/29/2023   KP17       Review and revise next draft of sealing            0.70   1,875.00     1,312.50
                        motion reply
05/30/2023   GS13       Review District Court order regarding              0.80   1,625.00     1,300.00
                        chapter 11 examiner (.4); correspond with I
                        Sasson to discuss same (.4)
05/30/2023   KP17       Revise draft witness and exhibit notice re         0.20   1,875.00      375.00
                        sealing motion
05/30/2023   LK19       Correspond with I. Sasson regarding outline        3.20    855.00      2,736.00
                        of direct testimony of J. Sheridan (FTI) in
                        support of sealing motion (0.1); review
                        sealing motion and declaration of J.
                        Sheridan in support of sealing motion (0.5);
                        draft outline of direct testimony of J.
                        Sheridan (FTI) in support of sealing motion
                        (2.6)
05/31/2023   IS6        Analyze motion to seal hearing transcripts         1.00   1,290.00     1,290.00
                        re Sheridan direct testimony
             Subtotal: B190 Other Contested Matters(excl.                 92.90              119,756.50
                       assumption/rejections motions)




B191   General Litigation
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Date         Initials   Description                                     Hours      Rate    Amount
05/01/2023   LK19       Revise investigations and litigations            2.40    855.00    2,052.00
                        presentation for 05/03/23 Committee
                        meeting (1.9); correspond with L. Miliotes,
                        K. Pasquale, G. Sasson regarding same (0.5)
05/01/2023   ML30       Litigation Update - Monitor pending              1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.3)
05/02/2023   CD19       Analyze postpetition custodial accounts and      1.30   1,125.00   1,462.50
                        related authority and precedent (.9); draft
                        summary on same (.4)
05/02/2023   KH18       Review pending litigations (.5); correspond      0.70   2,075.00   1,452.50
                        with K. Pasquale re: same (.2).
05/02/2023   ML30       Litigation Update - Monitor pending              1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.3)
05/03/2023   ML30       Litigation Update - Monitor pending              1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.3)
05/04/2023   ML30       Litigation Update - Monitor pending              1.20    540.00     648.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.4)
05/05/2023   ML30       Litigation Update - Monitor pending              1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.3)
05/08/2023   ML30       Litigation Update - Monitor pending              1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
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Date         Initials   Description                                       Hours      Rate    Amount
05/09/2023   IS6        Review JPL motion to dismiss Bahamas               1.00   1,290.00   1,290.00
                        complaint
05/09/2023   KP17       Analyze Bahamas JPL's motion to dismiss            0.90   1,875.00   1,687.50
                        adversary complaint
05/09/2023   LK19       Analyze recent filings in related class actions    1.20    855.00    1,026.00
                        (0.8); update litigation memorandum (0.4)
05/09/2023   LK19       Analyze filings in Alameda v. Grayscale            0.40    855.00     342.00
                        matter (0.3); email K. Pasquale and I.
                        Sasson regarding same (0.1)
05/09/2023   LK19       Review JPL motion to dismiss adversary             1.10    855.00     940.50
                        proceeding complaint
05/09/2023   ML30       Litigation Update - Monitor pending                1.60    540.00     864.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); preview recent
                        filings and prepare end of day summary for
                        working group (.3); correspond with L.
                        Koch re Alameda v Grayscale documents
                        needed (.2); research and prepare same for
                        L. Koch (.3)
05/10/2023   LK19       Evaluate JPLs' motion to dismiss adversary         0.90    855.00     769.50
                        proceeding complaint (0.6); evaluate
                        proposed stipulation and scheduling order
                        regarding adversary proceeding (0.3)
05/10/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3).
05/11/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
05/11/2023   MM57       Correspond with C. Diaz re: updated                1.60    540.00     864.00
                        documents re: Sheridan declaration (.2);
                        update exhibits re: same (1.3); follow up
                        correspondence with C. Diaz regarding
                        same (.1)
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Date         Initials   Description                                       Hours      Rate    Amount
05/12/2023   ML30       Litigation Update - Monitor pending                1.30    540.00     702.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3); correspond with L.
                        Koch re DE Chancery Division litigation
                        (.2).
05/13/2023   LK19       Email K. Pasquale regarding D. Friedberg           0.20    855.00     171.00
                        declaration
05/15/2023   KP17       Analyze portions of 4001 disclosure                1.60   1,875.00   3,000.00
                        statement re FTX litigation issues
05/15/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
05/16/2023   KP17       Analyze 4001 UCC statement and                     2.20   1,875.00   4,125.00
                        supporting pleadings re FTX litigation
                        issues (.8); analyze certain precedent re 4001
                        issues (1.4)
05/16/2023   ML30       Litigation Update - Monitor pending                2.00    540.00    1,080.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3); correspond with K.
                        Pasquale re documents needed (.2); review
                        and prepare requested documents for K.
                        Pasquale (.7)
05/17/2023   IS6        Review 5024 adversary complaints.                  0.60   1,290.00    774.00
05/17/2023   KP17       Correspond with I. Sasson re potential             1.40   1,875.00   2,625.00
                        litigation claims (.3); review complaints in
                        5024 adversary proceedings (1.1)
05/17/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
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Date         Initials   Description                                       Hours      Rate    Amount
05/18/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
05/19/2023   KP17       Review Debtors' draft 4004 proof of claim          4.90   1,875.00   9,187.50
                        (.5); analyze 5089 transaction and structure
                        for potential litigation issues (1.8); analyze
                        5036 transaction terms, issues, and draft lift
                        stay motion from 5036 (2.6)
05/19/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group (.3)
05/22/2023   KP17       Analyze additional information re 5036 re          1.10   1,875.00   2,062.50
                        potential litigation
05/22/2023   LK19       Analyze opening brief in support of motion         2.60    855.00    2,223.00
                        to dismiss Alameda complaint against
                        Grayscale and supporting documents (1.8);
                        prepare summary of same for K. Pasquale
                        and I. Sasson (0.8)
05/22/2023   ML30       Litigation Update - Monitor pending                2.10    540.00    1,134.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.3); correspond
                        with L. Koch re Alameda v Grayscale
                        Chancery pleadings (.1); research regarding
                        same (.8); prepare same for L. Koch (.1)
05/23/2023   IS6        Review Grayscale motion to dismiss                 0.90   1,290.00   1,161.00
05/23/2023   KP17       Analyze motion to dismiss filings in               1.30   1,875.00   2,437.50
                        Grayscale litigation
05/23/2023   LK19       Draft summary of Grayscale brief in                1.20    855.00    1,026.00
                        support of motion to dismiss for K.
                        Pasquale and I. Sasson
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Date         Initials   Description                                       Hours      Rate    Amount
05/23/2023   ML30       Litigation Update - Monitor pending                1.10    540.00     594.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.3)
05/24/2023   ML30       Litigation Update - Monitor pending                2.50    540.00    1,350.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.3); correspond
                        with K. Pasquale re certain litigation
                        documents needed and new complaints for
                        tracking (.2); research and prepare select
                        documents for K. Pasquale (1.0); update
                        litigation tracker re: new complaints (.2)
05/25/2023   JI2        Review briefs re Grayscale motion to               1.30   1,125.00   1,462.50
                        dismiss (.8); revise summaries of same (.5)
05/25/2023   KP17       Analyze litigation strategic options re            0.80   1,875.00   1,500.00
                        investment 5089
05/25/2023   LK19       Email K. Pasquale and I. Sasson regarding          0.20    855.00     171.00
                        summary of Grayscale motions to dismiss
05/25/2023   ML30       Litigation Update - Monitor pending                3.90    540.00    2,106.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.4); correspond
                        with L. Koch re 5065 token questions (.2);
                        research related to launch of 5065 token
                        and timing (1.7); prepare findings for L.
                        Koch (.6); correspond with L. Koch re 5065
                        findings (.2)
05/26/2023   ML30       Litigation Update - Monitor pending                1.60    540.00     864.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.8); review recent
                        filings and prepare end of day summary for
                        working group re same (.3); correspond
                        with K. Pasquale re 5036 FTP needed (.2);
                        prepare same for K. Pasquale (.3)
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05/30/2023   EG18       Analyze 5036 settlement and litigation             1.40   1,875.00    2,625.00
                        issues (1.2); prepare notes regarding same
                        and next steps (.2)
05/30/2023   IS6        Analyze 5036 transaction documents in              3.20   1,290.00    4,128.00
                        connection with 5036 litigation and
                        potential settlement
05/30/2023   KP17       Analyze 5036 litigation issues and contracts       4.30   1,875.00    8,062.50
                        re 5036 claims (3.2); analyze Grayscale
                        motion to dismiss litigation (1.1)
05/30/2023   KH18       Analyze 5036 situation (1.4); comment on           1.60   2,075.00    3,320.00
                        next steps for Committee related to same
                        (.2)
05/30/2023   LK19       Analyze cases regarding rescission of              0.40    855.00      342.00
                        transfer based on fraud
05/30/2023   ML30       Litigation Update - Monitor pending                1.60    540.00      864.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.9); review recent
                        filings and prepare end of day summary for
                        working group (.3); correspond with I.
                        Sasson re KP, JPL documents needed (.2);
                        research regarding same (.2).
05/31/2023   IS6        Analyze 5036 share restrictions (.9); draft        2.30   1,290.00    2,967.00
                        summary of 5036 issues re same (1.4).
05/31/2023   KP17       Revise draft document requests to Debtors          2.70   1,875.00    5,062.50
                        re 5089 (.2); emails with parties re June 8
                        court hearing (.2); analyze precedent re 5036
                        litigation settlement issues (1.2); review
                        Debtors' deck re 5005 proposal (.2); analyze
                        potential litigation issues re same (.9)
05/31/2023   ML30       Litigation Update - Monitor pending                1.70    540.00      918.00
                        dockets in SDNY, NY, SDFL, DNJ, CA,
                        SDCA, NDCA, MDL (.9); review recent
                        filings and prepare end of day summary for
                        working group (.3); research and prepare
                        the requested KP, JPL documents for I.
                        Sasson (.5)
             Subtotal: B191 General Litigation                            80.40              87,977.50
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B210   Business Operations
05/01/2023   EG18       Correspond with L. Koch regarding UCC            0.30   1,875.00    562.50
                        bylaws
05/01/2023   LK19       Revise minutes of 04/19/23 Committee             0.10    855.00      85.50
                        meeting
05/01/2023   LK19       Correspond with G. Sasson and E. Gilad           0.30    855.00     256.50
                        regarding Committee bylaws (0.2); follow-
                        up correspond with E. Gilad regarding
                        Committee bylaws (0.1)
05/04/2023   LK19       Draft minutes of 05/03/23 Committee              0.30    855.00     256.50
                        meeting (0.2); emails with G. Sasson
                        regarding same (0.1)
05/10/2023   KP17       Revise draft Committee meeting minutes           0.30   1,875.00    562.50
05/10/2023   LK19       Review notes from 05/10/23 Committee             1.20    855.00    1,026.00
                        meeting (0.4); draft minutes of 05/10/23
                        Committee meeting (0.6); correspond with
                        G. Sasson and K. Pasquale regarding same
                        (0.2)
05/16/2023   LK19       Correspond with K. Pasquale and G.               1.30    855.00    1,111.50
                        Sasson regarding minutes of Committee
                        meetings (0.6); revise May 3, 2023
                        Committee meeting minutes (0.2); emails
                        with G. Sasson and K. Pasquale regarding
                        same (0.1); revise May 12, 2023 Committee
                        meeting minutes (0.2); emails with G.
                        Sasson and K. Pasquale regarding same
                        (0.2)
05/22/2023   LK19       Draft minutes for 05/19/23 Committee             0.90    855.00     769.50
                        meeting (0.8); emails with K. Catalano and
                        G. Sasson regarding same (0.1)
05/23/2023   KC27       Revise minutes of monetization                   0.30    915.00     274.50
                        subCommittee meeting (.2); correspond
                        with K. Pasquale and E. Gilad regarding
                        same (.1)
05/24/2023   LK19       Revise minutes of 05/19/23 Committee             0.90    855.00     769.50
                        meeting (0.3); emails with G. Sasson
                        regarding same (0.1); draft minutes of
                        05/24/23 Committee meeting (0.5)
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Date         Initials   Description                                     Hours      Rate    Amount
05/25/2023   LK19       Review and revise minutes of 05/19/23 and        1.00    855.00     855.00
                        05/24/23 Committee meetings (0.8);
                        correspond with K. Pasquale and G. Sasson
                        regarding same (0.2)
05/30/2023   FM7        Review 5074 1Q statement                         0.20   1,875.00    375.00
             Subtotal: B210 Business Operations                          7.10              6,904.50




B215   Regulatory Matters
05/01/2023   EG18       Correspond with K. Hansen regarding              0.30   1,875.00    562.50
                        upcoming debtor telephone conferences
                        and FTX 2.0
05/01/2023   FM7        Review S&C correspondence regarding              0.40   1,875.00    750.00
                        reboot process (0.2); review S&C
                        correspondence regarding reboot
                        documents PEO (0.2)
05/01/2023   LK19       Emails with S. Quattrocchi regarding             0.10    855.00      85.50
                        reboot term sheet and presentation deck
05/01/2023   SAQ        Correspond with C. Daniel and L. Koch            0.20   1,125.00    225.00
                        regarding FTX 2.0 term sheet and
                        presentation deck
05/02/2023   BK12       Correspond with E. Gilad and E. Levine re:       0.60   1,625.00    975.00
                        FTX 2.0 (0.2); review FTX 2.0 documents
                        posted to VDR (0.4)
05/02/2023   CD5        Debrief correspondence with LK                   0.10   1,700.00    170.00
                        Greenbacker and M. Griffin regarding FTX
                        2.0 call with John Ray
05/02/2023   EG18       Analyze Section 345 deposit guidelines and       0.90   1,875.00   1,687.50
                        Treasuries (0.7); correspond with B. Kelly,
                        G. Sasson, E. Sibbitt regarding same (0.2)
05/02/2023   ECS3       Correspond with E. Gilad regarding market        0.50   1,550.00    775.00
                        developments impacting potential 2.0
                        exchange (.2); review market developments
                        impacting potential 2.0 exchange (.3)
05/02/2023   FM7        Review and comment on reboot illustrative        0.20   1,875.00    375.00
                        timeline
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Date         Initials   Description                                       Hours      Rate    Amount
05/02/2023   GS13       Review 2.0 RFP documents (1.1);                    1.60   1,625.00   2,600.00
                        correspond with E. Gilad regarding FTX
                        2.0 RFP (.5)
05/02/2023   KH18       Review documents regarding exchange                0.60   2,075.00   1,245.00
                        related issues
05/02/2023   LED        Review banking documents (.6); correspond          1.30   1,425.00   1,852.50
                        with C. Daniel and L. Kaplan regarding
                        same (.4); prepare correspondence to G.
                        Sasson regarding outstanding documents
                        related to banking matters (.3)
05/02/2023   TA         Analyze and comment on Japan regulatory            0.80   1,850.00   1,480.00
                        matters and issues
05/03/2023   AS61       Review M. Griffin inquiry relating to              2.80   1,900.00   5,320.00
                        Cypriot MiFID firm and CySEC (0.3);
                        review CySEC register in connection with
                        inquiry (0.4); prepare advice on MiFID firm
                        and relinquishing licence (2.1)
05/03/2023   BL10       Review FTX 2.0 documents                           0.80   1,290.00   1,032.00
05/03/2023   BK12       Call with E. Gilad, G. Sasson, F. Merola, E.       1.20   1,625.00   1,950.00
                        Levine, E. Sibbitt, and M. O'Hara re: FTX
                        reboot documents (0.8); review same (0.4)
05/03/2023   EG18       Analyze FTX Europe transaction and                 0.60   1,875.00   1,125.00
                        license matters
05/03/2023   EG18       Telephone conference with Jefferies, G.            0.80   1,875.00   1,500.00
                        Sasson, E. Sibbitt, F. Merola, B. Kelly, E.
                        Levine regarding FTX 2.0 RFP documents
05/03/2023   ECS3       Telephone conference with Jefferies, E.            0.80   1,550.00   1,240.00
                        Gilad, G. Sasson, F. Merola, B. Kelly, E.
                        Levine to discuss FTX 2.0 RFP documents
05/03/2023   EML1       Telephone conference with E. Gilad, G.             0.80   1,475.00   1,180.00
                        Sasson, F. Merola, B. Kelly, E. Sibbitt, and
                        Jefferies regarding FTX 2.0 reboot
                        documents
05/03/2023   FM7        Correspond with Jefferies regarding reboot         0.90   1,875.00   1,687.50
                        RFP documents (0.1); telephone conference
                        with Jefferies, E. Gilad, G. Sasson, B. Kelly,
                        E. Sibbitt, E. Levine, and FTI regarding
                        reboot RFP documents (0.8)
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Date         Initials   Description                                       Hours      Rate    Amount
05/03/2023   FM7        Review mark up of NDA for reboot (0.2);            0.40   1,875.00    750.00
                        review PWP correspondence regarding RFP
                        document comments regarding reboot (0.2)
05/03/2023   GS13       Review FTX 2.0 documents (1.3); telephone          2.10   1,625.00   3,412.50
                        conference with E. Gilad , B. Kelly,
                        Jefferies, F. Merola, E. Levine, E. Sibbitt
                        regarding same (.8)
05/03/2023   MEG9       Review emails between C. Daniel and N.             0.70   1,425.00    997.50
                        Moffatt on FTX EU and MFid v. MICA
                        licensure (0.4); review FTX 2.0 illustrative
                        timeline and related email from E. Gilad
                        (0.3)
05/03/2023   JM46       Respond to questions from G. Sasson                1.00   1,425.00   1,425.00
                        relating to FTX Europe and its Cypriot
                        license
05/04/2023   AS61       Call with C. Daniel, G. Sasson, N. Moffatt,        2.60   1,900.00   4,940.00
                        M. Griffin, L. Greenbacker regarding FTX
                        ELL licensing matters (.5); prepare follow
                        up advice on Cyprus subsidiary for PH US
                        team (Chris Daniel and Gabe Sasson) (2.1)
05/04/2023   CD5        Call with G. Sasson, A. Srivastava, L.             0.50   1,700.00    850.00
                        Greenbacker, N. Moffatt, M. Griffin
                        regarding the Cypriot MiFid licensed entity
05/04/2023   EG18       Analyze and comment on Treasuries and              0.80   1,875.00   1,500.00
                        section 345 deposit guidelines (.3); call with
                        G. Sasson regarding FTX EU license and
                        related considerations (.5)
05/04/2023   FM7        Review E. Gilad correspondence regarding           0.30   1,875.00    562.50
                        Treasuries (0.1); review E. Gilad
                        correspondence regarding banking (0.2)
05/04/2023   FM7        Review PWP correspondence re NDA for               0.20   1,875.00    375.00
                        reboot
05/04/2023   GS13       Review FTX Europe licenses (.6); telephone         2.10   1,625.00   3,412.50
                        conference with C. Daniel, A. Srivastava, N.
                        Moffatt, M. Griffin, L. Greenbacker
                        regarding same (.5); email K. Hansen and E.
                        Gilad regarding same (.5); conference with
                        E. Gilad regarding same (.5)
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05/04/2023   KH18       Correspond with FTI, E. Gilad regarding          1.10   2,075.00   2,282.50
                        banking custodial issues (.3); review UST
                        lien related issues (.8)
05/04/2023   LED        Review FTX Europe documents (.3); attend         0.80   1,425.00   1,140.00
                        call with G. Sasson, C. Daniel, M. Griffin,
                        N. Moffatt and A. Srivastava regarding next
                        steps in regulatory analysis (.5)
05/04/2023   MEG9       Call on FTX EU with A. Srivastava, N.            0.90   1,425.00   1,282.50
                        Moffatt, C. Daniel, G. Sasson, L.
                        Greenbacker (0.5); review email from S.
                        Simms on banking (0.2); review emails by
                        N. Moffatt on FTX EU MiFID license (0.2)
05/04/2023   JM46       Attend call with G. Sasson, C. Daniel, A.        2.30   1,425.00   3,277.50
                        Srivastava, M. Griffin, L. Greenbacker on
                        FTX Europe and related licensing matters
                        (.5); respond to follow-up questions
                        regarding FTX EU MiFID license (.9);
                        review documents sent by G. Sasson
                        relating to FTX Europe (0.9)
05/05/2023   AS61       Review Committee member                          2.40   1,900.00   4,560.00
                        correspondence regarding MiFID firm and
                        CySEC (0.2); prepare response and advice
                        thereon (2.0); review licence of FTX Cyprus
                        for purpose of preparing advice (0.2)
05/05/2023   EG18       Discussion with FTI regarding FTX 2.0            0.30   1,875.00    562.50
                        structure
05/05/2023   FM7        Review S&C correspondence and collateral         0.30   1,875.00    562.50
                        schedule regarding section 345 issues
05/07/2023   FM7        Review S&C correspondence regarding              0.20   1,875.00    375.00
                        reboot RFP
05/08/2023   CD5        Correspond with LK Greenbacker, M.               0.40   1,700.00    680.00
                        Griffin, E. Gilad and K. Hansen regarding
                        documents provided by S&C regarding
                        banking and collateral for deposits
05/08/2023   CD5        Call with L. Greenbacker, Z. Silvers             0.30   1,700.00    510.00
                        regarding banking and collateral granted to
                        the Debtor
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Date         Initials   Description                                       Hours      Rate    Amount
05/08/2023   CD5        Review documents provided by S&C                   0.40   1,700.00    680.00
                        regarding banking and collateral for
                        deposits
05/08/2023   FM7        Review S&C correspondence regarding                0.50   1,875.00    937.50
                        reboot documents and process letter mark
                        up (0.3); review E. Gilad correspondence
                        regarding S&C telephone conference
                        regarding process letter (0.2)
05/08/2023   FM7        Review S&C update regarding reboot                 0.20   1,875.00    375.00
05/08/2023   KH18       Analyze DOJ investigation documents and            1.00   2,075.00   2,075.00
                        comment on same (.8); correspond with K.
                        Pasquale re: same (.2).
05/08/2023   LED        Review correspondence from N. Moffat on            1.30   1,425.00   1,852.50
                        EU regulatory and license matters (.2);
                        review correspondence from Jefferies
                        regarding banking considerations (.3);
                        review banking documents (.5); attend call
                        with C. Daniel, Z. Silvers regarding banking
                        arrangement (.3)
05/08/2023   MEG9       Draft email on FTX EU to N. Moffatt                0.20   1,425.00    285.00
05/08/2023   ZS1        Analyze Uniform Deposit Agreement and              0.70   1,175.00    822.50
                        related regulations regarding ability to
                        withdraw funds from bank-owned FBO
                        account (.4); participate in call with C.
                        Daniel, L. Greenbacker regarding same (.3)
05/09/2023   AS61       Review Cyprus laws on renunciation and             4.80   1,900.00   9,120.00
                        withdrawal of regulatory permissions (2.3);
                        prepare advice on suspension and
                        reinstatement of MiFID licenses (0.5);
                        prepare advice on scope of regulatory
                        licenses of FTX EU (0.1); review CySEC
                        register (0.1); review Cyprus laws relating to
                        implementation of the EU 5MLD and
                        regulation of crypto (1.4); review CySEC
                        CASP register (0.2); prepare advice thereon
                        (0.2)
05/09/2023   BK12       Review M. Rahmani, M. Wu and E. Gilad              0.70   1,625.00   1,137.50
                        emails re: FTX reboot and referenced
                        documents
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05/09/2023   CD5        Review emails from E. Simpson, A.                  0.40   1,700.00    680.00
                        Srivastava and N. Moffatt regarding FTX
                        Europe
05/09/2023   CD5        Correspond with A. Srivastava and N.               0.30   1,700.00    510.00
                        Moffatt regarding MiFid powers
05/09/2023   EG18       Prepare FTX 2.0 RFP process protocol               2.20   1,875.00   4,125.00
05/09/2023   EG18       Review and revise updated 2.0 RFP process          0.50   1,875.00    937.50
                        letter (0.2); correspond with Debtors
                        regarding same (0.3)
05/09/2023   EG18       Correspond with PWP regarding 2.0 launch           0.10   1,875.00    187.50
05/09/2023   FM7        Analyze S&C correspondence regarding               1.20   1,875.00   2,250.00
                        NDA regarding reboot process (0.2); revise
                        S&C process letter and interested party
                        form (0.2); analyze PWP correspondence
                        regarding process letter regarding reboot
                        (0.2); analyze E. Gilad comments regarding
                        reboot process letter (0.2); analyze A.
                        Dietderich comments regarding reboot
                        process letter (0.2); revise PH mark up of
                        reboot process letter (0.2)
05/09/2023   LED        Correspond with C. Daniel and L. Kaplan            1.00   1,425.00   1,425.00
                        regarding banking collateralization issues
                        (.2); analyze same (.3); prepare follow up
                        queries for S&C regarding same (.4); review
                        correspondence from G. Sasson regarding
                        same (.1)
05/09/2023   LED        Review correspondence from A. Srivastava           0.50   1,425.00    712.50
                        and C. Daniel regarding FTX Europe
                        regulatory considerations
05/09/2023   LDK3       Review collateralization issues regarding          1.00   1,700.00   1,700.00
                        debtor funds to be held in treasuries (.9);
                        prepare comments regarding same (.1)
05/09/2023   MEG9       Review emails between C. Daniel and A.             0.30   1,425.00    427.50
                        Srivastava re: FTX EU regulatory matters
05/10/2023   CD5        Call with K. Bell, L. Kaplan, S. Sepinuck, L.      0.70   1,700.00   1,190.00
                        Greenbacker, Z. Silvers regarding
                        perfection of security interest in bank and
                        Treasury Act
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05/10/2023   CD5        Review correspondence between S&C and              0.60   1,700.00   1,020.00
                        K. Hansen, G. Sasson and E. Gilad
                        regarding FTX Europe licensure (.3); review
                        FTX UCC licensure issues (.3)
05/10/2023   EG18       Call with G. Sasson, Jefferies and FTI             1.00   1,875.00   1,875.00
                        regarding FTX 2.0
05/10/2023   GS13       Telephone conference with E. Gilad and             1.00   1,625.00   1,625.00
                        Jefferies regarding FTX 2.0
05/10/2023   KEB        Analyze bank depository agreement and              3.00   1,700.00   5,100.00
                        related regulatory terms for deposits and
                        pledged securities (2.3); call with S.
                        Sepinuck, L. Kaplan, Z. Silvers, C. Daniel,
                        L. Greenbacker, Z Silvers regarding same
                        (.7)
05/10/2023   LED        Review banking documents (.8); attend call         2.00   1,425.00   2,850.00
                        with S. Sepinuck, K. Bell, L. Kaplan, C.
                        Daniel, Z. Silvers regarding same (.7);
                        prepare written summary of banking issues
                        (.5)
05/10/2023   LDK3       Telephone conference with K. Bell, C.              1.50   1,700.00   2,550.00
                        Daniel, S. Sepinuck, L. Greenbacker, Z.
                        Silvers regarding custody and collateral
                        agreements (.7); review custody and
                        collateral agreements (.8)
05/10/2023   MEG9       Review data room index for regulatory              0.30   1,425.00    427.50
                        matters
05/10/2023   MEG9       Review FTX 2.0 process letter (0.2); review        0.40   1,425.00    570.00
                        FTX 2.0 illustrative timeline (0.1); review
                        document of potential contacts for
                        reboot/2.0 investors from E. Gilad (0.1)
05/10/2023   SS54       Analyze perfection of the U.S. Trustee's           1.20   1,365.00   1,638.00
                        security interest in certain surety bonds and
                        pledged securities
05/10/2023   SS54       Correspond with K. Bell regarding U.S.             0.30   1,365.00    409.50
                        Trustee's security interest in surety bonds
                        and pledged securities
05/10/2023   SS54       Call with K. Bell, L. Kaplan, C. Daniel, LK        0.70   1,365.00    955.50
                        Greenbacker and Z. Silvers regarding
                        banking issues
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05/10/2023   ZS1        Participate in call with L. Kaplan, K. Bell, S.     0.90   1,175.00   1,057.50
                        Sepinuck, C. Daniel, L. Greenbacker
                        regarding perfection of security interest in
                        collateral backing deposits (.7); review
                        additional cases regarding perfection of
                        security interest (.2)
05/11/2023   CD5        Review correspondence from G. Sasson, M.            0.40   1,700.00    680.00
                        Diaz, E. Simpson and M. Griffin regarding
                        FTX Europe (0.2); consider FTX Europe
                        licensure issues (0.2)
05/11/2023   CD5        Conference with K. Bell and L.                      0.30   1,700.00    510.00
                        Greenbacker regarding analysis of the
                        custodial agreements provided by S&C
05/11/2023   CD5        Review and comment on banking and                   0.30   1,700.00    510.00
                        secured status of deposits
05/11/2023   GS13       Analyze FTX EU issues (.8); review                  2.30   1,625.00   3,737.50
                        presentation and licenses regarding same
                        (.9); telephone conference with FTI, L.
                        Greenbacker regarding same (.6)
05/11/2023   KEB        Correspond with L. Greenbacker and C.               3.00   1,700.00   5,100.00
                        Daniel regarding depository agreement and
                        collateralization requirements for
                        investment in treasuries (.3); call with C.
                        Daniel and L. Greenbacker regarding same
                        (.3); analyze documentary and regulatory
                        requirements for investment in treasuries
                        (2.4)
05/11/2023   LED        Review Citizens agreement (.4); correspond          2.20   1,425.00   3,135.00
                        with L. Kaplan regarding same (.2);
                        conference with K. Bell and C. Daniel
                        regarding same (.3); attend FTX Europe
                        licensing call with G. Sasson and FTI (.6);
                        prepare summary of same for C. Daniel (.5);
                        correspond with G. Sasson regarding
                        Section 345 and banking arrangements (.2)
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Date         Initials   Description                                       Hours      Rate    Amount
05/12/2023   AS61       Review comments from call with FTX and             1.50   1,900.00   2,850.00
                        A&M regarding financial positon and
                        potential liabilities of FTX Cyprus (.4);
                        review Cyprus licensing issues (.6); call with
                        FTI and G. Sasson to discuss Cyprus
                        subsidiary and licensing issues (.5)
05/12/2023   EG18       Draft UCC memo regarding FTX 2.0                   1.20   1,875.00   2,250.00
                        protocol (1.1); correspond with Debtors
                        regarding same (.1)
05/12/2023   ECS3       Review Debtors' control failures report (.4);      1.10   1,550.00   1,705.00
                        analyze implications of same for FTX 2.0
                        (.7)
05/12/2023   FM7        Correspond with Jefferies regarding reboot         0.60   1,875.00   1,125.00
                        protocol (0.2); review PWP correspondence
                        regarding reboot protocol (0.2); analyze
                        Debtor deck regarding pricing assumptions
                        for same (0.2)
05/12/2023   GS13       Review revised presentation regarding FTX          2.10   1,625.00   3,412.50
                        EU (.8); review Cyprus regulations and
                        licensing issues (.8); telephone conference
                        with FTI and A. Srivastava regarding same
                        (.5)
05/12/2023   KEB        Analyze custody agreements related to              1.50   1,700.00   2,550.00
                        debtor investment in treasuries
05/14/2023   GS13       Analyze FTX EU presentation (1.2); review          2.60   1,625.00   4,225.00
                        Cyprus license and regulations regarding
                        same (.8); emails with clients and FTI
                        regarding FTX EU (.6)
05/14/2023   MEG9       Review Committee member email on FTX               1.10   1,425.00   1,567.50
                        EU and presentation from A&M attached
                        to same
05/15/2023   AS61       Attend call with G. Sasson to discuss              0.50   1,900.00    950.00
                        position of FTX Europe Limited and
                        CySEC matters
05/15/2023   EG18       Review and comment on FTX 2.0 RFP                  1.50   1,875.00   2,812.50
                        process protocol (0.6); follow up call with
                        Jefferies regarding same (0.5); call with K.
                        Hansen and G. Sasson regarding FTX
                        Europe and CYSEC matters (.4)
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05/15/2023   FM7        Review PWP correspondence regarding               0.40   1,875.00    750.00
                        reboot process (0.2); correspond with A.
                        Dietderich (S&C) regarding reboot protocol
                        (0.2)
05/15/2023   GS13       Telephone conference with A. Srivastava           2.50   1,625.00   4,062.50
                        regarding FTX EU (.5); telephone
                        conference with Committee member
                        regarding same (.5); review FTX EU update
                        documents (1.1); telephone conference with
                        K. Hansen and E. Gilad regarding same (.4)
05/15/2023   KH18       Conference with G. Sasson and E. Gilad            0.40   2,075.00    830.00
                        regarding FTX EU and CySEC matters
05/16/2023   AS61       Discussion with C. Daly relating to CySEC         0.50   1,900.00    950.00
                        and FTX Europe Limited
05/16/2023   CD16       Discussion with A. Srivastava regarding           0.50   1,320.00    660.00
                        FTX Europe and CySEC matters
05/16/2023   EG18       Analyze KYC and related obligations               0.60   1,875.00   1,125.00
05/16/2023   EG18       Analyze custody agreement and treasuries          0.50   1,875.00    937.50
                        issues
05/16/2023   EG18       Call with Jefferies regarding 2.0 and venture     0.60   1,875.00   1,125.00
                        investments sale process
05/16/2023   ECS3       Analyze custody considerations regarding          1.50   1,550.00   2,325.00
                        FTX Vault trust (.6); analyze regulatory
                        requirements regarding same (.6); consider
                        same for a rebooted exchange (.3)
05/16/2023   KEB        Analyze revised custody agreements related        0.50   1,700.00    850.00
                        to debtor investment in treasuries
05/16/2023   ZS1        Correspond with L. Kaplan regarding               0.20   1,175.00    235.00
                        perfection and titling of deposit account
                        associated with collateral underlying
                        deposits
05/17/2023   CD5        Call with FTI and E. Sibbitt regarding FTX        0.60   1,700.00   1,020.00
                        2.0 updates
05/17/2023   CD5        Review correspondence from Z. Silvers and         0.60   1,700.00   1,020.00
                        LK Greenbacker regarding banking and
                        Treasuries as collateral issue
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Date         Initials   Description                                       Hours      Rate    Amount
05/17/2023   CD5        Review correspondence between Debtors'             0.30   1,700.00    510.00
                        counsel and M. Griffin and E. Sibbitt
                        regarding FTX 2.0 bid procedures
05/17/2023   EG18       Review and comment on FTX 2.0 NDA                  1.10   1,875.00   2,062.50
05/17/2023   ECS3       Telephone conference with FTI and C.               0.60   1,550.00    930.00
                        Daniel to discuss reboot
05/17/2023   FM7        Review correspondence from E. Gilad                0.20   1,875.00    375.00
                        regarding reboot conversation with PWP
05/17/2023   LED        Correspond with M. Griffin and C. Daniel           0.50   1,425.00    712.50
                        regarding review of custody agreements
05/17/2023   LDK3       Review custody agreement issues                    0.40   1,700.00    680.00
05/17/2023   MEG9       Review documents related to banking,               3.30   1,425.00   4,702.50
                        treasuries(2.5); analyze potential bank failure
                        and loss of debtor deposits (0.8)
05/17/2023   ZS1        Prepare summary of banking relationship            0.30   1,175.00    352.50
                        and issue of perfection of security interest
                        in U.S. treasuries serving as collateral
05/18/2023   CD19       Correspond with PWP, K. Hansen, and G.             0.40   1,125.00    450.00
                        Sasson re FTX 2.0
05/18/2023   CD5        Conference with FTI, K. Bell, L. Kaplan, L.        0.60   1,700.00   1,020.00
                        Greenbacker, M. Griffin, S. Quattrocchi, Z.
                        Silvers regarding bank and security interest
                        in the deposit account collateral
05/18/2023   CD5        Call with E. Gilad, G. Sasson, M. Griffin,         0.70   1,700.00   1,190.00
                        K. Bell, L. Kaplan, S. Quattrocchi, Z.
                        Silvers, and LK Greenbacker regarding two
                        custodial agreements and our comments to
                        the same
05/18/2023   EG18       Review and comment on PWP cover email              0.30   1,875.00    562.50
                        regarding 2.0 RFP process
05/18/2023   EG18       Call with C. Daniel, L. Kaplan, K. Bell, S.        1.10   1,875.00   2,062.50
                        Quattrocchi, Z. Silvers, G. Sasson, L.
                        Greenbacker, M. Griffin regarding
                        reinvestment issue (.7); follow up discussion
                        with G. Sasson regarding custody
                        agreements and next steps (.4)
05/18/2023   ECS3       Review and comment on proposed bid                 0.90   1,550.00   1,395.00
                        procedures for 2.0
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05/18/2023   ECS3       Review and provide comments to FTI                  0.70   1,550.00   1,085.00
                        Communications regarding input process
05/18/2023   FM7        Correspond with PWP regarding reboot                0.20   1,875.00    375.00
                        launch
05/18/2023   GS13       Review and comment on custody                       2.00   1,625.00   3,250.00
                        agreements (.9); telephone conference with
                        C. Daniel, E. Gilad, L. Kaplan, Z. Silvers, S.
                        Quattrocchi, K. Bell, M. Griffin, L.
                        Greenbacker regarding same (.7); telephone
                        conference with E. Gilad regarding same
                        (.4)
05/18/2023   KEB        Calls with C. Daniel, L. Greenbacker, L.            1.30   1,700.00   2,210.00
                        Kaplan, S. Quattrocchi, M. Griffin
                        regarding custody account and treasury
                        investment analysis
05/18/2023   LED        Review treasury flows deck (.3); correspond         1.00   1,425.00   1,425.00
                        with E. Gilad regarding banking matters
                        (.1); attend call with FTI, C. Daniel, M.
                        Griffin, K. Bell, L. Kaplan, and S.
                        Quattrocchi regarding banking matters (.6)
05/18/2023   LED        Attend call with E. Gilad, G. Sasson, C.            0.70   1,425.00    997.50
                        Daniel, M. Griffin, K. Bell, Z. Silvers, S.
                        Quattrocchi, and L. Kaplan regarding
                        custody agreements
05/18/2023   LDK3       Telephone conference with FTI, C. Daniel,           0.60   1,700.00   1,020.00
                        K. Bell, M. Griffin, L. Greenbacker. S.
                        Quattrocchi regarding custody of t-bills
05/18/2023   LDK3       Follow up call with C. Daniel, M. Griffin,          0.90   1,700.00   1,530.00
                        K. Bell, L. Greenbacker. S. Quattrocchi, Z.
                        Silvers, G. Sasson, E. Gilad regarding
                        custody agreements (.7); review custody
                        agreements (.2)
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05/18/2023   MEG9       Call with Z. Silvers on banking issues (0.5);      2.60   1,425.00   3,705.00
                        call with C. Daniel, K. Bell, L. Kaplan, L.
                        Greenbacker, S. Quattrocchi and FTI on
                        banking risk mitigation (0.6); review J. de
                        Brignac summary of FTX 2.0 issues (0.4);
                        review responses to J. de Brignac email on
                        FTX 2.0 (0.2); call with E. Gilad, G. Sasson,
                        C. Daniel, K. Bell, L. Kaplan, S.
                        Quattrocchi, Z. Silvers, L. Greenbacker
                        regarding banking custodial agreements
                        (0.7); draft email to G. Sasson regarding
                        same (0.2)
05/18/2023   SAQ        Conference with C. Daniel, B. Bromberg,            0.60   1,125.00    675.00
                        M. Diaz, S. Simms, K. Bell, L. Kaplan, M.
                        Griffin, and L. Greenbacker regarding cash,
                        treasuries, and DOJ collateral
05/18/2023   SAQ        Conference with E. Gilad, G. Sasson, M.            0.90   1,125.00   1,012.50
                        Griffin, C. Daniel, K. Bell, L. Kaplan, Z.
                        Silvers and L. Greenbacker regarding
                        treasuries considerations (.7); review
                        custody agreements (.2)
05/18/2023   ZS1        Analyze custody and collateral issues              2.30   1,175.00   2,702.50
                        involving banks (.9); prepare notes
                        regarding same (.2); participate in
                        conference with E. Gilad, G. Sasson, C.
                        Daniel, K. Bell, L. Kaplan, S. Quattrocchi,
                        M. Griffin, L. Greenbacker regarding
                        custody of treasuries serving as collateral for
                        Debtors' deposits (.7); conference with M.
                        Griffin regarding same (.5)
05/19/2023   CD5        Correspond with FTI, Jefferies, L. Kaplan,         0.50   1,700.00    850.00
                        K. Bell, M. Griffin, LK Greenbacker, E.
                        Sibbitt and E. Gilad regarding custody
                        agreements with banks
05/19/2023   LED        Review correspondence from L. Koch                 0.60   1,425.00    855.00
                        regarding diligence documents (.2);
                        correspond with E. Gilad and C. Daniel
                        regarding custody agreements (.4)
05/19/2023   ZS1        Analyze banking deposit and custody                1.60   1,175.00   1,880.00
                        agreements
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Date         Initials   Description                                       Hours      Rate    Amount
05/20/2023   FM7        Correspond with C. Daniels regarding               0.20   1,875.00    375.00
                        CySEC
05/22/2023   KEB        Analyze executed depositary agreement in           0.50   1,700.00    850.00
                        connection with Trustee collateralization
                        requirements depository bank eligibility to
                        hold debtor assets
05/22/2023   LED        Correspond with M. Griffin regarding               0.30   1,425.00    427.50
                        custody agreement open items
05/22/2023   MEG9       Review and revise custodial agreements for         4.40   1,425.00   6,270.00
                        banks
05/23/2023   AS61       Review information on CySEC and Cypriot            2.40   1,900.00   4,560.00
                        subsidiary (0.7); prepare due diligence issues
                        list regarding same (1.7)
05/23/2023   LED        Review custody agreement comments (.3);            0.50   1,425.00    712.50
                        review correspondence from K. Bell
                        regarding S&C comments on same (.2)
05/23/2023   MEG9       Email G. Sasson re: Sullivan & Cromwell            0.50   1,425.00    712.50
                        edits to agreement on custody of treasuries
                        (0.1); review Sullivan and Cromwell edits to
                        banking agreement (0.3); email G. Sasson
                        regarding my comments on banking
                        agreement (0.1)
05/24/2023   AS61       Review CySEC matters and MiFID                     3.50   1,900.00   6,650.00
                        (Markets in Financial Instruments
                        Directive) (0.6); prepare talking points for
                        calls on same (1.6); analyze Cypriot
                        implementation of MiFID and local rules
                        on suspension (0.6); attend pre-call with G.
                        Sasson, B. Kelly, C. Diaz, F. Merola
                        regarding same and to prepare for call (.3);
                        attend follow up debrief call with G.
                        Sasson, C. Daniel, L. Greenbacker, M.
                        Griffin regarding next steps in relation to
                        same (.4)
05/24/2023   CD19       Call with G. Sasson, B. Kelly, F. Merola,          0.30   1,125.00    337.50
                        and A. Srivastava re FTX Europe
05/24/2023   CD5        Attend call with LK Greenbacker, M.                0.40   1,700.00    680.00
                        Griffin, A. Srivastava, G. Sasson regarding
                        FTX Europe analysis
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05/24/2023   EG18       Review and comment on next steps for                0.70   1,875.00     1,312.50
                        FTX 2.0
05/24/2023   GS13       Review FTX EU presentations and CySEC               1.80   1,625.00     2,925.00
                        diligence lists (1.1); call with A. Srivastava,
                        B. Kelly, F. Merola, C. Diaz regarding same
                        (.3); call with C. Daniel, A. Srivastava, L.
                        Greenbacker, M. Griffin regarding same (.4)
05/24/2023   LED        Attend debtor debrief call with C. Daniel,          0.40   1,425.00      570.00
                        A. Srivastava, G. Sasson and M. Griffin
                        regarding FTX Europe and CySec queries
05/24/2023   MEG9       Call with C. Daniel, LK Greenbacker, A.             0.90   1,425.00     1,282.50
                        Srivastava, G. Sasson regarding CySEC and
                        next steps in CySEC analysis (0.4); prepare
                        notes regarding follow up steps (.1); call
                        with S. Quattrocchi regarding surety bonds
                        and media review (0.4)
05/24/2023   SAQ        Conference with M. Griffin regarding surety         0.40   1,125.00      450.00
                        bonds and related regulatory questions
05/25/2023   AS61       Review new equity investment issues and             2.10   1,900.00     3,990.00
                        FTX Europe term sheet
05/26/2023   ECS3       Review market developments relevant to              0.70   1,550.00     1,085.00
                        FTX reboot of claim tokenization
05/26/2023   KP17       Emails with UST, FTI re banking UDA                 0.30   1,875.00      562.50
05/30/2023   FM7        Analyze Debtors' FTX 2.0 update                     0.20   1,875.00      375.00
05/30/2023   LED        Review correspondence from C. Daniel                0.80   1,425.00     1,140.00
                        regarding FTX 2.0 (.2); correspond with G.
                        Sasson regarding banking arrangement open
                        items (.3); review deposit agreement (.3)
05/31/2023   EG18       Call with investor re FTX 2.0                       0.40   1,875.00      750.00
05/31/2023   KP17       Call with K. Hansen and interested party            1.10   1,875.00     2,062.50
                        regarding 2.0
05/31/2023   KH18       Call with K. Pasquale regarding FTX 2.0             1.10   2,075.00     2,282.50
                        and interested party
05/31/2023   LED        Correspond with C. Daniel regarding FTX             0.40   1,425.00      570.00
                        regulatory matters (.2); review summary bid
                        information regarding FTX 2.0 (.2)
             Subtotal: B215 Regulatory Matters                            150.00              247,303.00
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B220   Employee Benefits/Pensions
05/01/2023   EG18       Correspond with FTI regarding KEIP                  0.30   1,875.00    562.50
05/01/2023   KE1        Legal research regarding key employee               4.10    550.00    2,255.00
                        incentive plan for FTX Japan
             Subtotal: B220 Employee Benefits/Pensions                      4.40              2,817.50




B230   Financing/Cash Collections
05/01/2023   GS13       Review cash flow analysis (.9); telephone           1.50   1,625.00   2,437.50
                        conference with FTI and I. Sasson
                        regarding same (.6)
05/01/2023   IS6        Call with FTI and G. Sasson re cash flow            0.60   1,290.00    774.00
                        analysis
05/02/2023   EG18       Review and comment on FTI cash flow                 0.20   1,875.00    375.00
                        forecast
05/02/2023   EG18       Review and comment on cash management               0.20   1,875.00    375.00
                        order in response to FTI inquiry
05/05/2023   EG18       Telephone conference with FTI regarding             0.50   1,875.00    937.50
                        cash and Treasuries (0.3); correspond with
                        FTI regarding same (0.2)
05/10/2023   MEG9       Review FTX Treasury flows from G.                   0.80   1,425.00   1,140.00
                        Sasson (0.3); review info from B. Bromberg
                        re: Treasuries and placement of funds (0.3);
                        review info from B. Bromberg re: FTX EU
                        spend (0.2)
             Subtotal: B230 Financing/Cash Collections                      3.80              6,039.00




B240   Tax Issues
05/09/2023   GS15       Correspond with S. Joffe (FTI) and B                0.60   1,600.00    960.00
                        Bromberg (FTI) re IRS proofs of claim
                        filings (.4); call with D. Hariton re same (.2)
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05/10/2023   EG18       Review IRS proofs of claim and supporting         0.90   1,875.00   1,687.50
                        documents
05/10/2023   FM7        Analyze IRS claims and FTI                        0.30   1,875.00    562.50
                        correspondence regarding same
05/11/2023   DM26       Research regarding proofs of claim filed by       1.30    540.00     702.00
                        the IRS (1.2); correspond with E. Gilad re
                        same (.1)
05/11/2023   FM7        Analyze IRS claims (0.3); analyze FTI             0.70   1,875.00   1,312.50
                        commentary regarding IRS claims (0.2);
                        analyze E. Silber correspondence regarding
                        IRS claims (0.2)
05/12/2023   FM7        Correspond with G. Silber and FTI                 0.20   1,875.00    375.00
                        regarding IRS claims
05/12/2023   GS15       Analyze certain plan tax considerations           3.20   1,600.00   5,120.00
                        (2.3); prepare summary of same (.9)
05/15/2023   GS15       Review IRS claims filings                         0.20   1,600.00    320.00
05/17/2023   FM7        Correspond with G. Silber regarding IRS           0.40   1,875.00    750.00
                        claim updates (0.2); review FTI
                        correspondence regarding IRS claims (0.2)
05/17/2023   GS13       Review IRS claims                                 1.40   1,625.00   2,275.00
05/17/2023   GS15       Review IRS tax claim filings (.7); emails         0.90   1,600.00   1,440.00
                        with G. Sasson and S. Joffe (FTI) re same
                        (.2)
05/17/2023   JI2        Analyze IRS claims (1.3); correspond with         1.80   1,125.00   2,025.00
                        G. Sasson and E. Gilad re same (.3); call
                        with B. Bromberg (FTI) re same (.2)
05/17/2023   LK19       Emails with G. Sasson and J. Iaffaldano           0.40    855.00     342.00
                        regarding IRS claims
05/17/2023   ML30       Correspond with I. Sasson re IRS claims           0.30    540.00     162.00
                        (.1); research and prepare documents re IRS
                        claims for I. Sasson (.2)
05/18/2023   EG18       Review and analysis re regarding IRS proofs       0.60   1,875.00   1,125.00
                        of claim
05/18/2023   FM7        Analyze S&C summary of tax claims (0.2);          0.40   1,875.00    750.00
                        review FTI correspondence regarding tax
                        claims (0.2)
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05/18/2023   GS15       Review IRS tax claim filings (.8); prepare        3.20   1,600.00   5,120.00
                        summaries of same (.6); call with N. Wong
                        (PH) regarding questions related to same
                        (.2); analyze tax claim issues (1.6)
05/18/2023   JI2        Analyze IRS claims (2.3); prepare chart           3.90   1,125.00   4,387.50
                        detailing same (1.1); correspond with E.
                        Gilad, G. Silber and N. Wong re same (.3);
                        correspond with B. Bromberg (FTI) re
                        same (.2)
05/18/2023   LK19       Emails with J. Iaffaldano regarding IRS           0.20    855.00     171.00
                        proofs of claim
05/18/2023   NKW1       Update FTX - IRS claims summary (.6);             3.70    855.00    3,163.50
                        correspond with J. Iaffaldano regarding tax
                        employee identification numbers and proofs
                        of claim (.1); correspond with J. Iaffaldano
                        regarding same (.2); conference with G.
                        Silber regarding IRS claims (.2); review IRS
                        proof of claim documents (1.7); revise FTX
                        - IRS claims summary to reflect types of tax
                        associated with each claim (.9)
05/19/2023   AAN1       Analyze IRS claim and related claim               2.40   1,235.00   2,964.00
                        documents (2.1); prepare notes regarding
                        same (.3)
05/19/2023   FM7        Correspond with FTI regarding tax claims          0.20   1,875.00    375.00
05/19/2023   GS15       Continue to summarize IRS tax claim filings       0.70   1,600.00   1,120.00
                        (.2); further analyze legal issues regarding
                        same (.5)
05/19/2023   NKW1       Correspond with G. Silber regarding FTX -         0.20    855.00     171.00
                        IRS claims summary and related tax claims
                        questions
05/22/2023   GS15       Continue to analyze IRS tax claims and            2.00   1,600.00   3,200.00
                        underlying documents (.4); analyze impact
                        of partnership audit rules on IRS tax claims
                        (1.6)
05/23/2023   GS15       Analyze IRS tax claims and related response       1.40   1,600.00   2,240.00
                        (.3); analyze impact of partnership audit
                        rules on IRS tax claims (1.1)
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05/23/2023   NKW1       Analyze and prepare notes on Internal             1.70    855.00     1,453.50
                        Revenue Code and Internal Revenue
                        Service website regarding partnership
                        auditing rules and partnership
                        representative rules (1.4); correspond with
                        G. Silber regarding the same (.3)
05/24/2023   GS15       Review and comment on FTI summary of              2.10   1,600.00    3,360.00
                        IRS claims (1.7); analyze impact of
                        partnership audit rules on IRS claims (.4)
05/24/2023   NKW1       Review Treasury Regulation Section                2.30    855.00     1,966.50
                        301.6223 and application to IRS proofs of
                        claim (.8); review instructions for Form
                        8979 regarding the designation of a
                        partnership representative (.3); correspond
                        with G. Silber regarding the same (.4);
                        review presentation from FTI Consulting
                        regarding IRS proofs of claim (.4);
                        correspond with G. Silber regarding the
                        same (.4)
05/25/2023   GS15       Further review and comment on FTI                 0.90   1,600.00    1,440.00
                        summary of IRS claims
05/25/2023   NKW1       Review IRS claims spreadsheet and                 0.60    855.00      513.00
                        Alameda Research LLC claims regarding
                        FICA amounts (.3); correspond with G.
                        Silber regarding the same (.3)
05/30/2023   GS15       Review and comment on IRS claims                  0.60   1,600.00     960.00
                        summary (.5); emails with E. Gilad and G.
                        Sasson re same (.1)
05/31/2023   EG18       Review and comment on IRS claims                  0.30   1,875.00     562.50
05/31/2023   GS15       Telephone conference with S&C tax and             1.80   1,600.00    2,880.00
                        FTI re tax updates (.4); follow-up
                        discussion with S. Joffe (FTI) regarding
                        same (.3); analyze issues identified in
                        connection with IRS proofs of claim (1.1)
             Subtotal: B240 Tax Issues                                   41.80              55,956.00
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B261   Investigations
05/01/2023   IS6        Review and revise Committee investigative          1.20   1,290.00   1,548.00
                        update deck (1.0); analyze topics re same
                        (.2)
05/01/2023   LM20       Update FTX investigation memoranda                 1.50    855.00    1,282.50
                        (0.6); review documents and Quinn
                        Emanuel memoranda re same (0.9)
05/01/2023   LK19       Analyze draft Rule 2004 requests to 2004,          0.60    855.00     513.00
                        2010, 2006, and 2003 received from Quinn
                        Emanuel (0.5); email I. Sasson and K.
                        Pasquale regarding same (0.1)
05/02/2023   EG18       Analyze terms and issues regarding 5060            0.60   1,875.00   1,125.00
                        settlement
05/02/2023   IS6        Draft response to post-mortem email                3.10   1,290.00   3,999.00
                        regarding 5060 settlement (1.8); analysis re
                        same (.6); supplement document review
                        protocol (.7)
05/02/2023   KP17       Review open issues and prepare notes for           2.20   1,875.00   4,125.00
                        meet & confer (.2); meet and confer
                        meeting with 1007, Quinn Emanuel, L.
                        Koch regarding Rule 2004 requests (.5);
                        review select documents re potential
                        litigation target (1.5)
05/02/2023   LM20       Update investigation memoranda summary             1.20    855.00    1,026.00
                        (1.0); correspond with I. Sasson re same
                        (0.2)
05/02/2023   LK19       Email UnitedLex regarding Relativity               0.90    855.00     769.50
                        database and Debtors' documents (0.1);
                        attend Rule 2004 meet and confer with J.
                        Palmerson (QE), A. Alden (QE), K.
                        Pasquale, and 1007 (0.5); emails with A.
                        Ecklund and UnitedLex regarding
                        document production from the Debtors
                        (0.3)
05/03/2023   RJ1        Call with I. Sasson, L. Koch, L. Miliotes re       0.60    855.00     513.00
                        UCC investigation and related document
                        review (.5); prepare notes regarding same
                        (.1)
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Date         Initials   Description                                      Hours      Rate    Amount
05/03/2023   EJO        Review investigation background                   2.00    855.00    1,710.00
                        documents, including declaration of J. Ray,
                        first interim report of J. Ray, and FTX
                        January 2023 UCC professionals meeting
                        slide deck
05/03/2023   EJO        Video conference with I. Sasson, L. Koch,         0.50    855.00     427.50
                        L. Miliotes regarding UCC investigation,
                        next steps, and related document review
05/03/2023   IS6        Call with L. Koch, L. Miliotes, N. John, L.       0.50   1,290.00    645.00
                        Duffy, R. Jackson, D. Brey, E. Oakley re
                        UCC investigations and next steps in
                        document review
05/03/2023   LM20       Meet with I. Sasson, L. Koch, N. John, R.         1.80    855.00    1,539.00
                        Jackson, L. Duffy, D. Brey, E. Oakley re
                        UCC investigation plan and document
                        review protocol (0.5); update investigation
                        memoranda re 5016 investments (1.2);
                        correspond with N. Nicholson Gaviria re
                        investigation memoranda (0.1)
05/03/2023   LK19       Meeting with I. Sasson, L. Miliotes, N.           1.10    855.00     940.50
                        John, R. Jackson, E. Oakley, D. Brey, L.
                        Duffy regarding UCC investigation and
                        related document review (0.5); revise
                        document review strategy document and
                        issues list (0.5); email J. Palmerson (QE)
                        regarding Rule 2004 meet and confer with
                        2007 (0.1)
05/03/2023   LPD        Call with I. Sasson, L. Koch, L. Miliotes         4.10    855.00    3,505.50
                        regarding investigative process and
                        document review for FTX UCC (.5); review
                        first interim report of J. Ray and related
                        documents (2.8); review declaration of J.
                        Ray in support of Chapter 11 petitions and
                        first day pleadings (.4); review January 2023
                        UCC meeting deck (.4)
05/03/2023   NMN        Update FTX investigation memorandum               6.40    915.00    5,856.00
                        for potential causes of action
05/03/2023   NJ2        Attend call with I. Sasson, L. Koch, L.           0.50    855.00     427.50
                        Miliotes re: UCC investigation, document
                        production and document review
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Date         Initials   Description                                       Hours      Rate    Amount
05/04/2023   RJ1        Review investigation background                    2.20    855.00    1,881.00
                        documents, including first day declaration,
                        Debtors' first interim report, and January
                        2023 UCC meeting presentation
05/04/2023   LK19       Update Rule 2004 investigation tracker             0.90    855.00     769.50
                        (0.4); correspond with J. Palmerson (QE)
                        regarding Rule 2004 discovery (0.2);
                        correspond with A. Ecklund and UnitedLex
                        regarding third party productions (1005)
                        (0.3)
05/05/2023   RJ1        Attend Relativity training with UnitedLex          0.70    855.00     598.50
                        for UCC investigation topics, targets, and
                        related document/data review (.5); begin to
                        review investigation documents (.2)
05/05/2023   FM7        Review K. Pasquale correspondence                  0.60   1,875.00   1,125.00
                        regarding 5065 investigation (0.1);
                        telephone conference with K. Hansen and
                        G. Sasson regarding 5065 investigation (0.5)
05/05/2023   GS13       Review 5065 APA, related emails and                3.30   1,625.00   5,362.50
                        presentations (2.2); conference with K.
                        Hansen and F. Merola regarding next steps
                        in investigation (.5); review related rule 2004
                        requests (.6)
05/05/2023   IS6        Analyze 5065 background information (2.7);         3.10   1,290.00   3,999.00
                        draft discovery requests re same (.4).
05/05/2023   KP17       Analyze 5065 transaction issues (2.6); email       2.80   1,875.00   5,250.00
                        S&C re 5065 requests (.2)
05/05/2023   KH18       Conference with G. Sasson and F. Merola            0.50   2,075.00   1,037.50
                        regarding next steps in 5065 investigation
05/05/2023   LM20       Call with L. Tsao and N. Nicholson Gaviria         0.80    855.00     684.00
                        regarding potential causes of action (0.5);
                        review updates to investigation memoranda
                        (0.3)
05/05/2023   LT9        Review and revise legal analysis memoranda         0.30   1,525.00    457.50
                        on investigation
05/05/2023   LT9        Videoconference with L. Miliotes and N.            0.50   1,525.00    762.50
                        Nicholson Gaviria on potential causes of
                        action and investigative steps
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Date         Initials   Description                                      Hours      Rate    Amount
05/05/2023   LK19       Attend Relativity training with United Lex        0.80    855.00     684.00
                        in connection with UCC investigation
                        document/data review (0.5); email L.
                        Miliotes and I. Sasson regarding document
                        review and investigation plan (0.3)
05/05/2023   LK19       Analyze documents regarding 5065                  1.20    855.00    1,026.00
05/05/2023   NMN        Conference with L. Tsao and L. Miliotes           0.50    915.00     457.50
                        regarding potential causes of action and
                        related investigation memorandum
05/05/2023   NJ2        Attend relativity training with UnitedLex re:     0.80    855.00     684.00
                        UCC investigation documents/data (.5);
                        begin review of same (.3)
05/06/2023   EG18       Review correspondence from K. Pasquale,           0.20   1,875.00    375.00
                        I. Sasson regarding 5065 investigation
05/06/2023   IS6        Prepare parts of 5065 document requests.          1.90   1,290.00   2,451.00
05/06/2023   KP17       Continued factual analysis re 5065 (1.1);         1.40   1,875.00   2,625.00
                        emails with L. Koch, I. Sasson re same and
                        5065 investigation process (.3)
05/06/2023   LK19       Analyze issues and authority regarding 5065       4.40    855.00    3,762.00
                        (0.5); analyze filings regarding 5065 (0.6);
                        draft Rule 2004 requests to 5065 (1.9);
                        emails with K. Pasquale and I. Sasson
                        regarding same (0.3); revise Rule 2004
                        requests to 5065 per their input (1.1)
05/07/2023   EG18       Review and comment on 5065 document               0.80   1,875.00   1,500.00
                        request
05/07/2023   IS6        Review and revise 5065 Rule 2004 requests         2.00   1,290.00   2,580.00
                        (1.2); review and comment on investigation
                        document review plan (.8).
05/07/2023   KP17       Review and revise draft Rule 2004 requests        1.20   1,875.00   2,250.00
                        to 5065 (.8); correspond with I. Sasson re
                        same (.4)
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Date         Initials   Description                                        Hours      Rate    Amount
05/07/2023   LK19       Correspond with I. Sasson and United Lex            3.80    855.00    3,249.00
                        regarding document review and
                        investigation (0.7); draft list of investigation
                        targets and document review strategy (0.3);
                        correspond with K. Pasquale and I. Sasson
                        regarding Rule 2004 requests to 5065 (0.2);
                        revise Rule 2004 document requests to 5065
                        (0.8); correspond with I. Sasson regarding
                        Rule 2004 application regarding 5065 (0.2);
                        draft Rule 2004 application regarding 5065
                        (1.6)
05/07/2023   MEG9       Review documents from K. Pasquale re:               0.20   1,425.00    285.00
                        5065
05/08/2023   RJ1        Review documents produced by FTX for                0.70    855.00     598.50
                        potential causes of action re 5119
05/08/2023   IS6        Email with 5065 counsel re rule 2004 notice         1.20   1,290.00   1,548.00
                        (.2); review initial 5065 information (.5);
                        review and comment on investigation first
                        level review platform (.5)
05/08/2023   KP17       Review information from Jefferies re 5065           1.60   1,875.00   3,000.00
                        (1.1); call with Quinn Emanuel re Grayscale
                        update (.3); correspond with I. Sasson re
                        same (.2)
05/08/2023   LK19       Conference with W. Clark (UnitedLex)                5.40    855.00    4,617.00
                        regarding Relativity document review (0.6);
                        correspond with R. Jackson, L. Duffy, I.
                        Sasson and W. Clark (UnitedLex) regarding
                        Relativity document review (0.7);
                        correspond with K. Pasquale regarding
                        2008 Rule 2004 requests (0.5); correspond
                        with UnitedLex regarding document
                        production from the Debtors (0.3); prepare
                        parts of Rule 2004 application regarding
                        5065 (2.1); analyze issues and related case
                        law regarding 5065 (1.2)
05/08/2023   LPD        Review documents produced by FTX for                1.20    855.00    1,026.00
                        potential causes of action re 5009
05/08/2023   MOL        Prepare FTX third party productions for             0.50    375.00     187.50
                        investigative review
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Date         Initials   Description                                       Hours      Rate    Amount
05/09/2023   IS6        Prepare discovery work plan for new                1.40   1,290.00   1,806.00
                        reviewers and review palette (1.1); analyze
                        5065 matters and issues (.3).
05/09/2023   JI2        Review pretrial motions and declarations           1.80   1,125.00   2,025.00
                        filed in 3007 criminal case (.9); prepare
                        summaries of same (.9)
05/09/2023   KP17       Review issues and notes regarding 2008             1.90   1,875.00   3,562.50
                        Rule 2004 requests (.8); meeting with 2008
                        counsel, FDIC re Rule 2004 requests (1.1)
05/09/2023   LK19       Email UnitedLex regarding third party              1.90    855.00    1,624.50
                        production from 2009 (0.1); email
                        UnitedLex regarding documents produced
                        by the Debtors (0.1); email UnitedLex
                        regarding Relativity coding for UCC
                        investigation (0.2); email with G. Sasson, I.
                        Sasson regarding UCC investigation and
                        document review (0.5); analyze documents
                        in Relativity regarding (5065) (0.6); update
                        Rule 2004 discovery tracker (0.4)
05/09/2023   LPD        Correspond with L. Koch regarding                  1.70    855.00    1,453.50
                        strategic approach to 5009 investigation (.4);
                        review documents for activities between
                        5009 and FTX (1.3)
05/09/2023   NMN        Draft criminal docket update re: 3007              4.40    915.00    4,026.00
05/10/2023   RJ1        Review documents produced by FTX for               0.30    855.00     256.50
                        potential causes of action re 5119
05/10/2023   RJ1        Correspond with L. Koch re certain                 1.00    855.00     855.00
                        documents on Relativity (.2); review
                        documents produced by FTX for potential
                        causes of action re 5119 (.8)
05/10/2023   IS6        Review 5006 related diligence.                     0.70   1,290.00    903.00
05/10/2023   JI2        Prepare summary of certain 3007 criminal           1.50   1,125.00   1,687.50
                        case pleadings (1.2); emails with N.
                        Nicholson re same (.3)
05/10/2023   LT9        Draft correspondence to K. Pasquale on             0.40   1,525.00    610.00
                        investigative updates
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Date         Initials   Description                                      Hours      Rate    Amount
05/10/2023   LK19       Correspond with R. Jackson regarding              0.20    855.00     171.00
                        document review strategy (0.1); correspond
                        with L. Miliotes regarding document review
                        strategy (0.1)
05/10/2023   LPD        Review documents produced by FTX for              2.60    855.00    2,223.00
                        potential causes of action re: 5009
05/10/2023   MEG9       Review 3007 criminal docket update                0.30   1,425.00    427.50
05/10/2023   NMN        Draft criminal docket update re: 3007             0.60    915.00     549.00
05/11/2023   LM20       Update investigation memoranda                    0.60    855.00     513.00
05/11/2023   LK19       Prepare notes for meet & confer (0.2);            0.70    855.00     598.50
                        attend meet & confer with J. Palmerson
                        (QE), A. Alden (QE), and 2007 (0.5)
05/11/2023   LPD        Review documents produced by FTX for              4.00    855.00    3,420.00
                        potential causes of action re: 5009
05/11/2023   ML30       Correspond with I. Sasson re precedent            1.20    540.00     648.00
                        needed (.2); research and prepare same for
                        I. Sasson (1.0)
05/11/2023   MOL        Prepare FTX productions for investigative         0.50    375.00     187.50
                        review
05/12/2023   RJ1        Review documents produced by FTX for              3.20    855.00    2,736.00
                        potential causes of action re: 5036 (2.5);
                        review documents produced by FTX for
                        potential causes of action re: 5119 (.7)
05/12/2023   IS6        Call with L. Duffy re 5009 document review        0.80   1,290.00   1,032.00
                        (.2); call with L. Metzger (Orrick), D.
                        Cafasso (Orrick), L. Koch re 5065 rule 2004
                        requests (.4); correspond with K. Pasquale
                        re same (.2)
05/12/2023   LK19       Attend meet & confer with I. Sasson, L.           1.40    855.00    1,197.00
                        Metzger (Orrick) and D. Cafasso (Orrick)
                        regarding 5065 Rule 2004 requests (0.4);
                        follow up correspondence with I. Sasson
                        regarding same (0.1); emails to K. Pasquale
                        and I. Sasson regarding same (0.2); attend
                        meet & confer with A. Alden (QE), S. Hill
                        (QE), and S. Rivers 1006 regarding Rule
                        2004 request to 1006 (0.7)
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Date         Initials   Description                                     Hours      Rate    Amount
05/12/2023   LPD        Review documents for activities between          4.30    855.00    3,676.50
                        5009 and FTX (4.1); call with I. Sasson
                        regarding same (.2)
05/13/2023   RJ1        Analyze documents produced by FTX for            4.10    855.00    3,505.50
                        potential causes of action re: 5119 in
                        connection with UCC investigation
05/14/2023   LPD        Review documents produced by FTX for             2.90    855.00    2,479.50
                        potential causes of action re: 5009
05/15/2023   EJO        Correspond with I. Sasson and L. Koch            0.50    855.00     427.50
                        regarding analysis of documents related to
                        investigation of the Debtors
05/15/2023   IS6        Participate in 5065 Rule 2004 meet and           0.50   1,290.00    645.00
                        confer with K. Pasquale, L. Koch and
                        Orrick (5065 counsel)
05/15/2023   KP17       Review Friedberg declaration filed in            3.00   1,875.00   5,625.00
                        Garrison (FL) litigation (.2); review 5065
                        Rule 2004 issues prior to meet & confer
                        (.2); meet and confer call with 5065 counsel
                        (Orrick), L. Koch, I. Sasson re Rule 2004
                        requests (.5); analyze select documents re
                        5065 (1.2); review select documents recently
                        produced in Rule 2004 process
                        (accountants) (.9)
05/15/2023   LM20       Prepare parts of 5002, 5013, and 5016            4.80    855.00    4,104.00
                        investigation memoranda (0.8); correspond
                        with N. Nicholson Gaviria re same (0.3);
                        correspond with I. Sasson re investigation
                        memoranda and related deadlines (0.1); call
                        with L. Tsao re investigation memoranda
                        (0.2); review documents produced by
                        Debtor for causes of action related to 5004
                        and 5004 (3.1); draft memoranda re same
                        (0.3)
05/15/2023   LT9        Telephone conference with L. Miliotes on         0.50   1,525.00    762.50
                        investigative memoranda and next steps
                        (.2); review investigation memo updates and
                        additional targets (.3)
05/15/2023   LT9        Correspond with I. Sasson on investigative       0.20   1,525.00    305.00
                        plan and next steps
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Date         Initials   Description                                      Hours      Rate    Amount
05/15/2023   LK19       Prepare notes for 5065 meet & confer (0.3);       1.10    855.00     940.50
                        attend meet & confer with K. Pasquale, I.
                        Sasson, L. Metzger (Orrick), and D. Cafasso
                        (Orrick) regarding 5065 (0.5); emails with
                        UnitedLex and I. Sasson regarding 5065
                        investigation document productions (0.3)
05/15/2023   LPD        Review documents produced by FTX for              0.50    855.00     427.50
                        potential causes of action re: 5009
05/15/2023   MOL        Prepare FTX third party productions for           0.80    375.00     300.00
                        investigative review
05/15/2023   NMN        Supplement FTX investigation                      1.30    915.00    1,189.50
                        memorandum for potential causes of action
05/15/2023   NJ2        Review documents of interest re: 5097             8.00    855.00    6,840.00
05/16/2023   EJO        Review documents produced by FTX for              3.30    855.00    2,821.50
                        potential causes of action re: 5038 (2.8);
                        conference with L. Koch regarding same
                        and investigation plan (.5)
05/16/2023   JI2        Review 4001 disclosure statement (1.2);           2.30   1,125.00   2,587.50
                        analyze issues re FTX and Alameda claims
                        against 4001 (1.1)
05/16/2023   KP17       Prepare notes for 2003 meet & confer (.2);        2.20   1,875.00   4,125.00
                        participate in Rule 2004 meet & confer call
                        with Quinn Emanuel, 2003, L. Koch (.7);
                        review select documents from database re
                        same (1.3)
05/16/2023   LK19       Telephone call with E. Oakley regarding           3.20    855.00    2,736.00
                        UCC investigation plan (0.5); prepare notes
                        for 2003 Rule 2004 meet & confer (0.1);
                        attend meet & confer with J. Bailey (Butler
                        Snow), A. Alden (QE), and K. Pasquale
                        regarding 2003 rule 2004 discovery (0.7);
                        emails with K. Pasquale regarding same
                        (0.1); emails with UnitedLex regarding 5065
                        investigation documents (0.2); prepare
                        investigation and litigation update for
                        05/19/23 Committee meeting (1.6)
05/16/2023   MOL        Prepare FTX third party productions for           0.50    375.00     187.50
                        investigative review
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Date         Initials   Description                                      Hours      Rate    Amount
05/16/2023   NMN        Update FTX investigation memorandum               1.20    915.00    1,098.00
                        for potential causes of action
05/17/2023   RJ1        Review documents produced by FTX for              0.40    855.00     342.00
                        potential causes of action re: 5119 in
                        connection with UCC investigation
05/17/2023   EJO        Review documents produced by FTX for              0.80    855.00     684.00
                        potential causes of action re: 5038
05/17/2023   IS6        Prepare parts of investigations update            2.30   1,290.00   2,967.00
                        presentations (1.9); emails with L. Koch and
                        L. Miliotes re same (.4)
05/17/2023   KP17       Analyze draft memos re investigations of          1.60   1,875.00   3,000.00
                        5002, 5016, 5023, 5028, and 5013
05/17/2023   LM20       Call with L. Tsao and N. Nicholson Gaviria        6.90    855.00    5,899.50
                        re investigation memoranda (.4);
                        correspond with N. Nicholson Gaviria re
                        comments on investigation memoranda
                        (0.3); prepare parts of investigation
                        memoranda regarding 5002, 5016, 5013,
                        and 50523 (1.4); prepare additional parts of
                        investigation memoranda prior to sharing
                        with Committee (1.8); correspond with I.
                        Sasson re same (0.2); correspond with L.
                        Koch re same (0.2); correspond with A.
                        Gomez Abreu re Committee investigation
                        plan (0.3); review documents produced by
                        FTX for potential causes of action re 5004
                        (2.3)
05/17/2023   LT9        Review and revise memoranda on                    0.70   1,525.00   1,067.50
                        investigative plan
05/17/2023   LT9        Draft correspondence to N. Gaviria                0.10   1,525.00    152.50
                        regarding investigative plan
05/17/2023   LT9        Videoconference with L. Miliotes and N.           0.40   1,525.00    610.00
                        Nicholson Gaviria on investigative plan and
                        next steps
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Date         Initials   Description                                       Hours      Rate    Amount
05/17/2023   LK19       Correspond with I. Sasson regarding                3.50    855.00    2,992.50
                        investigation strategy (0.4); correspond with
                        UnitedLex regarding 2009 document
                        production (0.2); update Rule 2004
                        discovery tracker (0.8); prepare parts of
                        litigation and investigations presentation for
                        the Committee (2.1)
05/17/2023   LPD        Review documents for activities between            0.50    855.00     427.50
                        5009 and FTX
05/17/2023   NMN        Conference with L. Tsao and L. Miliotes            0.40    915.00     366.00
                        regarding investigation memorandum for
                        potential causes of action
05/17/2023   NMN        Update FTX investigation memorandum                0.10    915.00      91.50
                        for potential causes of action
05/17/2023   NJ2        Review data room for documents related to          4.50    855.00    3,847.50
                        5097
05/18/2023   EJO        Telephone conference with L. Koch, I.              0.30    855.00     256.50
                        Sasson, and N. John regarding investigative
                        document review and next steps
05/18/2023   EJO        Review documents produced by FTX for               1.50    855.00    1,282.50
                        potential causes of action re: 5038
05/18/2023   IS6        Call with L. Koch, E. Oakley, and N. John          0.30   1,290.00    387.00
                        re outstanding discovery
05/18/2023   KP17       Review and revise updated investigations           4.30   1,875.00   8,062.50
                        deck for Committee and referenced
                        documents (1.8); review documents re
                        Bahamas investigation issue (.8); analyze
                        documents re insiders bonuses (1.7)
05/18/2023   LM20       Review documents produced by FTX for               4.70    855.00    4,018.50
                        potential causes of action related to 5004
                        (4.3); prepare summary re same (0.4)
05/18/2023   LK19       Prepare inserts to litigations and                 1.80    855.00    1,539.00
                        investigation presentation for 05/19/23
                        Committee meeting (1.5); conference with
                        I. Sasson, E. Oakley, and N. John regarding
                        UCC investigation and next steps in
                        document review (0.3)
05/18/2023   LPD        Review documents produced by FTX for               0.60    855.00     513.00
                        potential causes of action re: 5009
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Date         Initials   Description                                      Hours      Rate    Amount
05/18/2023   NJ2        Review documents produced by FTX for              5.20    855.00    4,446.00
                        potential causes of action re: 5097
05/18/2023   NJ2        Meeting with L. Koch, I. Sasson, E. Oakley        0.30    855.00     256.50
                        regarding UCC investigation and next steps
05/19/2023   AJGA       Update FTX investigation memorandum               2.20    855.00    1,881.00
                        for potential causes of action
05/19/2023   IS6        Emails to United Lex re recent Debtor             0.50   1,290.00    645.00
                        productions.
05/19/2023   LM20       Review documents produced by FTX re               2.50    855.00    2,137.50
                        investigation of 5004 (.9); review documents
                        produced by FTX re investigation of 5020
                        (1.6)
05/19/2023   LK19       Analyze documents produced by Jefferies           1.40    855.00    1,197.00
                        regarding 5065 (1.0); email UnitedLex
                        regarding document productions from the
                        Debtors (0.3); correspond with R. Klute
                        regarding UCC investigation (0.1)
05/19/2023   LPD        Review documents produced by FTX for              5.10    855.00    4,360.50
                        potential causes of action re: 5009 (4.9);
                        prepare summary of same (.2)
05/19/2023   MOL        Prepare FTX third party productions for           0.50    375.00     187.50
                        investigative review
05/20/2023   KP17       Analyze documents produced by Debtors re          1.40   1,875.00   2,625.00
                        5065
05/20/2023   LPD        Review documents produced by FTX for              2.20    855.00    1,881.00
                        potential causes of action re: 5009 (2.1);
                        prepare summary of same (.1)
05/21/2023   KP17       Analyze 5065 information, documents (1.7);        1.90   1,875.00   3,562.50
                        emails with I. Sasson re same (.2)
05/21/2023   LM20       Review FTX documents for potential                2.00    855.00    1,710.00
                        causes of action re 5020 (1.4); prepare
                        investigative analysis re same (0.6)
05/22/2023   AJGA       Update FTX investigation memorandum               3.70    855.00    3,163.50
                        for potential causes of action
05/22/2023   EJO        Review 5038 documents produced by the             3.40    855.00    2,907.00
                        Debtors for investigation of potential
                        causes of action
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Date         Initials   Description                                      Hours      Rate    Amount
05/22/2023   IS6        Email Orrick re 5065 meet and confer (.2);        0.60   1,290.00    774.00
                        review 5065 documents re same (.4)
05/22/2023   KP17       Review transaction and related documents          1.80   1,875.00   3,375.00
                        re ventures party 5089
05/22/2023   LM20       Draft investigation memoranda re 5020             3.10    855.00    2,650.50
                        (2.8); review documents produced by FTX
                        re same (0.3)
05/22/2023   LK19       Emails with UnitedLex regarding third party       0.70    855.00     598.50
                        productions from 2003 (0.2); emails with
                        UnitedLex regarding third party
                        productions from 1005 (0.2); update Rule
                        2004 discovery tracker (0.3)
05/22/2023   LPD        Review documents produced by FTX for              5.60    855.00    4,788.00
                        potential causes of action re: 5009 (5.4);
                        prepare summary of same (.2)
05/22/2023   NMN        Update FTX investigation memorandum               3.30    915.00    3,019.50
                        for potential causes of action
05/23/2023   AJGA       Update FTX investigation memorandum               2.80    855.00    2,394.00
                        for potential causes of action
05/23/2023   JDA        Research regarding 5065 and 5065 Token            2.60    400.00    1,040.00
                        for L. Koch
05/23/2023   KP17       Review select documents from database re          2.30   1,875.00   4,312.50
                        potential claims involving 3010
05/23/2023   LM20       Prepare summary of investigation call with        5.30    855.00    4,531.50
                        Quinn (0.3); review documents produced by
                        FTX for potential causes of action re 5004
                        (1.2); prepare investigative memoranda
                        summarizing findings on 5004 (3.6); review
                        additional information on 5004 (0.2)
05/23/2023   LT9        Videoconference with K. Pasquale, I.              0.30   1,525.00    457.50
                        Sasson, and L. Miliotes on follow up
                        investigative matters from conference with
                        Quinn Emanuel
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05/23/2023   LK19       Email United Lex regarding 5065                   1.40    855.00     1,197.00
                        investigation documents (0.2); review 80
                        documents regarding 5065 investigation
                        (0.6); email K. Pasquale and I. Sasson
                        regarding summary of documents reviewed
                        regarding 5065 investigation (0.2); emails
                        with J. Palmerson (QE) regarding rule 2004
                        discovery of 2008 (0.1); update Rule 2004
                        tracker (0.3)
05/23/2023   LPD        Review documents produced by FTX for              2.80    855.00     2,394.00
                        potential causes of action re: 5009 (2.7);
                        prepare summary of same (.1)
05/23/2023   MOL        Prepare FTX third party productions for           0.80    375.00      300.00
                        investigative review
05/23/2023   NMN        Update FTX investigation memorandum               5.40    915.00     4,941.00
                        for potential causes of action
05/24/2023   AJGA       Update FTX investigation memorandum               0.60    855.00      513.00
                        for potential causes of action
05/24/2023   RJ1        Review documents in Relativity regarding          2.60    855.00     2,223.00
                        5119 in connection with UCC investigation
05/24/2023   EJO        Review 5038 documents produced by the             6.70    855.00     5,728.50
                        Debtors for investigation of potential
                        causes of action
05/24/2023   EJO        Correspond with I. Sasson regarding any           0.70    855.00      598.50
                        hot documents discovered during review of
                        5038 documents (0.5); correspond with L.
                        Koch regarding same (0.2)
05/24/2023   KP17       Analyze documents, legal issues re potential      5.40   1,875.00   10,125.00
                        Rule 2004 targets 5089, 5076, 5093 (3.6);
                        analyze newly produced documents and
                        issues re 5065 (1.8)
05/24/2023   LK19       Emails with M. Laskowski regarding 5065           2.60    855.00     2,223.00
                        Investigation (0.2); analyze summary
                        capitalization tables for Alameda and FTX
                        Trading (0.2); email with K. Pasquale
                        regarding same (0.1); analyze 180
                        documents produced by the Debtors
                        regarding 5065 (1.3); prepare summary of
                        documents produced by the Debtors
                        regarding 5065 (0.8)
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Date         Initials   Description                                      Hours      Rate    Amount
05/25/2023   RJ1        Review documents in Relativity regarding          2.40    855.00    2,052.00
                        5036 in connection with UCC investigation
                        (1.8); research regarding 5036 (.6)
05/25/2023   EJO        Review 5039 documents produced by the             1.30    855.00    1,111.50
                        Debtors for investigation of potential
                        causes of action
05/25/2023   EJO        Review 5100 documents produced by the             1.50    855.00    1,282.50
                        Debtors for investigation of potential
                        causes of action
05/25/2023   IS6        Draft meet and confer email to Orrick re          2.50   1,290.00   3,225.00
                        5065 rule 2004 investigation (.6); review
                        first 5065 production (.5); prepare rule 2004
                        production notice (.4); review and revise
                        investigation update presentation for UCC
                        (.8); email L. Koch and L. Miliotes re same
                        (.2)
05/25/2023   KP17       Emails with target 5065 counsel re Rule           0.80   1,875.00   1,500.00
                        2004 requests (.3); correspond with I.
                        Sasson re same (.2); analyze strategic
                        options re same (.3)
05/25/2023   LM20       Correspond with N. Nicholson Gaviria, A.          0.70    855.00     598.50
                        Gomes Abreu, and L. Tsao re investigation
                        memo findings (0.3); review the same (0.4)
05/25/2023   LT9        Review and revise memorandum on next              0.50   1,525.00    762.50
                        steps for Committee's investigation
05/25/2023   LK19       Correspond with I. Sasson regarding 5065          1.30    855.00    1,111.50
                        investigation (0.4); email UnitedLex
                        regarding documents produced by 5065
                        (0.2); review and summarize approximately
                        30 documents produced by the Debtors
                        regarding 5065 (0.7)
05/25/2023   NMN        Update FTX investigation memorandum               2.30    915.00    2,104.50
                        for potential causes of action based on L.
                        Tsao's feedback
05/25/2023   NJ2        Review documents of interest in virtual data      4.00    855.00    3,420.00
                        room re: 5097 for FTX investigation
05/26/2023   AJGA       Update FTX investigation memorandum               1.40    855.00    1,197.00
                        for potential causes of action
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05/26/2023   RJ1        Review documents in Relativity regarding          6.70    855.00    5,728.50
                        5036 in connection with UCC investigation
                        and pending litigation
05/26/2023   EJO        Review 5039 documents produced by the             1.50    855.00    1,282.50
                        Debtors for investigation of potential
                        causes of action
05/26/2023   EJO        Correspond with I. Sasson regarding 5038          1.00    855.00     855.00
                        documents
05/26/2023   KP17       Analyze summary of new Rule 2004                  4.60   1,875.00   8,625.00
                        information re 5065 (.3); analyze transaction
                        documents and draft term sheet from
                        Debtors re 5036 (1.7); meet & confer with
                        2010, Quinn Emanuel, L. Koch re Rule
                        2004 requests (.4); analyze additional
                        documents, legal issues re Rule 2004 targets
                        5089, 5076, 5093 (2.2)
05/26/2023   LK19       Draft investigation and litigation update         0.70    855.00     598.50
                        presentation for the Committee (0.6); email
                        L. Miliotes and R. Poppiti (Young
                        Conaway) regarding same (0.1)
05/26/2023   LK19       Analyze documents produced by 5065 (1.2);         3.80    855.00    3,249.00
                        prepare summary of same for K. Pasquale
                        and I. Sasson (0.5); correspond with K.
                        Pasquale regarding 5065 investigation
                        memo (0.2); draft memorandum regarding
                        5065 investigation (0.5); draft Rule 2004
                        notice of examination for 5065 (0.7); attend
                        meet & confer with counsel for 2010 and
                        K. Pasquale regarding Rule 2004 requests
                        (0.4); emails with J. Palmerson regarding
                        2000 production (0.1); emails with
                        UnitedLex regarding 2000 production (0.2)
05/26/2023   NJ2        Draft diligence summary re: 5097                  1.00    855.00     855.00
                        documents
05/27/2023   AJGA       Update FTX investigation memorandum               1.60    855.00    1,368.00
                        for potential causes of action
05/27/2023   RJ1        Review documents in Relativity regarding          2.40    855.00    2,052.00
                        5036 in connection with UCC investigation
                        and pending litigation
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05/27/2023   KP17       Analyze investigative findings and                 1.60   1,875.00   3,000.00
                        conclusions for certain venture transactions
                        5028, 5040, 5002, 5013, 5023
05/27/2023   LM20       Update litigation, investigation, and              1.40    855.00    1,197.00
                        ventures presentation to Committee (1.3);
                        correspond with L. Koch re same (0.1)
05/27/2023   LK19       Update litigation and investigation UCC            0.40    855.00     342.00
                        presentation (0.3); email L. Miliotes and I.
                        Sasson regarding same (0.1)
05/28/2023   IS6        Review and revise investigation                    2.50   1,290.00   3,225.00
                        presentation for UCC (1.6); review 5097
                        investigation update (.3); review and
                        comment on 5038 investigation summary
                        (.6)
05/28/2023   LM20       Update investigation and litigation                1.40    855.00    1,197.00
                        presentation for upcoming Committee
                        meeting
05/28/2023   LPD        Review documents produced by FTX for               6.60    855.00    5,643.00
                        potential causes of action re: 5009 (6.4);
                        prepare summary of same (.2)
05/28/2023   NMN        Update FTX investigation memorandum                4.20    915.00    3,843.00
                        for potential causes of action
05/29/2023   AJGA       Update FTX investigation memorandum                0.60    855.00     513.00
                        for potential causes of action
05/29/2023   RJ1        Review documents in Relativity regarding           5.70    855.00    4,873.50
                        5036 in connection with UCC investigation
                        and pending litigation
05/29/2023   IS6        Analyze 5038 document summary (1.7);               2.40   1,290.00   3,096.00
                        review 5065 documents (.7)
05/29/2023   KP17       Review and revise litigation/investigation         0.70   1,875.00   1,312.50
                        deck for Committee
05/29/2023   LM20       Prepare parts of investigation memoranda           4.80    855.00    4,104.00
                        (1.6); correspond with N. Nicholson
                        Gaviria re same (0.2); review documents
                        produced by FTX regarding 5061
                        investment for investigation memoranda
                        (3.0)
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Date         Initials   Description                                      Hours      Rate    Amount
05/29/2023   LK19       Revise investigations and litigation              0.60    855.00     513.00
                        presentation for Committee (0.5); emails
                        with I. Sasson and G. Sasson regarding
                        same (0.1)
05/29/2023   LK19       Update rule 2004 motion and response              0.60    855.00     513.00
                        tracker
05/29/2023   NMN        Update FTX investigation memorandum               4.10    915.00    3,751.50
                        for potential causes of action
05/30/2023   AJGA       Update FTX investigation memorandum               0.60    855.00     513.00
                        for potential causes of action
05/30/2023   RJ1        Review documents in Relativity regarding          2.60    855.00    2,223.00
                        5036 in connection with UCC investigation
                        and pending litigation
05/30/2023   EJO        Review 5039 documents produced by the             3.20    855.00    2,736.00
                        Debtors for investigation of potential
                        causes of action
05/30/2023   IS6        Review 5038 document summary                      0.60   1,290.00    774.00
05/30/2023   KP17       Emails with Quinn Emanuel re Rule 2004            0.30   1,875.00    562.50
                        meet and confers
05/30/2023   LM20       Review documents produced by FTX                  2.10    855.00    1,795.50
                        relevant to investigation of 5065 and 5065
                        token
05/30/2023   LK19       Email UnitedLex regarding production              0.20    855.00     171.00
                        from the Debtors (0.1); correspond with E.
                        Oakley regarding UCC investigation (0.1)
05/30/2023   LPD        Review documents produced by FTX for              3.60    855.00    3,078.00
                        potential causes of action re: 5009 (3.5);
                        prepare summary of same (.1)
05/30/2023   MOL        Prepare FTX miscellaneous productions for         1.30    375.00     487.50
                        investigative review
05/31/2023   EG18       Review and comment on document                    0.30   1,875.00    562.50
                        requests for 5065
05/31/2023   GS13       Review and revise discovery requests re:          0.70   1,625.00   1,137.50
                        5089
05/31/2023   IS6        Draft 5089 informal rule 2004 request (.4);       0.50   1,290.00    645.00
                        correspond with B. Glueckstein (S&C) re
                        same (.1).
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05/31/2023   KP17       Analyze 3007 criminal case motion to               1.70   1,875.00     3,187.50
                        compel re 1002 investigation (.3); analyze
                        certain database documents re same (1.4)
05/31/2023   LM20       Review documents produced by FTX re                7.00    855.00      5,985.00
                        their investments in 5065 and 5061 (1.5);
                        prepare parts of 5065 investigative
                        memorandum (3.4); prepare parts of 5061
                        investigative memorandum (2.1)
05/31/2023   LPD        Review documents produced by FTX for               9.50    855.00      8,122.50
                        potential causes of action re: 5009 (9.2);
                        prepare summary of same (.3)
05/31/2023   MOL        Prepare FTX productions for investigative          0.80    375.00       300.00
                        review
             Subtotal: B261 Investigations                               392.60              402,113.00




B310   Claims Administration and Objections
05/01/2023   CD19       Analyze customer claims in schedules and           1.80   1,125.00     2,025.00
                        SoFAs/SoALs (1.2); draft summary re same
                        (.6)
05/01/2023   EG18       Review and comment on updated bar date             1.10   1,875.00     2,062.50
                        motion and proof of claim form (0.8);
                        correspond with K. Pasquale, G. Sasson
                        regarding same (0.3)
05/01/2023   GS13       Review and comment on UCC presentation             3.30   1,625.00     5,362.50
                        regarding claims bar date and motion
                        regarding same (2.1); telephone conference
                        with K. Pasquale, I. Sasson, L. Koch
                        regarding same (.7); telephone conference
                        with FTI regarding petition pricing (.5)
05/01/2023   IS6        Review and comment on draft non-                   1.40   1,290.00     1,806.00
                        customer bar date (.7); call with K.
                        Pasquale, G. Sasson, L. Koch re same (.7)
05/01/2023   JI2        Review draft motion to establish claims bar        0.80   1,125.00      900.00
                        date.
05/01/2023   JM63       Correspond with E. Gilad and L. Koch re            0.20   1,125.00      225.00
                        bar date deck and related local rules
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05/01/2023   KP17       Call with I. Sasson, G. Sasson, L. Koch re        0.70   1,875.00   1,312.50
                        bar date issues
05/01/2023   LK19       Analyze and revise draft bar date motion          2.00    855.00    1,710.00
                        (1.0); correspond with G. Sasson and E.
                        Gilad regarding same (0.3); meeting with G.
                        Sasson, K. Pasquale, and I. Sasson regarding
                        bar date motion (.7)
05/02/2023   EG18       Call with G. Sasson regarding bar date and        1.60   1,875.00   3,000.00
                        bar date motion (0.5); revise bar date
                        language in proposed order (1.1)
05/02/2023   EG18       Correspond with G. Sasson regarding bar           1.60   1,875.00   3,000.00
                        date and bar date motion (0.5); revise bar
                        date language in proposed order (1.1)
05/02/2023   GS13       Review and revise bar date motion (1.1);          2.30   1,625.00   3,737.50
                        review UCC presentation regarding same
                        (.7); telephone conference with E. Gilad
                        regarding bar date motion (.5)
05/02/2023   IS6        Review and comment on non-customer bar            1.30   1,290.00   1,677.00
                        date motion
05/03/2023   IS6        Review and revise draft definition of             0.80   1,290.00   1,032.00
                        customer accounts
05/03/2023   LK19       Analyze draft bar date motion (0.7); review       0.90    855.00     769.50
                        emails from A. Kranzley (S&C) and E.
                        Gilad regarding bar date motion (0.2)
05/04/2023   KH18       Review and comment on claims bar date             0.70   2,075.00   1,452.50
                        related issues
05/05/2023   JI2        Review and revise summary of motion to            0.60   1,125.00    675.00
                        establish bar date
05/05/2023   KC27       Summarize motion to establish claim bar           0.60    915.00     549.00
                        date (.5); correspond with J. Iaffaldano
                        regarding same (.1)
05/07/2023   EG18       Analyze authority regarding proof of claim        1.10   1,875.00   2,062.50
                        and bar date issues
05/07/2023   MEG9       Review emails between E. Gilad and                0.30   1,425.00    427.50
                        Committee member on claims portal
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05/08/2023   CD19       Analyze case law and precedents re bar date         3.70   1,125.00   4,162.50
                        motion (2.6); correspond with C. Xu re
                        same (.6); revise draft reservation of rights
                        regarding bar date motion (.3); review
                        comments on same (.2)
05/08/2023   CX3        Analyze local rules and DE bar date motion          1.70    915.00    1,555.50
                        precedents (1.5); correspond with C. Diaz
                        re bar date issues (0.2)
05/08/2023   EG18       Draft parts of bar date and claims process          3.60   1,875.00   6,750.00
                        presentation for UCC members
05/08/2023   EG18       Review and analyze bar date definitional            3.50   1,875.00   6,562.50
                        language in proposed order (2.2);
                        correspond with I. Sasson regarding same
                        (0.4); prepare email memo to Debtors
                        regarding same (0.5); correspond with S&C
                        regarding bar date language (0.4)
05/08/2023   LK19       Draft limited objection to non-customer bar         1.50    855.00    1,282.50
                        date motion (1.3); emails with E. Gilad
                        regarding same (0.2)
05/09/2023   EG18       Draft parts of presentation to UCC                  2.10   1,875.00   3,937.50
                        members regarding bar date and claims
                        analysis
05/09/2023   EG18       Analyze authority regarding claims issues           0.80   1,875.00   1,500.00
05/09/2023   GS13       Review claims procedures and comment on             1.80   1,625.00   2,925.00
                        same
05/09/2023   IS6        Review and revise bar date order (1.2);             1.40   1,290.00   1,806.00
                        email A. Kranzley (S&C) re same (.2)
05/09/2023   JM63       Correspond with L. Koch re bar date deck            0.20   1,125.00    225.00
                        for UCC
05/09/2023   KH18       Analyze bar date related issues                     0.90   2,075.00   1,867.50
05/09/2023   LK19       Prepare parts of bar date demonstrative for         0.70    855.00     598.50
                        05/17/23 Committee meeting (0.4); emails
                        with E. Gilad and G. Sasson regarding same
                        (0.3)
05/09/2023   MEG9       Review emails with Committee member re:             0.30   1,425.00    427.50
                        J. Ray and claims portal demo
05/10/2023   CD19       Draft UCC presentation re bar date (1.8);           2.20   1,125.00   2,475.00
                        correspond with L. Koch re same (.4)
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Date         Initials   Description                                      Hours      Rate    Amount
05/10/2023   DM26       Research regarding certain proofs of claim        0.30    540.00     162.00
                        filed against Alameda Debtors (.2);
                        correspond with E. Gilad re same (.1)
05/10/2023   EG18       Review and revise bar date presentation to        0.50   1,875.00    937.50
                        UCC
05/10/2023   EG18       Call with I. Sasson regarding deemed filed        0.40   1,875.00    750.00
                        customer claims
05/10/2023   EG18       Call with FTI, K. Hansen, K. Pasquale, I.         0.50   1,875.00    937.50
                        Sasson regarding petition date pricing
05/10/2023   IS6        Call with E. Gilad re deemed filed customer       1.30   1,290.00   1,677.00
                        claims (.4); draft parts of bar date
                        presentation for UCC (.9)
05/10/2023   IS6        Call with FTI, K. Hansen, E. Gilad, K.            0.50   1,290.00    645.00
                        Pasquale re token monetization and
                        valuation chart
05/10/2023   KP17       Call with FTI, K. Hansen, E. Gilad, I.            0.50   1,875.00    937.50
                        Sasson re claims valuation and bar date
                        matters
05/10/2023   KH18       Analyze bar date related issues (1.3);            1.80   2,075.00   3,735.00
                        conference with FTI, K. Pasquale, E. Gilad,
                        I. Sasson regarding same and claims
                        valuation (.5)
05/11/2023   CD19       Comment on draft bar date deck                    0.20   1,125.00    225.00
05/11/2023   EG18       Prepare parts of bar date process                 4.10   1,875.00   7,687.50
                        presentation to UCC
05/11/2023   GS15       Review proofs of claim filed by IRS               0.90   1,600.00   1,440.00
05/11/2023   IS6        Review and comment on bar date process            1.30   1,290.00   1,677.00
                        presentation for UCC
05/11/2023   JI2        Analyze schedules and related claim               2.60   1,125.00   2,925.00
                        designation
                        (Contingent/Unliquidated/Disputed) issues
05/11/2023   LM20       Review bar date procedures from mass tort         0.90    855.00     769.50
                        bankruptcies (0.7); correspond with J.
                        Iaffaldano re same (0.2)
05/11/2023   LK19       Prepare parts of bar date presentation for        3.70    855.00    3,163.50
                        the Committee (2.4); correspond with G.
                        Sasson, E. Gilad, and I. Sasson regarding
                        same (1.3)
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05/11/2023   ML30       Correspond with J. Iaffaldano re schedules         1.50    540.00     810.00
                        precedent needed in connection with claims
                        analysis (.2); research regarding same for
                        requested cases (1.1); correspond with J.
                        Iaffaldano regarding same (.2)
05/12/2023   EG18       Prepare parts of UCC bar date process              0.80   1,875.00   1,500.00
                        presentation
05/12/2023   EG18       Participate in valuation claims methodology        0.60   1,875.00   1,125.00
                        call with FTI and I. Sasson
05/12/2023   GS13       Draft parts of bar date presentation (1.4);        2.10   1,625.00   3,412.50
                        review comments to same (.5); emails with
                        I. Sasson and E. Gilad regarding same (.2)
05/12/2023   IS6        Call with FTI and E. Gilad regarding claims        0.60   1,290.00    774.00
                        valuation and token monetization chart.
05/12/2023   LM20       Review previous disclosure schedules for           0.50    855.00     427.50
                        analysis re bar date procedures
05/15/2023   EG18       Draft memo response to UCC members'                1.70   1,875.00   3,187.50
                        questions regarding bar date and claims
05/15/2023   IS6        Analyze issues regarding whether claims            0.80   1,290.00   1,032.00
                        should be listed contingent, unliquidated, or
                        disputed
05/15/2023   JI2        Review issues regarding schedules and              2.60   1,125.00   2,925.00
                        designation of claims in connection with
                        claims analysis (.8); review mass tort cases
                        re same (.7); review recent crypto cases re
                        same (.9); emails with E. Gilad re findings
                        and implications for FTX (.2)
05/17/2023   CD19       Correspond with K. Catalano regarding              0.70   1,125.00    787.50
                        potential bar date issues (.1); analyze
                        changes to bar date packages (.3); review
                        correspondence from E. Gilad re bar date
                        process and comments on same (.3)
05/17/2023   EG18       Analyze claims and related Committee               1.10   1,875.00   2,062.50
                        member inquiries
05/17/2023   EG18       Revise email memo to UCC regarding bar             0.40   1,875.00    750.00
                        date analysis
05/17/2023   KC27       Review and comment on non-customer bar             2.00    915.00    1,830.00
                        date package
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05/17/2023   LK19       Review and revise 4001 claims analysis            1.10    855.00     940.50
                        presentation for 05/19/23 Committee
                        meeting (0.8); emails with I. Sasson and G.
                        Sasson regarding same (0.3)
05/18/2023   CD19       Comment on revised bar date packages (.4);        1.00   1,125.00   1,125.00
                        correspond with G. Sasson re same (.2);
                        correspond with K. Catalano re same (.1);
                        comment on draft summary of same (.1);
                        review and summarize comments received
                        to revised bar date packages (.2)
05/18/2023   CX3        Review emails from E. Gilad re claims             0.30    915.00     274.50
                        designation
05/18/2023   EG18       Call with FTI and G. Sasson regarding             0.60   1,875.00   1,125.00
                        KYC and related KYC obligations
05/18/2023   GS13       Review claims presentation (.8); telephone        1.40   1,625.00   2,275.00
                        conference with FTI and E. Gilad regarding
                        KYC issues (.6)
05/18/2023   KC27       Correspond with G. Sasson regarding bar           0.40    915.00     366.00
                        date package
05/18/2023   MEG9       Review email from B. Bromberg re: claims          0.30   1,425.00    427.50
                        portal
05/18/2023   NKW1       Review Debtors' chapter 11 petitions in           0.20    855.00     171.00
                        connection with proofs of claim
05/21/2023   CD19       Revise FAQ re non-customer bar dates (.6);        0.90   1,125.00   1,012.50
                        correspond with K. Catalano re same (.3)
05/21/2023   EG18       Prepare email memo to UCC regarding bar           1.10   1,875.00   2,062.50
                        date and plan analysis
05/21/2023   KC27       Review non-customer bar date order (.5);          1.90    915.00    1,738.50
                        review FTX FAQ (.2); prepare FTX FAQ
                        for non-customer bar date order (.6);
                        correspond with C. Diaz regarding same
                        (.3); revise same (.1); correspond with G.
                        Sasson regarding same (.1); correspond with
                        G. Sasson and E. Gilad regarding same (.1)
05/23/2023   KC27       Revise FAQ regarding non-customer bar             0.70    915.00     640.50
                        date (.6); correspond with G. Sasson
                        regarding same (.1)
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Date         Initials   Description                                      Hours      Rate      Amount
05/24/2023   IS6        Analyze cryptocurrency valuation methods          0.80   1,290.00     1,032.00
                        and related case law and precedent
05/24/2023   KP17       Revise draft claims valuation summary for         2.40   1,875.00     4,500.00
                        Committee (.2); analyze claims valuation
                        issues for prospective expert testimony (2.2)
05/24/2023   KC27       Correspond with E. Gilad regarding FAQ            0.10    915.00         91.50
                        update regarding non-customer bar date
05/24/2023   LK19       Analyze 4001 disclosure statement                 1.50    855.00      1,282.50
                        regarding equitable subordination of FTX
                        and Alameda claims (1.4); email M. Leonard
                        regarding questions regarding equitable
                        subordination (0.1)
05/24/2023   LK19       Emails with J. Iaffaldano regarding               0.30    855.00       256.50
                        equitable subordination of FTX and
                        Alameda claims in 4001 bankruptcy
05/29/2023   LK19       Email I. Sasson regarding proof of claim          0.10    855.00         85.50
                        filed in 4004 bankruptcy
05/30/2023   GS13       Review claims agent process for customer          0.90   1,625.00     1,462.50
                        claims (.6); email with K. Hansen and K.
                        Pasquale regarding same (.3)
             Subtotal: B310 Claims Administration and                    98.40              139,022.50
                       Objections




B320   Plan and Disclosure Statement (including Business Plan)
05/01/2023   CD19       Analyze complex chapter 11 case                   2.40   1,125.00     2,700.00
                        precedents and related FTX timeline (1.9);
                        update summary on same (.5)
05/01/2023   EG18       Analyze plan issues and related case law and      1.10   1,875.00     2,062.50
                        statutory authority
05/01/2023   KH18       Analysis of plan structure and related issues     1.80   2,075.00     3,735.00
05/02/2023   EG18       Analyze and prepare follow up comments            0.40   1,875.00      750.00
                        on cash management
05/03/2023   EG18       Analyze plan issues and structure (.9);           1.10   1,875.00     2,062.50
                        prepare comments on same for K. Hansen
                        consideration (.2)
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Date         Initials   Description                                       Hours      Rate    Amount
05/03/2023   KH18       Review plan concepts (.9); create issues list      2.00   2,075.00   4,150.00
                        regarding same (1.1)
05/04/2023   EG18       Plan analysis meeting with K. Hansen, G.           1.30   1,875.00   2,437.50
                        Sasson regarding plan voting and structure
                        issues
05/04/2023   GS13       Meeting with K. Hansen and E. Gilad                1.60   1,625.00   2,600.00
                        regarding plan structure, support, and
                        voting issues (1.3); summarize discussion in
                        preparation for S&C meeting on same (.3)
05/04/2023   IS6        Analyze issues concerning plan and related         3.70   1,290.00   4,773.00
                        case law and precedents.
05/04/2023   KP17       Prepare outline for meeting with Debtors re        1.20   1,875.00   2,250.00
                        plan issues
05/04/2023   KH18       Conference with E. Gilad, G. Sasson                1.30   2,075.00   2,697.50
                        regarding plan structure, waterfall, and next
                        steps
05/05/2023   EG18       Analyze plan structure, section 1129 issues,       1.10   1,875.00   2,062.50
                        and related case law
05/05/2023   EG18       Post-debtor meeting conference with K.             1.40   1,875.00   2,625.00
                        Pasquale, K. Hansen, I. Sasson, FTI
                        regarding plan structure and related
                        concerns
05/05/2023   IS6        Post debtor call follow up meeting with            2.20   1,290.00   2,838.00
                        FTI, K. Hansen, E. Gilad, K. Pasquale re
                        plan issues (1.4); prepare summary notes
                        regarding same (.3); review and comment
                        on certain issues discussed (.5)
05/05/2023   KP17       Meeting with FTI, K. Hansen, E. Gilad, I.          1.40   1,875.00   2,625.00
                        Sasson re plan constructs and related
                        Committee questions
05/05/2023   KH18       Post debtor call meeting with K. Pasquale,         2.70   2,075.00   5,602.50
                        E. Gilad, I. Sasson and FTI regarding plan
                        and related analysis (1.4); review plan
                        structure discussed at meeting with S&C
                        and identify issues pertaining to the same
                        (1.3)
05/07/2023   IS6        Emails with E. Gilad re plan related issues.       0.60   1,290.00    774.00
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05/08/2023   GS13       Draft parts of plan term sheet (1.9);              3.10   1,625.00   5,037.50
                        telephone conference with FTI and I.
                        Sasson regarding same (.5); review FTI
                        presentation regarding same (.7)
05/08/2023   IS6        Call with G. Sasson and FTI re plan term           2.30   1,290.00   2,967.00
                        sheet (.5); analyze plan precedents re same
                        (1.8)
05/08/2023   KH18       Analyze plan structures/issues and related         1.70   2,075.00   3,527.50
                        case precedents
05/09/2023   EG18       Analyze plan structure                             0.80   1,875.00   1,500.00
05/09/2023   GS13       Prepare parts of plan term sheet (1.8);            2.20   1,625.00   3,575.00
                        review FTI presentation regarding same (.4)
05/09/2023   IS6        Draft high-level plan term sheet.                  4.30   1,290.00   5,547.00
05/09/2023   KP17       Correspond with I. Sasson re plan issues           1.40   1,875.00   2,625.00
                        (.3); correspond with E. Gilad re plan
                        structure (.5); analyze precedent re same (.6)
05/10/2023   EG18       Review precedent crypto plans to inform            1.90   1,875.00   3,562.50
                        Committee restructuring analysis (1.4);
                        analyze crypto plan terms re same (.5)
05/10/2023   GS13       Draft plan term sheet (2.1); conferences           2.60   1,625.00   4,225.00
                        with I. Sasson regarding same (.5)
05/10/2023   IS6        Call with G. Sasson regarding draft plan           3.10   1,290.00   3,999.00
                        term sheet (.5); analyze assets and waterfall
                        structure in connection with draft plan term
                        sheet (2.6)
05/10/2023   KP17       Analyze draft plan overview                        0.70   1,875.00   1,312.50
05/10/2023   MM57       Research re: crypto distributions for E.           0.20    540.00     108.00
                        Gilad
05/11/2023   EG18       Call with FTI, G. Sasson, I. Sasson                0.60   1,875.00   1,125.00
                        regarding waterfall and additional plan
                        issues
05/11/2023   EG18       Analyze plan issues outline (3.9); prepare         5.30   1,875.00   9,937.50
                        comments on same (1.4)
05/11/2023   GS13       Review and revise plan issues list and plan        3.30   1,625.00   5,362.50
                        term sheet presentation (2.1); telephone
                        conference with FTI, E. Gilad, I. Sasson
                        regarding plan issues (.6); correspond with
                        I. Sasson regarding same (.6)
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05/11/2023   IS6        Review and revise plan structure and issues        5.70   1,290.00   7,353.00
                        deck for UCC (2.8); review and revise plan
                        structure outline (.8); call with FTI, E.
                        Gilad, G. Sasson re waterfall analysis and
                        related issues (.6); analyze substantive
                        consolidation and rule 9019 settlement
                        standards (1.3); call with K. Catalano and L.
                        Koch re same (.2)
05/11/2023   KC27       Attend meeting with I. Sasson and L. Koch          0.20    915.00     183.00
                        regarding questions and authority related to
                        certain settlements
05/11/2023   LK19       Conference with I. Sasson and K. Catalano          0.50    855.00     427.50
                        regarding substantive consolidation (.2);
                        analyze authority regarding same (.3)
05/12/2023   EG18       Prepare parts of chapter 11 plan timeline          2.10   1,875.00   3,937.50
                        presentation for UCC (1.0); prepare parts of
                        plan issues list presentation for UCC (1.1)
05/12/2023   GS13       Draft plan issues list and plan presentation       3.10   1,625.00   5,037.50
                        (2.1); emails with E. Gilad and I. Sasson
                        regarding same (.4); emails with FTI
                        regarding same (.6)
05/12/2023   IS6        Revise plan issues list presentation.              1.10   1,290.00   1,419.00
05/15/2023   CD16       Review email from I. Sasson regarding pot          0.70   1,320.00    924.00
                        plan for distributions (0.1); review
                        proceedings regarding potential debtor
                        entitlements (0.5); emails with A. Srivastava
                        regarding same (0.1)
05/15/2023   EG18       Call with K. Hansen regarding plan issues          0.80   1,875.00   1,500.00
                        list
05/15/2023   EG18       Review authority on certain plan issues (.4);      0.60   1,875.00   1,125.00
                        prepare notes regarding same (.2)
05/15/2023   EG18       Call with I. Sasson regarding plan issues list     0.60   1,875.00   1,125.00
05/15/2023   IS6        Analyze 4001 plan and disclosure statement         2.90   1,290.00   3,741.00
                        to inform FTX plan analysis (1.2); call with
                        E. Gilad re plan structure issues (.6); call
                        with B. Bromberg re plan analysis
                        presentation (.3); prepare parts of same (.8).
05/15/2023   KH18       Analyze plan structures and issues list with       0.80   2,075.00   1,660.00
                        E. Gilad
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Date         Initials   Description                                       Hours      Rate    Amount
05/15/2023   KH18       Correspond with K. Pasquale regarding              0.70   2,075.00   1,452.50
                        Niagara
05/15/2023   LK19       Analyze case law and statutory authority           5.20    855.00    4,446.00
                        regarding substantive consolidation (4.6);
                        prepare memorandum for I. Sasson
                        regarding substantive consolidation (0.6)
05/16/2023   CD16       Analyze case law regarding distribution            1.70   1,320.00   2,244.00
                        trusts in insolvency (1.1); draft response to
                        I. Sasson regarding distribution trust issues
                        (0.6)
05/16/2023   EG18       Review FTI waterfall sensitivity analysis and      3.20   1,875.00   6,000.00
                        comment on same
05/16/2023   GS13       Prepare parts of plan term sheet (1.2);            3.10   1,625.00   5,037.50
                        telephone conference with I. Sasson
                        regarding same (.5); review and revise FTI
                        documents regarding same (1.4)
05/16/2023   IS6        Review and comment on draft FTI plan               4.50   1,290.00   5,805.00
                        structure and waterfall analysis (2.8); emails
                        to E. Gilad re same (.6); call with FTI, K.
                        Pasquale re same (.6); call with G. Sasson
                        regarding same and plan term sheet (.5)
05/16/2023   IS6        Analyze 4001 plan and disclosure statement         2.20   1,290.00   2,838.00
                        re claims and FTX implications
05/16/2023   KP17       Analyze plan structure and waterfall (1.3);        3.20   1,875.00   6,000.00
                        review and revise FTI draft deck re same
                        (.9); call with FTI, I. Sasson re same (.6);
                        emails with E. Gilad, I. Sasson re same (.4)
05/16/2023   KH18       Correspond with UCC advisors regarding             1.90   2,075.00   3,942.50
                        plan (.8); analyze and comment on certain
                        plan elements (1.1)
05/16/2023   KC27       Analyze case law regarding certain rule 9019       4.60    915.00    4,209.00
                        settlements (4.5); correspond with I. Sasson
                        regarding same (.1)
05/16/2023   KC27       Review emails from L. Koch regarding               0.40    915.00     366.00
                        substantive consolidation
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05/16/2023   LK19       Analyze statutes and cases regarding               3.20    855.00    2,736.00
                        substantive consolidation (1.4); emails to K.
                        Pasquale, I. Sasson and K. Catalano
                        regarding same (0.4); prepare presentation
                        for the Committee regarding substantive
                        consolidation (1.3); emails with K. Pasquale
                        and I. Sasson regarding same (0.1)
05/17/2023   AS61       Review email from G. Sasson relating to            2.00   1,900.00   3,800.00
                        distributions to customers and creditors and
                        issues relating to constructive and resulting
                        trusts (0.2); review previous related analysis
                        (0.8); discussion with C. Daly regarding
                        same (.2); prepare response to G. Sasson on
                        proposals for payouts to customers and
                        creditors (0.8)
05/17/2023   CD16       Discussion with A. Srivastava re note on           0.80   1,320.00   1,056.00
                        distribution trust issues (.2); correspond
                        with A. Srivastava regarding same (0.2);
                        analyze issues regarding cost of funding
                        (0.2); amend note on distribution trust
                        issues (0.2)
05/17/2023   EG18       Review and analyze waterfall analysis and          2.10   1,875.00   3,937.50
                        underlying assumptions
05/17/2023   EG18       Analyze plan structure and elements (.5);          0.70   1,875.00   1,312.50
                        review precedent regarding same (.2)
05/17/2023   GS13       Review and revise FTI documents regarding          1.20   1,625.00   1,950.00
                        plan term sheet (.9); conferences with I.
                        Sasson regarding same (.3)
05/17/2023   IS6        Analyze equitable subordination and related        2.60   1,290.00   3,354.00
                        case law (2.1); meeting with J. Iaffaldano
                        and L. Koch re waterfall structure and
                        analysis (.5)
05/17/2023   IS6        Draft summary of 4001 plan issues to               1.00   1,290.00   1,290.00
                        inform FTX analysis (.7); calls with G.
                        Sasson regarding plan term sheet and
                        related FTI documents (.3)
05/17/2023   JI2        Meeting with I. Sasson and L. Koch re plan         4.30   1,125.00   4,837.50
                        precedent and comparables (.5); analyze
                        same (3.8).
05/17/2023   KP17       Correspond with I. Sasson re plan issues           0.40   1,875.00    750.00
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05/17/2023   KH18       Analyze and comment on plan elements                1.60   2,075.00   3,320.00
                        and related Committee presentation
05/17/2023   KC27       Prepare summary of case findings regarding          1.30    915.00    1,189.50
                        rule 9019 settlements
05/17/2023   LK19       Meeting with I. Sasson and J. Iaffaldano            1.40    855.00    1,197.00
                        regarding crypto plan strategy (0.5); analyze
                        precedent for plans in crypto chapter 11
                        cases (0.9)
05/18/2023   GS13       Review and revise FTI documents regarding           1.60   1,625.00   2,600.00
                        certain plan terms
05/18/2023   IS6        Meeting with K. Pasquale, L. Koch re 4001           0.50   1,290.00    645.00
                        equitable subordination and plan structure
05/18/2023   IS6        Analyze substantive consolidation cases             2.80   1,290.00   3,612.00
                        (2.3); comment on same (.5)
05/18/2023   KP17       Call with I. Sasson and L. Koch re plan             0.50   1,875.00    937.50
                        matters discussed in call with Debtors'
                        counsel
05/18/2023   KH18       Review plan structure and waterfall issues          2.20   2,075.00   4,565.00
                        (.8); analyze and outline additional plan
                        issues (1.4)
05/18/2023   KC27       Analyze cases regarding Rule 9019                   2.10    915.00    1,921.50
                        settlements (1.2); highlight cases and
                        findings regarding same (.8); correspond
                        with I. Sasson regarding same (.1)
05/18/2023   LK19       Analyze additional case law regarding               2.40    855.00    2,052.00
                        substantive consolidation (0.7); supplement
                        summary presentation for Committee on
                        substantive consolidation (0.4); conference
                        with K. Pasquale, I. Sasson regarding plan
                        and disclosure statement issues (0.5);
                        analyze precedent regarding crypto plan and
                        disclosure statement issues (0.8)
05/19/2023   EG18       Review and analyze updated waterfall                4.40   1,875.00   8,250.00
                        analysis (3.0); correspond with I. Sasson
                        regarding waterfall analysis (0.4); calls with
                        FTI regarding same (1.0)
05/19/2023   IS6        Review FTI plan recovery analysis (2.3); call       3.80   1,290.00   4,902.00
                        with E. Gilad re same (1.0); call with FTI,
                        K. Pasquale, E. Gilad, L. Koch re same (.5)
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Date         Initials   Description                                         Hours      Rate    Amount
05/19/2023   IS6        Analyze and prepare notes on Rule 9019               1.20   1,290.00   1,548.00
                        case findings
05/19/2023   KP17       Call with FTI, E. Gilad, L. Koch, I. Sasson          1.30   1,875.00   2,437.50
                        re plan recovery analyses (.5); analyze legal
                        issues re same (.8)
05/19/2023   KH18       Review Niagara documents (1.2); prepare              1.90   2,075.00   3,942.50
                        comments regarding same (.7)
05/19/2023   KC27       Analyze case law regarding rule 9019                 2.10    915.00    1,921.50
                        settlement standard for interdebtor claims
05/19/2023   LK19       Meeting with K. Pasquale, E. Gilad, I.               0.50    855.00     427.50
                        Sasson regarding waterfall analysis
05/21/2023   IS6        Draft substantive consolidation slides for           1.80   1,290.00   2,322.00
                        Committee.
05/21/2023   KP17       Analyze preliminary case findings re certain         0.60   1,875.00   1,125.00
                        plan issues
05/22/2023   EG18       Review and comment on plan issues list               0.70   1,875.00   1,312.50
05/22/2023   EG18       Review and comment on substantive                    1.90   1,875.00   3,562.50
                        consolidation presentation for Committee
05/22/2023   EG18       Review and comment on plan overview                  3.10   1,875.00   5,812.50
                        presentation for Committee
05/22/2023   GS13       Review and comment on Committee                      2.10   1,625.00   3,412.50
                        presentation regarding plan (1.8);
                        conferences with I. Sasson regarding same
                        (.3).
05/22/2023   IS6        Draft plan overview presentations for                7.10   1,290.00   9,159.00
                        Committee (5.9); calls with G. Sasson
                        regarding same (.3); call with FTI re asset
                        and liability slides (.4); analyze cases re rule
                        9019 settlement standards (.5)
05/22/2023   KP17       Review and revise draft memo and                     1.10   1,875.00   2,062.50
                        presentation to Committee re plan structure
                        and issues (.9); emails with I. Sasson re
                        same (.2)
05/22/2023   KC27       Prepare presentation regarding rule 9019             1.20    915.00    1,098.00
                        settlements (1.0); correspond with I. Sasson
                        regarding same (.2)
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Date         Initials   Description                                        Hours      Rate    Amount
05/22/2023   LK19       Emails with I. Sasson and M. Gray (FTI)             0.90    855.00     769.50
                        regarding illustrative waterfall analysis (0.4);
                        prepare insert to plan overview presentation
                        to the Committee (0.5)
05/23/2023   EG18       Review and comment on updated plan                  1.10   1,875.00   2,062.50
                        overview presentation for UCC
05/23/2023   ECS3       Review UCC plan presentation and                    0.90   1,550.00   1,395.00
                        referenced documents
05/23/2023   GS13       Review and revise plan and waterfall deck           2.70   1,625.00   4,387.50
                        (1.6); call with I. Sasson regarding same (.3);
                        review and comment on Committee
                        presentation regarding same (.8).
05/23/2023   IS6        Analyze authority re substantive                    4.30   1,290.00   5,547.00
                        consolidation (1.7); prepare insert to
                        substantive consolidation presentation re
                        same (.7); prepare parts of FTI slides re plan
                        presentation for Committee (1.6); call with
                        G. Sasson regarding same (.3)
05/23/2023   KC27       Analyze case law regarding intercompany             1.00    915.00     915.00
                        claims (.8); correspond with J. Iaffaldano
                        regarding same (.2)
05/23/2023   LED        Review plan structures deck for UCC                 0.30   1,425.00    427.50
05/23/2023   LK19       Review and revise presentation documents            3.10    855.00    2,650.50
                        for 05/24/23 UCC plan subcommittee
                        meeting regarding proposed plan structure
                        (2.8); emails with I. Sasson and E. Gilad
                        regarding same (0.3)
05/24/2023   EG18       Analyze plan issues and waterfall                   0.90   1,875.00   1,687.50
                        assumptions
05/24/2023   IS6        Draft updated waterfall assumptions for             0.60   1,290.00    774.00
                        plan
05/24/2023   KH18       Review certain plan elements and waterfall          1.30   2,075.00   2,697.50
                        issues to prepare for debtor plan
                        discussions (.9); outline same (.4)
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Date         Initials   Description                                      Hours      Rate    Amount
05/24/2023   LK19       Emails with B. Bromberg (FTI), I. Sasson,         0.30    855.00     256.50
                        and K. Pasquale regarding Alameda third
                        party loans (0.1); analyze liquidation and
                        reorganization plans in 4002, 4001, 4005,
                        4004 and 4000 to inform UCC approach
                        (0.2)
05/25/2023   GS13       Review plan and waterfall documents and           1.20   1,625.00   1,950.00
                        comment on same
05/25/2023   IS6        Call with FTI, K. Pasquale (portion) re           1.60   1,290.00   2,064.00
                        waterfall analysis, coin monetization, and
                        petition date pricing.
05/25/2023   JI2        Analyze 4001 equitable subordination issues       2.80   1,125.00   3,150.00
                        and related case law (2.3); correspond with
                        L. Koch and M. Leonard re same (.5)
05/25/2023   JI2        Review and revise summary of Emergent             0.30   1,125.00    337.50
                        exclusivity extension
05/25/2023   KP17       Correspond with K. Hansen, I. Sasson re           2.50   1,875.00   4,687.50
                        plan issues (1.4); participate in portion of
                        call with FTI and I. Sasson re plan waterfall
                        issues (1.1)
05/25/2023   KC27       Review Emergent's motion to extend                0.50    915.00     457.50
                        exclusivity (.2); prepare summary on same
                        (.2); correspond with J. Iaffaldano on same
                        (.1)
05/26/2023   KH18       Review and comment on plan issues list            0.90   2,075.00   1,867.50
05/26/2023   KC27       Review Emergent's motion to extend                0.50    915.00     457.50
                        exclusivity (.2); summarize same (.2);
                        correspond with J. Iaffaldano regarding
                        same (.1)
05/30/2023   IS6        Call with B. Bromberg re revised waterfall        1.30   1,290.00   1,677.00
                        analysis (.3); follow up email with B.
                        Bromberg re same (.1); analyze cases and
                        precedent re constructive trust concept (.9)
05/30/2023   KH18       Analyze and comment on plan elements              1.30   2,075.00   2,697.50
                        and structure
05/31/2023   EG18       Review waterfall analysis and underlying          1.10   1,875.00   2,062.50
                        data (.9); comment on same (.2)
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Date           Initials   Description                                        Hours            Rate       Amount
05/31/2023     GS13       Review and revise FTI plan and waterfall              2.90    1,625.00         4,712.50
                          deck (1.8); review related notes from S&C
                          plan discussion (.8); emails with I. Sasson
                          regarding same (.3).
05/31/2023     IS6        Review and revise FTI waterfall analysis              3.10    1,290.00         3,999.00
                          (2.8); email FTI re investments assumptions
                          underlying same (.3).
05/31/2023     KP17       Analyze Debtors' proposed plan structure              0.60    1,875.00         1,125.00
                          outline
05/31/2023     KH18       Analyze and comment on plan elements                  0.90    2,075.00         1,867.50
                          and related Committee presentation
               Subtotal: B320 Plan and Disclosure Statement                  219.00                   328,970.00
                         (including Business Plan)



       Total                                                                2,439.50                 3,313,952.00

                                                Timekeeper Summary

ID      Timekeeper Name                 Title                     Hours                Rate                  Fee
KH18    Kris Hansen                     Partner                   129.90         2,075.00              269,542.50
LAD4    Luc A. Despins                  Partner                      0.40        1,975.00                  790.00
MLZ     Michael L. Zuppone              Partner                      4.60        1,925.00                8,855.00
AS61    Arun Srivastava                 Partner                    28.60         1,900.00               54,340.00
EG18    Erez Gilad                      Partner                   224.50         1,875.00              420,937.50
FM7     Frank Merola                    Partner                   109.00         1,875.00              204,375.00
KP17    Ken Pasquale                    Partner                   209.50         1,875.00              392,812.50
TA      Toshiyuki Arai                  Partner                      0.80        1,850.00                1,480.00
MMM5 Matt M. Murphy                     Partner                      5.70        1,750.00                9,975.00
CD5     Chris Daniel                    Partner                    21.90         1,700.00               37,230.00
KEB     Katherine E. Bell               Partner                      9.80        1,700.00               16,660.00
GS13    Gabe Sasson                     Partner                   162.40         1,625.00              263,900.00
BK12    Brian Kelly                     Partner                   124.20         1,625.00              201,825.00
ECS3    Eric C. Sibbitt                 Partner                    31.90         1,550.00               49,445.00
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LT9     Leo Tsao               Partner                      5.20    1,525.00          7,930.00
LDK3    Lawrence D. Kaplan     Of Counsel                   4.40    1,700.00          7,480.00
GS15    Gary Silber            Of Counsel                  21.60    1,600.00         34,560.00
EML1    Eric M. Levine         Of Counsel                  10.50    1,475.00         15,487.50
LED     Lauren-Kelly E. D.     Of Counsel                  28.60    1,425.00         40,755.00
        Greenbacker
MEG9    Meagan E. Griffin      Of Counsel                  35.10    1,425.00         50,017.50
JM46    Nina Moffatt           Of Counsel                   3.30    1,425.00          4,702.50
KAT2    Katherine A. Traxler   Of Counsel                   5.70    1,025.00          5,842.50
CD16    Crispin Daly           Associate                    3.70    1,320.00          4,884.00
IS6     Isaac Sasson           Associate               191.60       1,290.00     247,164.00
BL10    Bob Levine             Associate                   46.40    1,290.00         59,856.00
AAN1    Andrew A. Nizamian     Associate                    5.30    1,235.00          6,545.50
ZS1     Zach Silvers           Associate                    6.00    1,175.00          7,050.00
CD19    Caroline Diaz          Associate                   72.80    1,125.00         81,900.00
JI2     Jack Iaffaldano        Associate                   95.50    1,125.00     107,437.50
EHG     Elena Gold Burns       Associate                    8.70    1,125.00          9,787.50
SAQ     Sarah A. Quattrocchi   Associate                    7.10    1,125.00          7,987.50
JM63    Jillian A. McMillan    Associate                    0.40    1,125.00           450.00
KC27    Kristin Catalano       Associate                   22.10     915.00          20,221.50
CX3     Christine Xu           Associate               105.00        915.00          96,075.00
GK6     Gabriel Khoury         Associate                   69.00     915.00          63,135.00
MM51    Muaaz Maksud           Associate                   20.90     915.00          19,123.50
NMN     Natasha M. Nicholson   Associate                   34.20     915.00          31,293.00
        Gaviria
NJ2     Nina John              Associate                   24.30     855.00          20,776.50
EJO     Erik J. Oakley         Associate                   28.20     855.00          24,111.00
LM20    Lanie Miliotes         Associate                   75.60     855.00          64,638.00
LK19    Leonie Koch            Associate               207.50        855.00      177,412.50
RJ1     Chala Jackson          Associate                   35.60     855.00          30,438.00
LPD     Logan P. Duffy         Associate                   57.80     855.00          49,419.00
NKW1    Nicole K. Wong         Associate                    8.70     855.00           7,438.50
AJGA    Adam J. Gomes-Abreu    Associate                   13.50     855.00          11,542.50
SS54    Stephen Sepinuck       Attorney                     2.20    1,365.00          3,003.00
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KE1     Katsumi Endo           Attorney                     4.10        550.00           2,255.00
ML30    Mat Laskowski          Paralegal                   80.50        540.00         43,470.00
DM26    David Mohamed          Paralegal                    1.90        540.00           1,026.00
MM57    Michael Magzamen       Paralegal                   24.10        540.00         13,014.00
AME     Amy M. Ecklund         Other                        0.90        420.00            378.00
                               Timekeeper
JDA     Javii D. Austin        Other                        2.60        400.00           1,040.00
                               Timekeeper
MOL     Mayra O. Lopez         Other                        5.70        375.00           2,137.50
                               Timekeeper

Costs incurred and advanced

Date        Description                                            Quantity   Rate       Amount
05/10/2023 Photocopy Charges                                       1,920.00   0.08       153.60
05/10/2023 Photocopy Charges                                        245.00    0.08         19.60
05/10/2023 Photocopy Charges (Color)                               1,205.00   0.50       602.50
05/11/2023 Photocopy Charges                                       2,088.00   0.08       167.04
05/11/2023 Photocopy Charges                                        248.00    0.08         19.84
05/11/2023 Photocopy Charges (Color)                                738.00    0.50       369.00
05/16/2023 Photocopy Charges (Color)                                756.00    0.50       378.00
05/16/2023 Photocopy Charges (Color)                               1,212.00   0.50       606.00
05/17/2023 Photocopy Charges (Color)                                300.00    0.50       150.00
05/22/2023 Photocopy Charges (Color)                                250.00    0.50       125.00
05/22/2023 Photocopy Charges (Color)                                125.00    0.50         62.50
05/23/2023 Photocopy Charges (Color)                                200.00    0.50       100.00
05/23/2023 Photocopy Charges (Color)                                293.00    0.50       146.50
05/24/2023 Photocopy Charges (Color)                               1,269.00   0.50       634.50
05/30/2023 Photocopy Charges (Color)                               1,094.00   0.50       547.00
05/31/2023 Photocopy Charges (Color)                               1,440.00   0.50       720.00
05/01/2023 UnitedLex Invoices - Unitedlex Corp, Invoice#                               38,838.67
           085404 Dated 05/01/23, UnitedLex – DSAI April
           2023 Charges – Outside Professional Services
05/02/2023 Westlaw                                                                       186.73
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05/02/2023 Westlaw                                                                      58.26
05/05/2023 Westlaw                                                                      15.30
05/07/2023 Westlaw                                                                      33.54
05/08/2023 Local - Meals - Christine Xu; 04/25/2023;                                    20.00
           Restaurant: Oki Poke & Ramen; City: New York;
           Dinner; Number of people: 1; Late Work Meal
05/08/2023 Local - Taxi - Christine Xu; 04/25/2023; From/To:                            29.76
           office/home; Service Type: Lyft; taxi expense for
           car ride home from late-night work 21:31
05/08/2023 Westlaw                                                                     134.16
05/08/2023 Westlaw                                                                       7.65
05/08/2023 Computer Search (Other)                                                      18.90
05/09/2023 Local - Meals - Crispin Daly; 04/11/2023;                                    16.26
           Restaurant: Wasabi; City: London; Dinner; Number
           of people: 1; Dinner in the office whilst working late
           on matter
05/09/2023 Local - Meals - Crispin Daly; 04/18/2023;                                     9.96
           Restaurant: The Japanese Kitchen; City: London;
           Dinner; Number of people: 1; Dinner in the office
           whilst working late on matter
05/09/2023 Computer Search (Other)                                                       6.48
05/10/2023 UPS/Courier Service - UPS (USD)(JPMPCARD);                                   34.22
           Invoice # 00000A6T163193; 05/10/2023; Jeremy
           Sheridan; 3224 Brookings Court; FAIRFAX, VA
           220313004 ; 1ZA6T1630197358916 (MAN)
05/10/2023 Westlaw                                                                       7.65
05/10/2023 Computer Search (Other)                                                       3.42
05/11/2023 UPS/Courier Service - UPS (USD)(JPMPCARD);                                   27.57
           Invoice # 00000A6T163193; 05/11/2023; ; Ken
           Pasquale; 75 Wall Street; New York, NY 100053149
           ; 1ZA6T1630198380201 (MAN)
05/11/2023 UPS/Courier Service - UPS (USD)(JPMPCARD);                                    6.65
           Invoice # 00000A6T163193; 05/11/2023; ; Ken
           Pasquale; 75 Wall Street; New York, NY 100053149
           ; 1ZA6T1630198380201 (MAN)
05/11/2023 Lexis/On Line Search                                                         74.40
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05/12/2023 Westlaw                                                                     33.54
05/12/2023 Westlaw                                                                     39.62
05/15/2023 Local - Taxi - Nina Moffatt; 04/26/2023; From/To:                           38.32
           Office/home; Service Type: Taxi; Taxi home after
           working late on the FTX matter 23:25
05/15/2023 Lexis/On Line Search                                                        13.84
05/15/2023 Lexis/On Line Search                                                        24.80
05/15/2023 Lexis/On Line Search                                                        24.80
05/15/2023 Lexis/On Line Search                                                        25.84
05/15/2023 Westlaw                                                                    112.00
05/15/2023 Westlaw                                                                     50.60
05/16/2023 Taxi/Ground Transportation - Erez Gilad;                                    62.90
           05/05/2023; From/To: PH Office/S&C Office;
           Service Type: Uber; Taxi expense for car ride to in
           person meeting with Sullivan & Cromwell LLP re
           FTX
05/16/2023 Taxi/Ground Transportation - Erez Gilad;                                    99.95
           05/05/2023; From/To: S&C Office/Home; Service
           Type: Uber; Taxi expense for car ride home from in
           person meeting with Sullivan& Cromwell LLP
05/16/2023 Local - Meals - Grubhub Holdings Inc. f/k/a                                 20.00
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           68 dated 05/21/2023; Caroline Diaz; Location:
           New York; Dinner; Restaurant: Kati Roll Company
           (39th st); Number of People: 1; Order #
           529622538236304 dated 05/16/2023
05/16/2023 Local - Meals - Grubhub Holdings Inc. f/k/a                                 20.00
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           68 dated 05/21/2023; Lanie Miliotes; Dinner:
           Number of People: 1; Restaurant: Pokeworks;
           Location: New York; After hours meal ; Order #
           647022537165250 dated 05/16/2023
05/16/2023 Westlaw                                                                    210.46
05/16/2023 Westlaw                                                                     32.95
05/17/2023 Local - Taxi - Jack Iaffaldano; 03/02/2023;                                 18.99
           From/To: Office/Home ; Service Type: Uber; taxi
           expense for car ride home from late-night work
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05/17/2023 Westlaw                                                                   25.30
05/19/2023 Westlaw                                                                   25.30
05/19/2023 Westlaw                                                                   75.91
05/20/2023 Local - Meals - Christine Xu; 05/09/2023;                                 19.05
           Restaurant: Oki Poke Raman ; City: New York ;
           Dinner; Number of people: 1; late night meal
           expense
05/20/2023 Local - Meals - Christine Xu; 05/02/2023;                                 20.00
           Restaurant: Hunan Villahe; City: New York ;
           Dinner; Number of people: 1; late night meal
           expense
05/20/2023 Lexis/On Line Search                                                      24.80
05/20/2023 Lexis/On Line Search                                                      25.84
05/21/2023 Westlaw                                                                   25.30
05/21/2023 Westlaw                                                                   25.30
05/22/2023 Lexis/On Line Search                                                      24.80
05/22/2023 Lexis/On Line Search                                                      25.84
05/22/2023 Westlaw                                                                   25.30
05/22/2023 Westlaw                                                                    7.65
05/23/2023 Local - Meals - Grubhub Holdings Inc. f/k/a                               20.00
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           69 dated 06/04/2023; Leonie Koch; Number of
           People: 1; Location: New York; Dinner; Restaurant:
           Akura Sushi; Order # 340822606454844 dated
           05/23/2023
05/23/2023 Local - Taxi - Isaac Sasson; 05/05/2023; From/To:                         52.82
           Meeting/Home; Service Type: Lyft; Taxi expense
           for car ride with G. Sasson home from meeting at
           Sullivan’s office
05/23/2023 Local - Taxi - Isaac Sasson; 05/09/2023; From/To:                         56.99
           Office/Home; Service Type: Lyft; Taxi expense for
           car ride home from late-night work 21:39
05/23/2023 Local - Taxi - Isaac Sasson; 04/18/2023; From/To:                         58.72
           Office/Home; Service Type: Lyft; Taxi expense for
           car ride home from late-night work Saturday 14:02
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05/23/2023 Local - Taxi - Isaac Sasson; 03/23/2023; From/To:                          84.96
           Office/Home; Service Type: Lyft; Taxi expense for
           car ride home from late-night work 22:00
05/23/2023 Local - Taxi - Erez Gilad; 05/10/2023; From/To:                            88.91
           Office/Home; Service Type: Uber; Taxi expense for
           car ride home from late-night work
05/23/2023 Lexis/On Line Search                                                       24.80
05/23/2023 Westlaw                                                                   145.54
05/23/2023 Westlaw                                                                    54.13
05/25/2023 Local - Meals - Grubhub Holdings Inc. f/k/a                                20.00
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           69 dated 06/04/2023; Leonie Koch; Location: New
           York; Dinner; Restaurant: One Two Thai; Number
           of People: 1; Order # 581122630112255 dated
           05/25/2023
05/26/2023 Local - Taxi - Erez Gilad; 05/16/2023; From/To:                            71.85
           Office/Home; Service Type: Uber; Taxi expense for
           car ride home from late-night work 22:50
05/26/2023 Lexis/On Line Search                                                       14.10
05/26/2023 Lexis/On Line Search                                                       21.15
05/26/2023 Lexis/On Line Search                                                        3.13
05/26/2023 Lexis/On Line Search                                                        3.92
05/26/2023 Lexis/On Line Search                                                        4.70
05/26/2023 Lexis/On Line Search                                                       51.69
05/30/2023 Lexis/On Line Search                                                      180.91
05/30/2023 Lexis/On Line Search                                                       24.80
Total Costs incurred and advanced                                                $46,492.78

            Current Fees and Costs                                           $3,360,444.78
            Total Balance Due - Due Upon Receipt                             $3,360,444.78
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                                            EXHIBIT B


                                 Expense Summary for the Fee Period

                                     Category                           Amount
                                                                             $68.44
               Courier Service
                                                                          $,1955.15
               Computer Search
                                                                            $360.08
               In-house Reproduction Charges (4,501 copies at
               $0.08 per page)
                                                                          $4,441.00
               In-house Color Reproduction Charges (8,882 copies
               at $0.50 per page)
                                                                            $165.27
               Meals
                                                                         $38,838.67
               Outside Professional Services
                                                                            $664.17
               Taxi/Ground Transportation
                                                                         $46,492.78
               TOTAL:




30596161.1
